SJ Exhibit 5
                                                 RICHARD R. FRANK 3/10/2022

                                                       Page 1                                                           Page 3
  1           UNITED STATES DISTRICT COURT                       1                 EXHIBITS
  2           EASTERN DISTRICT OF MISSOURI                       2   NO.            DESCRIPTION          PAGE
                                                                 3   For Defendant Green:
  3              EASTERN DIVISION
                                                                 4   Exhibit 7 7/18/19 notice of forced
  4                                                                         leave letter to James
  5   JAMES GARAVAGLIA,            )                             5          Garavaglia                51
                      )                                          6   Exhibit 8 7/17/19 email from Richard
  6        Plaintiff,     )                                                 Frank to Linda Thomas         51
                                                                 7
                      )                                              Exhibit 9 8/28/19 withdraw of
  7   vs.               ) Case No. 4:20-CV-1681-CDP              8          request of forced leave
                      )                                                     letter to Richard Frank        56
  8   CITY OF ST. LOUIS,       )                                 9
                                                                     Exhibit 10 8/28/19 letter to James
      et al.,           )                                       10          Garavaglia re:
  9                   )                                                     pre-termination review          83
           Defendants.      )                                   11
 10                                                                  Exhibit 11 5/20/16 salary increase
                                                                12          request letter to Richard
 11                                                                         Frank                   66
 12                                                             13
 13                                                                  Exhibit 12 Employee Status Forms              77
 14                                                             14
                                                                     Exhibit 13 Employees Retirement
 15                                                             15          System documents                81
 16                                                             16   For Plaintiff:
 17     VIDEO-RECORDED DEPOSITION OF RICHARD R. FRANK           17   Exhibit O 6/1/16 email from
 18       TAKEN ON BEHALF OF THE DEFENDANT GREEN                            Comptroller Darlene Green
                                                                18          with attached letters of
 19            MARCH 10, 2022
                                                                            request                  142
 20                                                             19
 21                                                             20
 22                                                             21
 23                                                             22   (Exhibits attached to original transcript.)
                                                                23
 24                                                             24
 25                                                             25


                                                       Page 2                                                           Page 4
  1               INDEX                                          1           UNITED STATES DISTRICT COURT
  2               WITNESSES                                      2           EASTERN DISTRICT OF MISSOURI
  3   ALL WITNESSES                   PAGE
  4   For Defendant Green                                        3              EASTERN DIVISION
  5    RICHARD R. FRANK                                          4
  6      Examination by Mr. Norwood        8                     5   JAMES GARAVAGLIA,            )
         Examination by Mr. Blanke       96                                          )
  7      Re-Examination by Mr. Norwood      230
         Re-Examination by Mr. Blanke     241                    6        Plaintiff,      )
  8      Re-Examination by Mr. Norwood      247                                      )
  9                                                              7   vs.               ) Case No. 4:20-CV-1681-CDP
 10                EXHIBITS                                                          )
 11   NO.           DESCRIPTION          PAGE
 12   For Defendant Green:                                       8   CITY OF ST. LOUIS,        )
 13   Exhibit 1 Second Amended Complaint                             et al.,            )
             for Employment Discrimination 62                    9                   )
 14                                                                       Defendants.       )
      Exhibit 2 7/2/19 approval of request
 15          to place James Garavaglia                          10
             on forced leave           41                       11
 16                                                             12            VIDEO-RECORDED DEPOSITION OF WITNESS,
      Exhibit 3 7/2/19 notice of forced
                                                                13   RICHARD R. FRANK, produced, sworn and examined on
 17          leave letter to James
             Garavaglia                43                       14   the 10th day of March, 2022, between the hours of
 18                                                             15   eight o'clock in the forenoon and six o'clock in
      Exhibit 4 7/18/19 withdraw of                             16   the afternoon of that day, at the offices of Lewis
 19          request of forced leave
             letter to Richard Frank        46
                                                                17   Rice, 600 Washington Avenue, 25th Floor, St. Louis,
 20                                                             18   Missouri, before Tara Schwake, a Registered
      Exhibit 5 7/18/19 request to place                        19   Professional Reporter, Certified Realtime Reporter,
 21          on leave letter to Richard                         20   Certified Shorthand Reporter (IL), Certified Court
             Frank                   48
 22                                                             21   Reporter (MO), and Notary Public within and for the
      Exhibit 6 7/18/19 approval of request                     22   State of Missouri.
 23          to place James Garavaglia on                       23
             forced leave              49                       24
 24
 25                                                             25


                                                                                                              1 (Pages 1 to 4)
                                                 ALARIS LITIGATION SERVICES                                           SJ Exhibit
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                                                                                                                                 5
                                RICHARD R. FRANK 3/10/2022

                                         Page 5                                                    Page 7
   1    APPEARANCES                                  1            IT IS HEREBY STIPULATED AND AGREED by
   2                                                 2   and between Counsel for Plaintiff and Counsel for
   3    FOR THE PLAINTIFF:                           3   Defendants that this deposition may be taken by
   4       Uthoff Graeber Bobinette & Blanke         4   Tara Schwake, Notary Public and Certified Realtime
   5       906 Olive Street, Suite 300               5   Reporter, thereafter transcribed into typewriting,
   6       St. Louis, Missouri 63101                 6   with the signature of the witness being expressly
   7       (314) 621-9550                            7   reserved.
   8       by: Mr. Richard B. Blanke                 8            THE VIDEOGRAPHER: We are now on the
   9           Mr. Paul L. Schmitz                   9   record. Today's date is March the 10th, 2022, the
  10       rblanke@ugbblaw.com                      10   time is approximately 9:47 AM. This is the
  11       pschmitz@ugbblaw.com                     11   video-recorded deposition of Richard Frank in the
  12                                                12   matter of James Garavaglia versus the City of
  13    FOR THE DEFENDANT GREEN:                    13   St. Louis, et al., Case Number 4:20-CV-1681-CDP, in
  14       Lewis Rice, LLC                          14   the United States District Court for the Eastern
  15       600 Washington Avenue, Suite 2500        15   District of Missouri.
  16       St. Louis, Missouri 63101                16            This deposition is being held at the
  17       (314) 444-7600                           17   law offices of Lewis Rice. Reporter's name is Tara
  18       by: Mr. Ronald A. Norwood                18   Schwake, my name is David Doell and I am the legal
  19           Ms. Joy McMillen                     19   videographer, we're here with Alaris Litigation
  20       rnorwood@lewisrice.com                   20   Services.
  21       jmcmillen@lewisrice.com                  21            The attorneys attending please
  22                                                22   introduce yourselves and the parties you represent?
  23                                                23            MR. BLANKE: Is this working?
  24                                                24   Working okay? Richard Blanke and Paul Schmitz
  25                                                25   representing Plaintiff, James Garavaglia.


                                         Page 6                                                    Page 8
   1   FOR THE DEFENDANT CITY OF ST. LOUIS:          1           MS. HAMILTON: Sheena Hamilton, City
   2      City of St. Louis, Law Department          2   Counselor, representing the City of St. Louis.
   3      City Counselor's Office                    3           MR. NORWOOD: Ronald Norwood and Joy
   4      1200 Market Street, Room 314               4   McMillen representing the Defendant, Darlene Green.
   5      St. Louis, Missouri 63103                  5           THE VIDEOGRAPHER: The court reporter
   6      (314) 622-4554                             6   please swear in the witness and we may proceed.
   7      by: Ms. Sheena Hamilton, City Counselor    7               RICHARD R. FRANK,
   8      hamiltons@stlouis-mo.gov                   8   of lawful age, having been produced, sworn, and
   9                                                 9   examined on the part of Defendant Green, testified
  10   COURT REPORTER:                              10   as follows:
  11      TARA SCHWAKE, CRR, RPR, CCR, CSR          11                 *****
  12      DAVID DOELL, Videographer                 12         (Deposition commenced at 9:47 AM)
  13      Alaris Litigation Services                13                EXAMINATION
  14      711 North 11th Street                     14   QUESTIONS BY MR. NORWOOD:
  15      St. Louis, Missouri 63101                 15        Q Okay, good morning, sir. As you
  16      (314) 644-2191                            16   know, my name is Ronald Norwood, and I will be
  17      1-800-280-DEPO                            17   examining you today in this lawsuit. Would you
  18      transcripts@alarislitigation.us           18   state your full name for the record, please?
  19                                                19        A Yes, it's Richard R. Frank,
  20                                                20   F-r-a-n-k.
  21                                                21        Q Okay. And, Mr. Frank, are you
  22                                                22   currently employed?
  23                                                23        A No.
  24                                                24        Q All right. When was the last time
  25                                                25   you were employed?



                                                                                       2 (Pages 5 to 8)
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                                                 Page 9                                                     Page 11
  1         A November 30th, 2021.                            1       A I think so.
  2         Q All right. And where were you                   2       Q After you graduated from Washington
  3    employed at that time?                                 3   University, what did you do?
  4         A City of St. Louis.                              4       A I was appointed to a year-long paid
  5         Q How did it come about that you are no           5   externship in personnel and labor relations for the
  6    longer employed with the City of St. Louis?            6   State of Illinois, Department of Central Management
  7         A I retired.                                      7   Services, Bureau of Personnel.
  8         Q And what -- what was the effective              8       Q And what -- what was your job title?
  9    date of that retirement?                               9       A I started out as a human
 10         A The effective date of retirement was           10   resource/personnel analyst, and then became a -- a
 11    1/1/22.                                               11   senior analyst.
 12         Q Great. Thank you. What position                12       Q How long did you serve in those
 13    did you hold when you retired from the City of        13   positions?
 14    St. Louis?                                            14       A A total of five years.
 15         A I was the director of personnel.               15       Q Okay. And what did you do next?
 16         Q How long did you work for the City of          16       A Then I became director of human
 17    St. Louis?                                            17   resources for the St. Louis County court system.
 18         A Approximately 17 and a half years. I           18       Q During what period of time did you
 19    started June 1, 2004.                                 19   serve as the director of personnel -- I'm sorry --
 20         Q Okay. Well, let's talk about your              20   director of human resources for the St. Louis
 21    years of service with the City of St. Louis. When     21   County court system?
 22    you started in June of 2004, what position did you    22       A It was from 1989 until 2004.
 23    hold?                                                 23       Q And based upon what you testified to,
 24         A Director of personnel.                         24   then, from there you would have transitioned to the
 25         Q All right. And when you retired,               25   director of personnel for the City of St. Louis?


                                                Page 10                                                    Page 12
  1    what position did you hold?                            1        A Yes.
  2         A Director of personnel.                          2        Q Great. All right. So let's talk
  3          Q Okay. And so just for the record,              3   about your job position with the City of St. Louis.
  4    then, during your entire tenure at the City of         4   What were your duties and responsibilities as
  5    St. Louis, you served as the director of personnel?    5   director of personnel?
  6         A Yes, sir.                                       6        A The duties of the director of
  7          Q All right. And we're going to talk             7   personnel are defined under Article XVIII of the
  8    more about your duties, responsibilities at the        8   City Charter, and it is essentially to administer
  9    City of St. Louis. Let's talk first about your         9   the civil service system. It's a full service
 10    educational background.                               10   human resource function with all the major
 11         A Okay.                                          11   functional areas of human resource.
 12          Q If we could. Where did you go to              12            I also, pursuant to that ex-officio,
 13    school?                                               13   was secretary to the Civil Service Commission, also
 14         A Undergraduate, I went to Washington            14   secretary to the Employees Retirement System, and
 15    University, and then I have approximately 18 hours    15   then pursuant to ordinance, later, secretary to the
 16    of -- of graduate work.                               16   Firefighters Retirement Plan.
 17          Q Okay. When did you go to Washington           17        Q Okay. Great. Let's talk a little
 18    University?                                           18   bit about, you know, your job as the director of
 19         A 1979 through 1983.                             19   personnel. Give us a flavor for the types of
 20          Q All right. And did you graduate?              20   issues you would handle in that capacity.
 21         A Yes, I did.                                    21        A Certainly. I had section managers
 22          Q And what degree?                              22   who were responsible for benefits. The City has a
 23         A English literature.                            23   very large benefits program that covers about
 24          Q Okay. Nice pre-personnel director             24   10,000 lives. I had responsibility for negotiating
 25    background, I take it.                                25   all benefits for City employees. We had a



                                                                                              3 (Pages 9 to 12)
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                                                Page 13                                                    Page 15
  1    compensation and classification section which puts     1      A      No.
  2    together the compensation plan and also deals with     2      Q      Okay. Was -- well, strike that.
  3    compensation issues.                                   3            You also talked about serving as
  4             We had an employee relations section          4   secretary of the Civil Service Commission. Tell us
  5    which is responsible for processing grievances,        5   about that. What were your duties and
  6    drug and alcohol program, family medical leave         6   responsibilities as secretary to the Civil Service
  7    administration, you know, union negotiations on a      7   Commission?
  8    departmental level.                                    8       A The secretary to the Civil Service
  9             We had a training and organizational          9   Commission schedules meetings for the Commission,
 10    development section, which was responsible for, you   10   ensures that appropriate minutes are taken, makes
 11    know, training and organizational interventions at    11   sure that the agenda -- agenda items are prepared,
 12    the department level. We had a personnel services     12   makes sure that any appeals are -- are reviewed for
 13    section which administered payroll along with the     13   timeliness, and then scheduled appropriately,
 14    Comptroller's office and maintained personnel         14   either for the written submission process or the
 15    records and files and resolved those kinds of         15   formal evidentiary hearing process.
 16    administrative issues.                                16            And then additionally, I contracted
 17             And we then had the pension systems I        17   with six different hearing officers, all of whom
 18    spoke of, the Employees Retirement System is a        18   were employment attorneys, three of those were
 19    multi-employer, IRS qualified plan which includes,    19   former Circuit Court judges to hear disciplinary
 20    for instance, like the Art Museum, Tower Grove        20   matters that went before the Commission.
 21    Park, the zoo, et cetera, and then the Firefighters   21       Q Okay, great. Thank you. Who is
 22    Retirement Plan which, you know, covers all           22   Linda Thomas?
 23    employees, specifically those who were affected by    23       A Linda Thomas was one of my former
 24    the Court of Appeals' decision which validated the    24   deputy directors.
 25    Firefighters Retirement Plan effective, I believe,    25       Q Okay. How many deputy directors did


                                                Page 14                                                    Page 16
  1    retroactive to February 1, 2013.                       1   you have as the director of personnel?
  2            And I believe that's it.                       2         A I had one full-time deputy director,
  3         Q Okay. Who do you report to?                     3   Brian Beckelman, and then two part-time deputy
  4         A I have a -- I reported in a --                  4   directors who were per performance.
  5         Q Or who did you report to, I'm sorry.            5         Q And that included Linda Thomas?
  6         A Yeah. That's an interesting                     6         A Yes.
  7    question. The mayor serves as Chief Executive          7         Q All right. And what were the duties
  8    Officer of the City, provided, however, that there     8   and responsibilities of Linda Thomas as deputy
  9    are any exception pursuant to Article XVIII.           9   director?
 10            So I had a opinion from prior City            10         A Linda Thomas assisted me in running
 11    Counselor, City -- City Counselor --                  11   the day-to-day operations of the City and served as
 12            MS. HAMILTON: I'm going to ask you            12   a special resource in particular on the City's ERP
 13    not to go into any attorney-client privilege          13   project for the last several years, which is the
 14    information.                                          14   exploration of converting the -- the old mainframe
 15            THE WITNESS: Okay.                            15   system into a new City-wide integrated computer
 16            MS. HAMILTON: Okay.                           16   system.
 17         Q (BY MR. NORWOOD) Yeah, okay. Well,             17         Q Now, when we talk about the City of
 18    let me ask it this way. Did you report to the         18   St. Louis and personnel, let's talk about the time
 19    mayor?                                                19   that you -- well, let's talk about when you left.
 20         A Not directly.                                  20   How many employees are there in the City of
 21         Q All right. Did you report to the               21   St. Louis system?
 22    Comptroller?                                          22         A We had about, I believe, 6,300
 23         A No.                                            23   authorized positions but maybe about 5,100
 24         Q Did you report to the Board of                 24   full-time positions that were filled. In addition
 25    Aldermen?                                             25   to that, there would be varying amounts of per


                                                                                             4 (Pages 13 to 16)
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                                                      Page 17                                                          Page 19
  1   performance employees and seasonal employees. We           1   compensatory time or vacation time for the period
  2   called them hourly workers, or per performance.            2   of forced leave. If they elect not to take any
  3       Q      Okay. And those employees, that                 3   accrued leave during the period of forced leave and
  4   number 6,300, 5100, does that -- or did that               4   it is found that discipline or dismissal is not
  5   include full- and part-time employees?                     5   warranted, then they are entitled to back pay for
  6       A      No. The 6,300 positions were                    6   that period of time.
  7   full-time. That excludes the several hundred per           7            So it is not, in the eyes of the
  8   performance employees, and depending on any                8   Department of Personnel, property deprivation.
  9   particular year, we could have 300 to 700 of those         9       Q     Okay. And one of the reasons you
 10   per performance employees, especially during the          10   identified as the use of forced leave is when an
 11   summer months.                                            11   employee could be a danger to the City. Is that
 12       Q      And explain to us lay people, when             12   right?
 13   you say per performance employee, what is that?           13       A    Yes.
 14       A      They are employees who work under 17           14       Q     And does that danger necessarily mean
 15   -- approximately 1,700 hours per year. They have          15   physical danger or harm?
 16   no set schedule per se, and don't receive any             16       A    No.
 17   benefits except those that would be provided under        17       Q     Okay. What are some other examples
 18   the ACA Act.                                              18   of the type of danger to the City that might
 19           Meaning that if it's anticipated they             19   warrant a forced leave?
 20   would be working at least 30 hours per week for a         20       A    It could be use of -- misuse of the
 21   six-month period of time, they would get the              21   City computer system for political reasons. It
 22   medical insurance benefits.                               22   could be if they have access to confidential
 23       Q      Okay. All right. Linda Thomas, did             23   information that could be compromised. It could be
 24   she work at the City of St. Louis at the time you         24   also used for investigative purposes. So an
 25   retired?                                                  25   employment authority would ask to place an employee


                                                      Page 18                                                          Page 20
  1        A Yes, she did.                                       1   on forced leave pending either an investigation or,
  2        Q Okay. Do you know if she's currently                2   in many instances, pending a pre-termination
  3   employed with the City of St. Louis?                       3   review.
  4        A No, she retired shortly after I did.                4        Q Okay. Why is it important to --
  5        Q Okay. All right. Let's talk about                   5   well, strike that.
  6   forced leave. Are you familiar with the process of         6             So when a person on forced leave,
  7   forced leave in the City of St. Louis?                     7   essentially they are removed from the employment
  8        A Yes.                                                8   site; is that correct?
  9        Q Okay. What is forced leave?                         9        A Yes.
 10        A Forced leave is defined in Department              10        Q Okay. Why is it important if, for
 11   of Personnel Administrative Regulation 117. Forced        11   instance, there is an investigation, to remove an
 12   leave can be requested by an appointing authority,        12   employee from the employment site?
 13   to be approved by me, when an employee presents a         13        A We want to maintain the integrity of
 14   potential danger to themselves, to the community,         14   the invest -- investigation process, and that would
 15   to the workplace, et cetera.                              15   include the employee not in any way altering or
 16        Q The forced leave process I believe                 16   removing records.
 17   you just stated is governed by St. Louis City             17             Similarly, we would not want them
 18   Regulation 117?                                           18   discussing the investigation with any co-workers,
 19        A Yes.                                               19   et cetera. So.
 20        Q Is forced leave considered                         20        Q And -- and -- and so when we talk
 21   discipline?                                               21   about sensitive financial information, does that
 22        A No.                                                22   vary based upon the position --
 23        Q Why do you say that?                               23        A Yes.
 24        A It is not considered discipline                    24        Q -- of the particular -- okay, let
 25   because an employee may use any accrued                   25   me --



                                                                                                     5 (Pages 17 to 20)
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                                                Page 21                                                   Page 23
  1          A I'm sorry. I'll let you finish.                1        A If I received a request to appeal a
  2          Q Just -- just so -- so that, really             2   forced leave, I would call in the administrative
  3    for our court reporter's benefit because she's         3   assistant to the Civil Service Commission, give it
  4    trying to take us both down, so it's better to --      4   to her, if it were timely, which is within ten days
  5          A Sorry.                                         5   of the notice of forced leave, and then ask him or
  6          Q -- have the -- sort of you're a                6   her to schedule an appeal in front of a hearing
  7    tennis player, back and forth volley.                  7   officer.
  8             So, okay. So when we talk about               8        Q Okay. And in that context, the
  9    sensitive financial information, does that vary        9   appeal of a forced leave, do you have an
 10    based upon the position?                              10   understanding as to what is being looked at by the
 11          A Yes.                                          11   hearing officer?
 12          Q All right. And let's talk about               12        A Yes.
 13    Mr. Garavaglia. Was he a high level employee?         13        Q What is that that would be looked at
 14    Considered a high level employee at the City of       14   by a hearing officer in that forced leave appeal
 15    St. Louis?                                            15   context?
 16          A Yes.                                          16        A The hearing officer would examine
 17          Q As a high level employee of the City          17   whether or not there appeared to be sufficient
 18    of St. Louis, did he have access to sensitive         18   justification to place the employee on forced leave
 19    financial information?                                19   and that was not being done for malicious reasons.
 20          A Yes.                                          20        Q Okay. When a person is placed on
 21          Q All right. When forced leave is               21   forced leave, what happens with respect to that
 22    utilized by an appointing authority, does that        22   individual remaining on the work site?
 23    automatically lead to some form of discipline?        23        A If a person is placed on forced
 24          A No.                                           24   leave, they are notified that they should not
 25          Q Okay. Are you aware of situations             25   return to the work site.


                                               Page 22                                                    Page 24
  1    where an individual was placed on forced leave         1        Q Okay. What if they are already at
  2    pending an investigation and then ultimately the       2   the work site?
  3    veil was lifted where that individual was permitted    3        A If they are currently at the work
  4    to return to work?                                     4   site, then they would typically be escorted off the
  5         A Yes.                                            5   work site.
  6         Q Okay. When an individual is placed              6        Q And why would they be escorted off
  7    on forced leave, are there appeals processes that      7   the work site?
  8    can be utilized --                                     8        A Because if they are being placed on
  9         A Yes.                                            9   forced leave, the appointing authority, in his or
 10         Q -- by that -- by that employee?                10   her opinion, believes that they present, you know,
 11         A Yes.                                           11   that imminent type of threat to the work site or
 12         Q Okay. And --and as the secretary for           12   themselves or the community.
 13    the Civil Service Commission, were you involved in    13        Q Okay. So are they escorted off the
 14    those appeals?                                        14   work site at the time they are notified that
 15         A Yes.                                           15   they're placed on forced leave?
 16         Q All right. Tell us about that                  16        A Typically, yes.
 17    process, particularly as it relates to forced         17        Q Okay. How long -- well, before I ask
 18    leave. The appeals process as related to forced       18   that -- strike that.
 19    leave.                                                19            In a situation where an employee is
 20             MR. BLANKE: Let me just object just          20   placed on forced leave, who has to approve that
 21    to the form of the question calling for an unduly     21   forced leave?
 22    long narrative response.                              22        A The appointing authority has the
 23         Q (BY MR. NORWOOD) Okay. And without             23   right to place the employee on forced leave, and
 24    having an unduly long narrative response, could you   24   then they have to receive permission, in writing,
 25    tell us about those processes?                        25   from me within 72 hours.


                                                                                            6 (Pages 21 to 24)
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                                               Page 25                                                    Page 27
  1         Q Okay. Well, you say "from me,"                  1        A It could take -- it varies greatly.
  2    meaning the director of personnel?                     2   It could take from a few days, if it were like a
  3         A Director of personnel. Yes. No                  3   blood alcohol test, to sometimes several years if
  4    longer me, so.                                         4   it were a matter that were in the police division,
  5         Q No, that's okay. But whoever is                 5   being investigated by the internal affairs division
  6    serving in that role as director of personnel would    6   which involve criminal charges. So it did vary
  7    have to approve the forced leave. Is that correct?     7   widely.
  8         A Yes.                                            8        Q Okay. Have there -- when you were
  9         Q And during the time that you were               9   director of personnel, were there situations,
 10    director of personnel, did you have to approve        10   occasions, where a forced leave would be rescinded
 11    those forced leaves?                                  11   and then reinstated?
 12         A Yes.                                           12        A Yes.
 13         Q Were you considered a rubber stamp of          13        Q Was there anything out of the
 14    those forced leaves? I mean, in other words, did      14   ordinary about that process while you were director
 15    you just routinely approve forced leaves?             15   of personnel?
 16         A No.                                            16        A It's unusual, but it did occur when
 17         Q What, in -- in your practice, and              17   more information was forthcoming that necessitated
 18    based upon your understanding of your                 18   another -- a further investigation.
 19    responsibility as director of personnel, what would   19        Q Okay. So if I'm understanding your
 20    you do to determine whether or not to approve a       20   prior testimony, where, for instance, you said
 21    forced leave?                                         21   sometimes it could take years, as part of an
 22         A I had to look at the totality of the           22   investigation, as information comes in, does it
 23    circumstances to see if that serious threshold were   23   continue to get extended?
 24    met, that they presented, again, a potential threat   24        A Yes.
 25    to themselves or the City or -- or to, you know,      25        Q Why?


                                               Page 26                                                    Page 28
  1    the community.                                         1        A Because again, once you get into an
  2         Q And when you say to the City, meaning           2   investigation, you can find additional matters of
  3    that if it's a high level employee that has access     3   concern. Additional allegations can surface.
  4    to sensitive financial information, is that a          4        Q Okay. If additional information
  5    factor that you would look at to consider whether      5   comes to light, in your experience as director of
  6    or not to approve forced leave?                        6   personnel, is it prudent to ignore that additional
  7         A Yes.                                            7   information as it comes in?
  8         Q When a person is placed on forced               8        A No.
  9    leave, how long would that typically last?             9        Q Why not?
 10         A It varies, sir. It depends on the              10        A Because all of that should be taken
 11    length of the investigation, or when a                11   into consideration when making the ultimate
 12    pre-disciplinary or pre-termination review, you       12   determination as to whether or not the employee
 13    know, would be set. If the forced leave is -- if      13   should be set for a pre-disciplinary review or a
 14    the appointing authority needs more than 30 days to   14   pre-termination review.
 15    complete the investigation, then they have to         15        Q Okay. And you identified situations
 16    receive my approval of the extension.                 16   where there was a forced leave, there was an
 17         Q Okay. And is it common, and                    17   investigation, and ultimately the individual
 18    particularly in the context of an investigation,      18   returned to work. Is that right?
 19    for there to be requests for extensions beyond the    19        A Yes.
 20    30 day window you identify?                           20        Q And would that be -- well, strike
 21         A Yes.                                           21   that.
 22         Q Are you aware of situations -- well,           22           Under what circumstances would, once
 23    strike that.                                          23   that process works, would an individual be returned
 24               How long would the typical                 24   to work? Give us examples of how that operates.
 25    investigation take?                                   25        A We had a situation, for instance,



                                                                                            7 (Pages 25 to 28)
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                                               Page 29                                                     Page 31
  1    where an employee was accused of -- of workplace       1   that circumstance?
  2    violence, and it was invest -- and so he was placed    2        A They are paid for the period that
  3    on forced leave.                                       3   they were off on forced leave.
  4             And then upon further review, he was          4        Q And what about them returning to
  5    allowed to return because they did not -- the          5   work?
  6    appointing authority did not believe that the          6        A They would return to work, you know,
  7    threat was truly physical harm.                        7   upon the expiration -- or the rescission of the
  8             But then the employee, upon returning         8   forced leave.
  9    to work, made a very viable threat and made            9        Q Okay. If an individual is ultimately
 10    physical contact with a supervisor, so he was         10   disciplined, and we're going to talk a little bit
 11    placed on forced leave again.                         11   more about the discipline in that process, are you
 12             We've had situations in the police           12   aware of situations where that disciplined employee
 13    division where the person was placed on forced        13   appealed that discipline?
 14    leave due to a complaint through perhaps the -- a     14        A Yes.
 15    Civilian Oversight Board or through a, you know, a    15        Q And if that employee is successful in
 16    member of the public, and while the particular        16   that appeal, what happens to the employee?
 17    charge or allegation was found not meritorious, the   17        A That depends on the decision of the
 18    internal affairs division uncovered other             18   Civil Service Commission. They can totally
 19    circumstances during its investigation that           19   overturn the discipline, in which case the employee
 20    warranted forced leave again.                         20   is made whole in terms of any lost pay and
 21         Q Okay. So if I'm understanding you,             21   seniority, et cetera, or the Commission retains the
 22    if there was an investigation and it turns out        22   right to reduce the discipline if they feel that
 23    that, you know, there's not a basis for the next      23   there, you know, were -- there were some fault on
 24    step, which could be discipline, what happens then    24   the part of the employee but that the discipline
 25    to that employee?                                     25   imposed by the appointing authority was excessive.


                                               Page 30                                                    Page 32
  1         A The person would be returned to work            1        Q Okay. So -- so it sounds like the
  2    if there was no basis for it.                          2   Commission, then, serves as sort of a watchdog to
  3         Q And what about any utilization of --            3   make sure that, if there's discipline of a civil
  4    of time?                                               4   service employee, that it -- it's justified, and,
  5         A Yes, sir. As I addressed previously,            5   therefore, can effectively remove any discipline
  6    if they elected to take any accrued compensatory       6   and send that employee back to work. Is that
  7    time or vacation leave, then they've already been      7   right?
  8    paid, you know, for that time. And if the period       8       A Yes.
  9    of forced leave were greater than what they had,       9        Q And restore any lost benefits?
 10    they would be restored the difference.                10       A Yes.
 11             As an example, if they had only two          11        Q Is it your understanding that an
 12    weeks of time and the forced leave were for three     12   appointing authority needs proof that an individual
 13    weeks and they were found not to be at fault, they    13   engaged in misconduct before an individual is
 14    would get the one week time difference.               14   placed on forced leave?
 15             If they elected not to take any time         15       A No.
 16    during this period of forced leave for that three     16        Q You identify forced leave as a way to
 17    weeks, they would get paid for the entire three       17   remove an employee from the workplace while an
 18    weeks.                                                18   investigation is going on. Why is it important to
 19         Q Okay. All right. Now, what about               19   remove an employee from the workplace while the
 20    appeals processes? Are you aware of situations        20   investigation is going on?
 21    where an individual was placed on forced leave and    21       A Because --
 22    appealed and ultimately the forced leave was          22           MR. BLANKE: Objection, asked and
 23    rescinded?                                            23   answered.
 24         A Yes.                                           24           MS. HAMILTON: You can answer.
 25         Q And what happens to the employee in            25       A Because if the allegations are so



                                                                                            8 (Pages 29 to 32)
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                                               Page 33                                                    Page 35
  1    serious, in the director's opinion, to meet that       1   with respect to the employee returning to work and
  2    threshold of needing to remove the employee from       2   restoration of any benefits?
  3    the workplace, it's important for the safety of the    3        A Again, typically, if a person is
  4    City, of the employee, of the co-workers, that         4   placed on -- if they are notified that they are
  5    those allegations are thoroughly investigated, you     5   being placed on -- I'm sorry, if they are being set
  6    know, be -- and that the person is not, you know,      6   for a pre-termination review, the appointing
  7    presenting a -- presenting a threat.                   7   authority would consult with myself and possibly
  8             So we -- we feel that action is -- is         8   the law department, and in most cases those people
  9    necessary.                                             9   would be placed on forced leave because the
 10         Q (BY MR. NORWOOD) Is an individual              10   employee is put on notice that they may be losing
 11    who is on forced leave, is their access to the        11   their job.
 12    City's computer system restricted in any way?         12            So in most instances the employee
 13        A It is supposed to be restricted, yes.           13   would be placed on forced leave and then again that
 14         Q And why is that?                               14   process that we discussed would trigger where they
 15        A Because, again, we would not want the           15   could either elect to take time that they have
 16    person going in and either damaging or altering or    16   accrued, or not.
 17    removing records.                                     17        Q And if that happens, though, and it's
 18         Q Okay. And if an individual, in the             18   ultimately determined that, based on those
 19    case of a forced leave, when that forced leave is     19   incidents you identified, that there was no basis
 20    removed and the individual returns to work, and       20   for discipline, what happens to that employee in
 21    that -- that access would be reestablished; is that   21   terms of returning to work and restoration of
 22    right?                                                22   benefits?
 23        A Yes.                                            23        A Then the employee is returned to work
 24         Q Let's talk about pre-termination.              24   as -- as quickly as possible, and the employee, if,
 25    What is pre-termination?                              25   again, if they took any time, if the period of


                                               Page 34                                                    Page 36
  1         A Pre-termination is a process whereby            1   forced leave were greater than the amount of time
  2    an employee is officially put on notice via letter     2   they were on forced leave, they would be paid the
  3    that the City -- the appointing authority              3   difference.
  4    specifically is contemplating the need to dismiss      4            If they were not, if they choose not
  5    them from their job.                                   5   to take any time, they get paid for that -- that
  6         Q Okay.                                           6   period of forced leave and, you know, any seniority
  7         A It's -- it's outlined in                        7   or any holidays, you know, they're made whole
  8    Administrative Regulation 117 in -- in terms of how    8   essentially under -- under our rules.
  9    that procedure works and what the necessary            9        Q But during the forced leave period of
 10    elements are.                                         10   time and during the pre-termination period of time,
 11         Q Does -- well, once a pre-termination           11   essentially they are on paid leave. Is that right?
 12    notice is sent, does that process lead to             12            MR. BLANKE: Objection, leading.
 13    termination?                                          13        Q (BY MR. NORWOOD) Well, are they on
 14         A It leads to a pre-termination review,          14   paid leave in that circumstance?
 15    which is not a formal hearing, but it is a review     15        A It can be either paid or on -- on
 16    where the employee and his or her representative      16   leave without pay.
 17    can review the evidence and also respond to any of    17        Q Okay. All right. Once a
 18    the allegations and basically fulfill the elements    18   pre-termination -- is it a pre-termination hearing;
 19    that are required under Administrative Regulation     19   is that what it's called?
 20    117.                                                  20        A We call it a pre-termination review.
 21         Q Okay. And are you aware of                     21        Q Okay. Once a pre-termination review
 22    situations where that process has occurred and the    22   happens, and if there is a determination of a need
 23    -- and no discipline was issued?                      23   to impose some form of discipline, can the employee
 24         A Yes.                                           24   appeal that determination to the Civil Service
 25         Q And if that happens, what happens              25   Commission?



                                                                                            9 (Pages 33 to 36)
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                                                Page 37                                                   Page 39
  1         A Yes.                                            1   advising that the Deputy Comptroller, Garavaglia,
  2         Q All right. And if that happens, what            2   was -- they were concerned that he was involved in
  3    happens at the Civil Service Commission level in       3   some serious fiscal issues and was not complying
  4    terms of presentation of evidence, things of that      4   with the Comptroller's office's protocols, and that
  5    sort?                                                  5   they were so serious as to warrant a
  6         A What we would do is ensure -- I would           6   pre-termination review.
  7    ensure my assistant and secretary that the appeal      7        Q (BY MR. NORWOOD) All right. And
  8    to the Civil Service Commission was timely, meaning    8   that was by way of a phone call?
  9    within ten days of notification of the results of      9        A Yes, sir.
 10    the pre-termination review.                           10        Q Do you recall when that phone call
 11             We would then set the hearing in             11   occurred?
 12    front of one of our hearing officers, and that is     12        A I don't remember the exact month. I
 13    the -- the evidentiary hearing process is a full      13   know it was a Saturday afternoon at approximately
 14    hearing that complies with the rules for a            14   1:30 PM.
 15    contested hearing. They can cross-examine             15        Q All right. Is it common for you to
 16    witnesses, et cetera.                                 16   receive an oral request for forced leave?
 17         Q So at that level, the employee could           17        A Yes.
 18    then present evidence to clear his or her name if     18        Q And when you receive an oral request
 19    they feel they have been falsely disciplined; is      19   for forced leave, do you -- if you agree, does it
 20    that right?                                           20   happen at that point in time, once you have
 21             MR. BLANKE: Objection, leading.              21   approved it orally?
 22         Q (BY MR. NORWOOD) Subject to that.              22        A It still has to be ratified by me via
 23         A Yes.                                           23   the 72 hour written notification. So the
 24         Q Are you aware of situations where              24   appointing authority may call me or, again, like
 25    that happened? In other words, there was              25   the law department, to discuss a particular matter


                                                Page 38                                                   Page 40
  1    discipline following the pre-termination review,       1   to see if they think this is something that would
  2    there was an appeal to the Civil Service               2   warrant forced leave, given the nature of the
  3    Commission, and the Civil Service Commission           3   allegations, and then it's the appointing
  4    determined that the discipline was improper, and       4   authority's determination as to whether or not to
  5    the individual was returned to work?                   5   proceed.
  6         A Yes.                                            6             And they have 72 hours, if they do
  7          Q Is it fair to say that this whole              7   place the person on forced leave, to get that
  8    Civil Service Commission process is a safeguard to     8   notice to me so that I can review it and look at it
  9    avoid a situation where a civil service employee is    9   to see if it warrants, in the director's opinion,
 10    wrongfully charged?                                   10   you know, ratification -- formal -- formal approval
 11         A Yes.                                           11   of that forced leave request.
 12          Q Okay. Let's talk about                        12        Q Okay. Ultimately, did you approve
 13    Mr. Garavaglia's forced leave situation. Did you      13   the forced leave for Mr. Garavaglia?
 14    have any involvement in that forced leave process?    14        A Yes.
 15         A Yes.                                           15        Q Why did you approve the forced leave
 16          Q Tell us about your involvement in             16   request for Mr. Garavaglia?
 17    that process as it relates to Mr. Garavaglia.         17             MR. BLANKE: Well, let me object in
 18            MR. BLANKE: Objection. Calls for an           18   that the form of the question is a compound
 19    unduly long narrative response.                       19   question because he was relieved -- he was placed
 20          Q (BY MR. NORWOOD) Subject to that              20   on forced leave on multiple occasions and the
 21    sir, and unless --                                    21   question doesn't relate to any particular equation,
 22            MS. HAMILTON: You can answer.                 22   so it's -- occasion, so it's overly broad as well.
 23         A I received a phone call on a Saturday          23             MR. NORWOOD: Fair objection.
 24    -- Saturday afternoon from the appointing authority   24        Q (BY MR. NORWOOD) Why don't we -- you
 25    designate -- for the Comptroller, Judy Armstrong,     25   have before you a binder of certain exhibits, and



                                                                                           10 (Pages 37 to 40)
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                                                Page 41                                                   Page 43
  1    why don't we turn to that binder. And I'm going to     1   apologize.
  2    direct your attention to tab number 2. It's            2           MS. HAMILTON: We'll get it for you.
  3    actually marked Frank Depo Exhibit 2. Could you        3        Q (BY MR. NORWOOD) Okay.
  4    turn to tab 2?                                         4       A Pardon me, I believe, though, it's
  5         A Are you referring, sir, to the July 2           5   S-e-w-r-i-g-h-t.
  6    letter?                                                6        Q Okay.
  7         Q Uh, if --                                       7       A I may be wrong.
  8         A Okay. I have it.                                8        Q And who is that?
  9         Q If you look at the bottom, it says              9       A She's another high level official in
 10    Frank Depo Exhibit 2.                                 10   the Comptroller's office.
 11         A I have it.                                     11        Q Okay. So once the forced leave was
 12         Q Do you see that?                               12   approved, would that then begin the processes you
 13         A Yes, thank you.                                13   described about removing an individual from the
 14         Q Okay. What is Frank Deposition                 14   workplace?
 15    Exhibit 2?                                            15       A Yes.
 16         A This is a letter from Comptroller              16        Q And restricting that individual's
 17    Green to me requesting that I approve formally        17   access, in the case of Mr. Garavaglia, access to
 18    Mr. Garavaglia's forced leave.                        18   sensitive financial information?
 19         Q Okay. And there is some writing on             19       A Yes.
 20    that document; is that correct?                       20        Q Let's turn to Frank Deposition
 21         A Yes.                                           21   Exhibit 3. Which is the next tab. What is that
 22         Q Whose writing is that?                         22   document?
 23         A That's mine.                                   23       A This is the letter from Comptroller
 24         Q And could you read what you wrote on           24   Green advising the employee, Mr. Garavaglia, that
 25    -- well, whenever you wrote it?                       25   he is being officially placed on forced leave, and


                                               Page 42                                                    Page 44
  1        A Yes. It's "Approved RF 7/2/19."                  1   of his right to use any accumulated time during
  2        Q Okay. And did that mean that you                 2   that period.
  3    would have approved the forced leave on 7/2/19 for     3        Q Okay. And just for the record, it
  4    Mr. Garavaglia?                                        4   looks like you were copied on that letter from
  5        A Yes.                                             5   Comptroller Darlene Green to Mr. Garavaglia;
  6        Q Why did you approve this particular              6   correct?
  7    forced leave request for Mr. Garavaglia?               7        A Yes.
  8        A I approved this based on the -- the              8        Q And it looks like Judy Armstrong was
  9    discussion I had just several days before, I           9   also copied on that letter; is that right?
 10    believe this is probably a Monday, but several days   10        A Yes.
 11    before with Judy Armstrong and I believe              11        Q And she is, Judy Armstrong that is,
 12    Comptroller was on the phone line but I did not       12   is designated as the appointing authority?
 13    speak with her, and Beth Seright.                     13        A As the appointing authority designee.
 14        Q Excuse me?                                      14        Q Okay. And when you say "appointing
 15        A I believe Beth Seright might have               15   authority designee," what does that mean?
 16    been on the phone, but the person I spoke to only     16        A That's a form authorization, a form
 17    was Judy Armstrong.                                   17   that's filed with the Department of Personnel that
 18        Q Okay. I just want to make she --                18   allows the designee to perform certain types of
 19    she's right now. That last name, who was the other    19   actions. In the case of Ms. Armstrong, she's
 20    person you identified other than the Comptroller      20   authorized to sign off on any and all personnel
 21    who may have been on?                                 21   related matters.
 22        A Beth Seright.                                   22        Q On -- as it relates to which
 23        Q Could you spell that for our court              23   department?
 24    reporter?                                             24        A To the Comptroller's office.
 25        A I cannot spell the last name, I                 25        Q Okay. And actually you remind me.


                                                                                            11 (Pages 41 to 44)
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                                               Page 45                                                    Page 47
  1    Let me -- let us, meaning whoever watches this         1   to withdraw her request of forced leave for
  2    video, reads this transcript, get a sense as to        2   Mr. Garavaglia.
  3    these departments within the City. How many City       3       Q Okay. I think you said "the next
  4    departments are there?                                 4   day." Let's put it in context. If you go back and
  5          A Over thirty major departments. And             5   look at the prior exhibit, that exhibit and the
  6    then we have cost centers within them with various     6   prior set of exhibits on July 2 --
  7    appointing authorities, but over thirty major          7       A Oh, I'm sorry, yeah, I looked at the
  8    departments.                                           8   date wrong.
  9          Q Okay. And one of those departments             9       Q -- July 2, 2019, was the original
 10    would be the Comptroller's office?                    10   forced leave. Is that right?
 11          A Yes.                                          11       A Yes. I misread the -- the date.
 12          Q All right. Would the mayor's office           12       Q That's okay. I just want to make
 13    be considered a department?                           13   sure the record is clear.
 14          A No.                                           14            So the next document, Frank's
 15          Q Okay.                                         15   Deposition Exhibit 4, for the record, is a letter
 16          A May I clarify? Not in terms of                16   dated July 18, 2019. Is that correct?
 17    personnel related issues. Because all of the          17       A Yes.
 18    Comptroller's employees, every single one is a        18       Q And is that a letter to you from
 19    civil service employee. The mayor, her department     19   Comptroller Darlene Green?
 20    directors and the mayor's staff are all excepted      20       A Yes, it is.
 21    positions which are not within the civil service      21       Q And what is that letter?
 22    system or under my prior authority as director.       22       A Are you referring, sir, to Exhibit 4
 23          Q So certain departments fit within the         23   again?
 24    umbrella of the mayor's office; is that right?        24       Q Exhibit 4, yes.
 25          A Only the department heads who are             25       A Yes, that's a letter from the


                                               Page 46                                                    Page 48
  1    appointed directly by her are what they're known as    1   Comptroller advising me that she would like to
  2    excepted positions. For instance, the City             2   officially withdraw the request for forced leave
  3    Counselor, or the director of -- of the health         3   for Mr. Garavaglia.
  4    department, et cetera.                                 4        Q All right. And it looks like
  5         Q Okay. What about the Comptroller's              5   Mr. Garavaglia was copied on that document. Is
  6    office which you said is a separate department.        6   that right?
  7    Does that fit under the mayor's umbrella?              7        A Yes.
  8         A No.                                             8        Q It looks like Judy Armstrong, as
  9         Q And that is considered a separate arm           9   appointing authority, was -- or appointing
 10    of the City?                                          10   authority designee was copied on that document;
 11         A It's not considered separate. The              11   correct?
 12    Comptroller herself is an elected official but all    12        A Yes.
 13    of her employees are civil service positions and      13        Q And it also identifies a person,
 14    ultimately governed in personnel matters by the       14   Nancy Kistler, Deputy City Counselor; is that
 15    Department of Personnel and Civil Service             15   correct?
 16    Commission.                                           16        A Yes.
 17         Q But the people within her department           17        Q Is it your understanding that Nancy
 18    ultimately would report to her as an elected          18   Kistler had involvement as Deputy City Counselor in
 19    official?                                             19   some of the processes involved in this --
 20         A Yes, as the appointing authority.              20        A Yes.
 21         Q As the appointing authority. Okay.             21        Q -- some of the processes involved in
 22    Let's turn to tab number 4, Frank Depo Exhibit 4.     22   this case as it relates to Mr. Garavaglia?
 23    What is that document?                                23        A Yes, sir.
 24         A That is a letter from Comptroller              24        Q Let's go to Frank Deposition Exhibit
 25    Green the next day asking that she would like         25   5. And what is Frank Deposition Exhibit 5?



                                                                                           12 (Pages 45 to 48)
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                                               Page 49                                                              Page 51
  1         A This is a request from Comptroller              1   know, a number of employees, subordinate employees.
  2    Green dated July 18, asking that I place               2   He was a -- one of the second highest ranking
  3    Mr. Garavaglia -- or approve Mr. Garavaglia's          3   people in the office of the Comptroller who is the
  4    forced leave for serious fiscal improprieties.         4   Chief Financial Officer for the City, so.
  5         Q Okay. Did you ultimately approve                5       Q    Okay. Let's turn to the next tab,
  6    that request?                                          6   which is tab -- tab 7. And that appears to be a
  7         A Yes, I did.                                     7   letter dated July 18, 2019, to Mr. Garavaglia from
  8         Q All right. Let's turn to the next               8   Comptroller Darlene Green. Is that correct?
  9    tab, Frank Depo Exhibit 6. What is that document?      9       A    Yes.
 10         A This is a copy of my approval of the           10       Q    And did this reference the forced
 11    request for a forced leave for Mr. Garavaglia dated   11   leave that you approved on July 18, 2019?
 12    July 18, 2019.                                        12       A    Yes.
 13         Q Okay. And there is some writing on             13       Q     And were you also copied on this
 14    that document; is that correct?                       14   particular communication?
 15         A Yes.                                           15       A    Yes.
 16         Q And whose writing is that?                     16       Q    All right. Let's go to the next
 17         A That is mine.                                  17   document, Frank Deposition Exhibit 8, tab 8. And
 18         Q And for the record, could you read             18   what is that item?
 19    what you wrote on July 18, 2019?                      19       A    I need to read it here first.
 20         A "Approved RF 7/18/19."                         20       Q    Yeah, take your time.
 21         Q All right. And why did you approve             21       A    This is a -- an email from Deputy
 22    this request for forced leave?                        22   City Counselor -- I'm sorry, deputy director of
 23         A I approved this request for                    23   personnel, Linda Thomas, to myself explaining -- or
 24    essentially the same reasons, which were the          24   documenting for me a conversation she had with
 25    allegations made by Comptroller that -- and that      25   Comptroller regarding the process for rescinding


                                               Page 50                                                          Page 52
  1    they were -- they were investigating serious fiscal    1   and reinstituting forced leave under the provisions
  2    improprieties and some issues of -- related to that    2   of Administrative Regulation 117.
  3    from Mr. Garavaglia.                                   3        Q Okay. And -- and just for the
  4         Q Okay. And would an investigation                4   record, let's -- let's read this into the record.
  5    into serious fiscal improprieties justify a forced     5            The email to you from Linda Thomas --
  6    leave?                                                 6   who was your deputy at the time; correct?
  7         A Yes.                                            7       A Yes.
  8         Q For the reasons you've already                  8        Q The email from Linda Thomas to you is
  9    stated?                                                9   dated Wednesday, July 17, 2019, at 2:35 PM. Is
 10         A Yes.                                           10   that correct?
 11         Q Does it become more important when             11       A Yes.
 12    you have an individual who is a high level employee   12        Q All right. And --
 13    of the City?                                          13            MS. HAMILTON: It's 2:33.
 14         A Yes.                                           14       A 2:33.
 15         Q Why?                                           15        Q (BY MR. NORWOOD) I'm sorry.
 16         A Because of the magnitude of their              16   Actually, it looks like there are two emails; is
 17    decisions. They have a greater impact to              17   that right?
 18    decision-making, and they also have, typically,       18            MS. HAMILTON: Yes.
 19    involvement in contracts and with vendors and the     19        Q (BY MR. NORWOOD) I mean, within the
 20    magnitude of their authority is greater. So it's      20   one -- it looks like an email string; is that --
 21    amplified.                                            21       A It is, yeah. Thank you.
 22         Q What about their supervisory                   22        Q Okay. All right. So -- so the
 23    authority?                                            23   second, or the top of the string is an email from
 24         A That's certainly another issue, they           24   you to Linda Thomas; is that correct?
 25    -- being as high as Mr. Garavaglia was, he had, you   25       A Yes.


                                                                                                13 (Pages 49 to 52)
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                                              Page 53                                                    Page 55
  1         Q And that appears to have been -- and           1        A Yes.
  2    that email is dated Wednesday, July 17, 2019, at      2        Q It goes further, says, quote, (Quote
  3    2:35 PM; is that correct?                             3   as read):
  4        A Yes.                                            4            The reason for that first leave would
  5         Q And that was in response, it appears,          5            be he has access to a lot of
  6    to an email that Linda Thomas sent to you on          6            confidential files and computer
  7    Wednesday, July 17, 2019, at 2:33 PM. Is that         7            systems and the investigation would
  8    correct?                                              8            lead to disciplinary action up to, it
  9        A Yes.                                            9            says, an, a-n, including termination.
 10         Q Okay. And let's read what she wrote           10            You see that?
 11    to you at 2:33 PM on July 17, 2019. It says,         11        A Yes.
 12    quote, (Quote as read):                              12        Q And is that --
 13            Rick, I told the Comptroller to              13            MS. HAMILTON: And I would just say
 14            withdraw her request for forced leave        14   it says "the forced leave" instead of the first
 15            on JG.                                       15   leave.
 16            Let me pause there, and do you know          16            MR. NORWOOD: Did I say first leave?
 17    who JG was?                                          17            MS. HAMILTON: Yes, sir.
 18        A Yes.                                           18            MR. NORWOOD: Okay. Well, let me
 19         Q Who was that?                                 19   read it so we get it right in the record.
 20        A Mr. Garavaglia.                                20        Q (BY MR. NORWOOD) (Quote as read):
 21         Q Okay. Reading further it says,                21            The reason for the forced leave would
 22    quote, (Quote as read):                              22            be he has access to a lot of
 23            All she has to do is for you to              23            confidential files and computer
 24            withdraw the request and she has to          24            systems and the investigation would
 25            give him a copy and then give back           25            lead to disciplinary action up to an,


                                              Page 54                                                    Page 56
  1            any of this time he has used.                 1            a-n, including termination.
  2            Do you see that?                              2            Is that a fair reading of what's I
  3       A Yes.                                             3   -- what's in the communication?
  4       Q All right. And is that your                      4        A Yes.
  5   understanding as to what the proper procedure          5        Q And is that consistent with your
  6   should have been in order --                           6   assessment of the reason why you approved the
  7       A Yes. I'm sorry, didn't mean to --                7   second forced leave and the first forced leave in
  8       Q That's okay.                                     8   the first place?
  9       A Pardon me.                                       9        A Yes.
 10       Q Is it your understanding that that              10        Q Okay. Now, let's go to Frank
 11   was the proper procedure to be used with respect to   11   Deposition Exhibit 9. What is Frank Deposition
 12   rescinding the original forced leave and              12   Exhibit 9?
 13   reinstituting a new forced leave?                     13        A This is a letter from Comptroller
 14       A Yes.                                            14   stating that she would like to officially withdraw
 15       Q Reading further, it says, quote,                15   her request for forced leave for Mr. Garavaglia.
 16   (Quote as read):                                      16        Q And it's dated August 28, 2019. Is
 17            Then I told her she could send you a         17   that correct?
 18            letter requesting forced leave again,        18        A Yes.
 19            give him a copy, and tell him he is          19        Q And it looks like Mr. Garavaglia,
 20            being put on forced leave pending an         20   Judy Armstrong, Nancy Kistler were also copied on
 21            investigation.                               21   this letter from Comptroller Darlene Green. Is
 22            Is that a fair reading?                      22   that right?
 23       A Yes.                                            23        A Yes.
 24       Q And is that an accurate description             24        Q All right. Let's go to the next
 25   of what the proper procedure would be?                25   item, number 10. And what is this item number 10?



                                                                                         14 (Pages 53 to 56)
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                                                Page 57                                                   Page 59
  1         A This is a letter from Comptroller               1   improprieties to be ignored in the context of that
  2    notifying Mr. Garavaglia that he is being set for a    2   investigation?
  3    pre-termination review.                                3        A No.
  4         Q Okay. And --                                    4        Q Why not?
  5         A It says "hearing," pardon me, but               5        A Because they're still relevant to the
  6    actually it's a review.                                6   overall performance of the employee, you know, in
  7         Q Is the -- the nomenclature is review            7   his or her position and whether or not they, um,
  8    as opposed to hearing; correct?                        8   you know, are fit for continued service.
  9         A Yes.                                            9        Q Okay. And there are a listing of
 10         Q And it's dated August 28, 2019. Is             10   other charges on that page. Is that correct?
 11    that correct?                                         11        A Yes.
 12         A Yes.                                           12        Q The next page, there is a reference
 13         Q Now, it lists a number of bases for            13   to certain provisions of the City of St. Louis
 14    the pre-termination review. And the first one, let    14   Department of Personnel, Administrative and Joint
 15    me read that into the record because I have a few     15   Regulations, Employee Code of Conduct; you see
 16    questions to ask you about that.                      16   that?
 17            It says, quote, (Quote as read):              17        A Yes.
 18            You have improperly signed multiple           18        Q If we look at the next to last
 19            City contracts and contract                   19   paragraph, and I'll read that one into the record,
 20            extensions, including automatic               20   it says, quote, (Quote as read):
 21            extensions without legal                      21            The purpose of this pre-termination
 22            authorization to do so, putting the           22            hearing is to allow you the
 23            City at risk, dating back to 2019.            23            opportunity to respond to the
 24            Do you see that?                              24            charges, review any evidence against
 25            MS. HAMILTON: 2009.                           25            you, present any evidence you have on


                                               Page 58                                                    Page 60
  1         Q (BY MR. NORWOOD) I'm sorry, 2009.               1            your behalf, including any mitigating
  2         A Yes, I see that.                                2            circumstances that may be involved.
  3         Q Dating back to 2009; correct?                   3            Do you see that?
  4         A Yes.                                            4       A Yes.
  5         Q Now, if we unpack that, would the               5        Q And is that the purpose of that
  6    improper signing of multiple City contracts and        6   process, this pre-termination review?
  7    contract extensions, would that be a grounds for       7       A Yes.
  8    discipline?                                            8        Q And in this case, did Mr. Garavaglia
  9         A Yes.                                            9   have the opportunity to respond to the charges by
 10         Q Why?                                           10   way of this process?
 11         A That is a very serious charge under            11       A Yes.
 12    both the -- the Code of Ethics and it would be an     12        Q Do you know if he undertook that
 13    exception to progressive discipline under             13   opportunity?
 14    Administrative Regulation 117.                        14       A I can't recall.
 15         Q Okay. Does it matter that the --               15        Q Okay. Do you recall -- well, strike
 16    that any of the contracts that might be referenced    16   that.
 17    here date back to 2009?                               17            Do you know what ultimately happened
 18             MR. BLANKE: Well, let me object to           18   to Mr. Jim Garavaglia as it relates to his
 19    the form of the question as to whether it matters,    19   employment with the City of St. Louis?
 20    that --                                               20       A My belief is that he retired.
 21             MR. NORWOOD: Well, let me say -- let         21        Q All right. All right. And -- and
 22    me withdraw that question, let me withdraw that       22   we'll -- we have some documents and we'll talk
 23    question, and let me ask it another way.              23   about that in a minute.
 24         Q (BY MR. NORWOOD) If an investigation           24            And so as you sit here today you
 25    determines past improprieties, are those past         25   don't know if in fact he took advantage of the


                                                                                          15 (Pages 57 to 60)
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                                                Page 61                                                   Page 63
  1    opportunity to respond to the charges, as you sit      1           for the same reasons as set forth
  2    here today?                                            2           above, repeating this conduct for the
  3         A My recollection is I do not remember            3           third separate occasion,
  4    seeing a, you know, a summary of a pre-termination     4           necessitating Plaintiff multiple --
  5    review on Mr. Garavaglia.                              5           I'm sorry, Plaintiff filing multiple
  6         Q Okay. And as you sit here today, you            6           appeals to the Civil Service
  7    don't know if he took advantage of the opportunity     7           Commission.
  8    to review any evidence that might be presented         8           Do you see that?
  9    against him as it was delineated in the charges set    9       A Yes.
 10    forth in -- on page 1.                                10       Q And then paragraph number 17 says,
 11         A Yeah, I --                                     11   quote, (Quote as read):
 12             MR. BLANKE: Objection, asked and             12           The City's director of personnel
 13    answered, and leading.                                13           approved the forced leave each time,
 14             MS. HAMILTON: You can answer.                14           knowing that there was no supportable
 15         A I can't say with certainty. I don't            15           basis for each forced leave decision
 16    believe so, but I can't say with certainty.           16           and/or conspired with Defendant Green
 17         Q (BY MR. NORWOOD) Okay. And -- and              17           to discriminate against Plaintiff as
 18    at the pre-termination review, did Mr. Garavaglia     18           alleged herein.
 19    have the right to have counsel there?                 19           Do you see that?
 20         A Yes.                                           20       A I do.
 21         Q All right. Well, and -- and would              21       Q All right. Did you approve -- let's
 22    that have provided him and his counsel with an        22   focus on the first forced leave. July 2, 2019.
 23    opportunity to review that evidence and refute any    23   Did you approve the July 2, 2019, forced leave
 24    charges?                                              24   request with -- without any supportable basis?
 25             MR. BLANKE: Objection as to the form         25       A No, I did not.


                                               Page 62                                                    Page 64
  1   of the question regarding the use of the word           1        Q Did you approve the July 2, 2019,
  2   "would" rather than "should," whether it would or       2   forced leave request because you were in some
  3   not calls for speculation.                              3   conspiracy with Comptroller Green to discriminate
  4            MS. HAMILTON: You can answer.                  4   against Plaintiff?
  5        A Yes.                                             5           MR. BLANKE: Let me object, calls for
  6        Q (BY MR. NORWOOD) All right. I want               6   legal conclusions on the part of the witness.
  7   to backtrack a bit, and I hate to jump around, but      7           MS. HAMILTON: You can --
  8   let's take a look at tab 1. And while you're --         8        Q (BY MR. NORWOOD) Well, your
  9   and it's marked Frank Deposition Exhibit 1. And         9   understanding of conspiracy. Were you huddling up
 10   while folks are locating that tab, for the record,     10   with Comptroller Green in an effort to discriminate
 11   that exhibit, Frank Depo Exhibit 1, is a document      11   against Mr. Garavaglia based on race, sex, age?
 12   entitled Second Amended Complaint for Employment       12       A No.
 13   Discrimination filed by Mr. James Garavaglia           13           MR. BLANKE: Same objection.
 14   against the City of St. Louis and Darlene Green.       14           MR. NORWOOD: I'm sorry?
 15            Do you see that document?                     15           MR. BLANKE: Same objection.
 16        A Yes, I do.                                      16           MR. NORWOOD: And I just want to make
 17        Q All right. And let me direct your               17   sure the witness --
 18   attention to paragraph -- I'm sorry. Page 4. Do        18           MR. BLANKE: He said no.
 19   you have that page, sir?                               19           MR. NORWOOD: Well, I to make sure
 20        A I do.                                           20   she got that.
 21        Q Okay. And let me read some of the               21           THE WITNESS: I'll slow down.
 22   language. Let's start at paragraph 16.                 22           MR. NORWOOD: You can say what he
 23            It says, quote, (Quote as read):              23   said, but let's let him say it again.
 24            Defendant Green then withdrew                 24        Q (BY MR. NORWOOD) Could you answer
 25            Plaintiff's forced leave yet again            25   that one?



                                                                                           16 (Pages 61 to 64)
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                                               Page 65                                                    Page 67
  1        A No.                                              1   salary increase from where he was being
  2         Q What's your view of that allegation             2   compensated; is that right?
  3    directed to -- against you personally?                 3        A Yes. Or, with the proviso that he
  4            MR. BLANKE: Objection as to                    4   would also go to the minimum of the range. So this
  5    relevance.                                             5   was not the case I believe here, but sometimes
  6            MS. HAMILTON: You can answer.                  6   there is such a large gap between pay ranges that
  7        A I only have -- first I had only one              7   it might automatically result in a 7 percent, et
  8    conversation with Comptroller herself, as I said in    8   cetera.
  9    my original conversation with Judy Armstrong on the    9        Q Right.
 10    Saturday before I approved the forced leave. I did    10        A But -- but not -- not in this case to
 11    not speak with Comptroller. I only spoke to           11   the best of my recollection.
 12    Comptroller once and that was after this matter,      12        Q Okay. So he would have been entitled
 13    you know, had occurred about Mr. Garavaglia.          13   to a 5 percent salary increase; is that right?
 14            And secondly, in terms of conspiracy          14        A Yes.
 15    to discriminate, I only met Mr. Garavaglia perhaps    15        Q And because of that, why -- well,
 16    once. So I had very, very little knowledge of him     16   strike that.
 17    other than he was a nice guy.                         17            So why would Comptroller Green have
 18         Q (BY MR. NORWOOD) Well, and so did              18   to send this to you as it relates to his
 19    you have any reason to conspire against him based     19   compensation?
 20    on his age or sex or race or anything like that?      20            MR. BLANKE: Objection, asked and
 21        A No. I think we're sort of in the                21   answered.
 22    same group there.                                     22            MS. HAMILTON: You can answer.
 23         Q Got it. And for the record, what               23        A In our system, the compensation
 24    group is that?                                        24   ordinance is the legal document that determines how
 25        A I'm a white male who is 61 years of             25   we pay all of our civil service employees, and even


                                               Page 66                                                    Page 68
  1    age.                                                   1   excepted employees, and it gives discretion to the
  2         Q Okay. All right. Let's go to tab --             2   director of personnel alone to approve non-standard
  3    Exhibit tab 11, Frank Deposition Exhibit 11. Take      3   increases.
  4    your time, if you could, just take a look at the       4       Q (BY MR. NORWOOD) Okay. And -- and
  5    exhibit which, for the record, there are two pages,    5   the non-standard, if I'm understanding you, and you
  6    and it's Bates stamped STL000707 on the first page,    6   correct me if I'm wrong, the non-standard increases
  7    and the second page is STL000708, for the record.      7   would be the increases beyond the document that
  8             First of all, what is the first page          8   you've identified; is that correct?
  9    of Frank Depo Exhibit 11?                              9       A Yes, sir.
 10         A This is a letter from Comptroller              10       Q All right. And do you know why
 11    Green asking me to give a -- to approve, pursuant     11   Comptroller Green requested a 5 percent salary
 12    to the compensation ordinance, a non-standard         12   increase above what he would normally be entitled
 13    increase for Mr. Garavaglia upon his promotion to     13   to?
 14    Deputy Comptroller.                                   14       A My understanding was because he was
 15             The compensation ordinance provides          15   moving to such a high level --
 16    that a person receive a 5 percent normally upon       16           MR. BLANKE: Objection, it's
 17    promotion; although, the appointing authority can     17   non-responsive. The question was whether you know
 18    ask for approval from the director of personnel to    18   why.
 19    grant a higher, non-standard promotional increase     19           THE WITNESS: Whether I know why?
 20    in certain circumstances.                             20           MR. NORWOOD: Well, and he was
 21         Q Okay. Let's unpack that, if we                 21   answering whether he knew why.
 22    could.                                                22           MS. HAMILTON: You can -- you can
 23             In the normal course, based upon what        23   continue.
 24    you understood, him being promoted to deputy          24           MR. BLANKE: I might object to that
 25    Comptroller would have entitled him to a 5 percent    25   one.



                                                                                           17 (Pages 65 to 68)
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                                                           Page 69                                                 Page 71
  1            MS. HAMILTON: He's objecting. You                      1        Q All right. But all of that had to be
  2    can continue.                                                  2   approved by you.
  3        A My understanding was that --                             3        A Yes.
  4            MR. BLANKE: Objection,                                 4        Q All right. Let's go to the next page
  5    non-responsive. He's not us asking what your                   5   of that Frank Depo Exhibit 11 which is a letter --
  6    understanding was.                                             6   it appears to be a letter -- well, strike that.
  7            MS. HAMILTON: Your objection is                        7            What is that page of the exhibit?
  8    noted, Counsel. You can answer.                                8   For the record --
  9            MR. BLANKE: I understand. I just                       9            (Overtalking - inaudible.)
 10    wanted to object to it again.                                 10            MR. BLANKE: What page are we on?
 11        A My understanding from -- from the                       11            MR. NORWOOD: For the record --
 12    Comptroller's office was because he was moving to a           12            MR. SCHMITZ: You said "the next
 13    very high level position.                                     13   page." What page are you on?
 14         Q (BY MR. NORWOOD) Okay. And do you                      14            MS. HAMILTON: We're on 11.
 15    know if she was required to add another 5 percent?            15            MR. NORWOOD: The second page of
 16        A No.                                                     16   Exhibit 11 and the Bates stamp page number, for the
 17         Q Do you know why, if Comptroller Green                  17   record, is STL000708.
 18    was discriminating against him based on his race or           18            MR. BLANKE: So you're one back.
 19    sex or age, why she would recommend a 5 percent               19            MS. HAMILTON: No, you're on the
 20    increase over and above what he would normally be             20   correct page.
 21    entitled to?                                                  21            MR. BLANKE: Oh, okay, sorry.
 22            MR. BLANKE: Objection, not supported                  22        A This is my response, sir, to
 23    by the evidence, and calls for speculation.                   23   Comptroller Green approving her request for a
 24            MS. HAMILTON: You can answer.                         24   non-standard 10 -- approximately 10 percent
 25        A No.                                                     25   increase for Mr. Garavaglia upon his promotion to


                                                           Page 70                                                Page 72
  1       Q      (BY MR. NORWOOD) Let's go to the                     1   Deputy Comptroller.
  2   next page of Frank Deposition Exhibit 11. What is               2        Q (BY MR. NORWOOD) Okay. And for the
  3   that?                                                           3   record, the letter is dated June 6, 2016. Is that
  4       A      This is a letter to Comptroller Green                4   correct?
  5   from me saying that based upon her recommendation               5        A Yes.
  6   and in accordance with the compensation ordinance,              6        Q Okay. Let's read the second
  7   I am approving her request.                                     7   paragraph of that letter. And before we do that,
  8       Q      Okay. And just so that my record is                  8   it looks like it was CC'd to Terry -- who is that?
  9   -- our record is square, the first letter is dated              9   How do you pronounced that last name?
 10   May 20, 2016, from Darlene Green to you; is that               10        A Terry Dabrowski.
 11   correct?                                                       11        Q Dabrowski, okay. And who is Terry
 12       A      Yes.                                                12   Dabrowski?
 13       Q      All right. And is that when he was                  13        A She was the manager of the personnel
 14   promoted to Deputy Comptroller?                                14   services section of the Department of Personnel.
 15       A      Actually, the date I believe, sir,                  15   She's since passed away.
 16   says that his promotional date would be as of                  16        Q Okay. Second paragraph says quote,
 17   May 13, 2016.                                                  17   (Quote as read):
 18       Q      Okay. So -- so would that suggest                   18            Based on your recommendation, please
 19   then that he was actually promoted on May 13, 2016?            19            be advised that, in accordance with
 20       A      Yes. It would suggest that.                         20            Section 6(a)(1), I am hereby
 21       Q      All right. And the request, which                   21            approving your request.
 22   would have been made May 20, 2016, would have meant            22            Is that right?
 23   that his effective salary increase would start as              23        A Yes.
 24   of his promotion date. Is that right?                          24        Q And so you did approve the request;
 25       A      Yes.                                                25   right?


                                                                                                   18 (Pages 69 to 72)
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                                               Page 73                                                    Page 75
  1        A Yes.                                             1        Q (BY MR. NORWOOD) Okay. Mr. Frank, I
  2        Q All right. And then it goes further              2   believe you indicated that you wanted to clarify
  3   and says, quote, (Quote as read):                       3   the record about the call you had with Judy
  4           Therefore, upon Mr. Garavaglia's                4   Armstrong as it related to the first forced leave?
  5           appointment to the position of Deputy           5   You wanted to clarify something on that point?
  6           Comptroller, in parens it has                   6        A Yes, thank you. Um, I indicated
  7           (01488-21M-1).                                  7   that, um, that -- and I did not speak to the
  8           What is that number?                            8   Comptroller directly. I believe that Judy was the
  9        A That number refers to his actual                 9   only person that I -- I spoke to other than Chana,
 10   position and pay grade, the M meaning that he is a     10   who made the connection of -- of the phone for me.
 11   management person, the 1 meaning that he's excluded    11           So I thought -- I thought that they
 12   from overtime provisions of the FLSA.                  12   said Beth was on the line. I did not speak to her
 13        Q Okay. And continuing on, it says,               13   but I'm not sure. So I just wanted to be clear
 14   (Quote as read):                                       14   about that. I'm sorry.
 15           His salary shall be $4,867 biweekly            15        Q Okay. Thank you, sir, for clarifying
 16           (step 15), approximately 10 percent.           16   that.
 17           Is that correct?                               17            Who appointed you to your position as
 18        A Yes.                                            18   director of personnel for the City of St. Louis?
 19        Q What is step 15? What does that                 19        A Former Mayor Slay, Francis Slay.
 20   mean?                                                  20        Q Okay. Do you know if -- if Ms. Green
 21        A There are 30 steps in the current               21   had any role in that process?
 22   compensation ordinance. Each step is approximately     22        A No, she did not.
 23   1.5 percent higher than the next, and so in order      23        Q Have there been occasions where
 24   to make sure that the payroll office and the           24   personnel-related requests have come from the
 25   Comptroller's office, we set a salary correctly, we    25   Comptroller's office to your office that you


                                               Page 74                                                    Page 76
  1    put in the exact step and pay for their information    1   denied?
  2    when we make such approvals.                           2        A Yes.
  3         Q Okay. Did you have to approve this              3        Q What -- what type of -- obviously
  4    request?                                               4   without specifying the particular personnel, but
  5         A Pardon me?                                      5   what kind of requests do you recall --
  6         Q Did you have to approve this request?           6        A They were --
  7         A No, it's discretionary.                         7        Q -- denying coming from the
  8         Q Okay. And why did you approve this              8   Comptroller's office?
  9    request?                                               9        A I remember requests for non-standard
 10         A Based upon the recommendation of my            10   promotional increases. I remember requests for
 11    classification compensation section, as well as my    11   special performance increases, and I also remember
 12    personal review of his movement to such a high        12   requests for developing new job classes, and I
 13    level position, I felt it warranted a non-standard    13   remember requests for reclassifications. All of
 14    increase.                                             14   which, from time to time, I've denied.
 15         Q And his supervisor was recommending            15        Q And why -- without getting specific,
 16    it. Was that a factor as well?                        16   why did you deny those various requests from the
 17         A Absolutely.                                    17   Comptroller's office?
 18         Q Okay. Let's go to the next -- well,            18        A Because those requests did not have
 19    why don't we take a short break, if we could, if      19   merit based on my assessment and the
 20    that's okay?                                          20   recommendations of my classification and
 21             THE VIDEOGRAPHER: Time is 11:12 AM,          21   compensation unit.
 22    we are off the record.                                22        Q Okay. So if anyone were to suggest
 23             (Off the record.)                            23   that you were a rubber stamp for the Comptroller's
 24             THE VIDEOGRAPHER: The time is 11:41,         24   office, would there be any truth to that?
 25    we are back on the record.                            25        A None.



                                                                                          19 (Pages 73 to 76)
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                                          RICHARD R. FRANK 3/10/2022

                                                       Page 77                                                 Page 79
  1       Q    All right. Let's turn to Frank Depo                1   a service rating in which the employee is rated as
  2   Exhibit 12, if we could? What is Frank Depo                 2   overall unsuccessful, in which case they, you know,
  3   Exhibit 12? Well, strike that.                              3   do not receive that merit increase.
  4           For the record, Frank Deposition                    4         Q Okay. But where does the step part
  5   Exhibit 12 consists of multiple pages that are              5   fit into the mix?
  6   Bates stamped, the first is STL000698. The next             6         A The step increase just indicates that
  7   one is STL000689. The next one is STL000687. And            7   it's the normal annual increase. We have 30 steps
  8   the next one is STL000678.                                  8   in our system. Actually there are some more at the
  9           So let's start with the first page of               9   end now because of -- of our new pay study, but
 10   Frank Deposition Exhibit 12, which is the                  10   current compensation ordinance has 30 steps and
 11   STL000698. What is that document?                          11   each step is 1.5 percent.
 12       A    That's the Employee Status Form,                  12             So unless an employee were granted --
 13   and what this documents is the promotion of                13   the appointing authority asked me for a special
 14   Mr. Garavaglia to Deputy Comptroller with the              14   performance increase and it were granted, it would
 15   increase in salary.                                        15   just be called the step increase, which is 1.5
 16       Q    Is this 10 percent -- it says "Reason             16   percent.
 17   For Data Change," and in parentheses it says "(10          17         Q And that's the standard annual
 18   percent increase 'salary adjustment')."                    18   increase?
 19           Do you see that?                                   19         A It's -- it has been standard, except
 20       A    Yes.                                              20   the last few years it was 3 percent.
 21       Q    And that's -- is that salary                      21         Q Instead of the 1.5?
 22   adjustment the additional 5 percent on what he             22         A Yes.
 23   normally would have been entitled to?                      23         Q How long was it 1.5, do you recall?
 24       A    Yes.                                              24         A Oh, gosh. Maybe 2016, '17? I'm not
 25       Q    All right. Let's go to the next page              25   sure. We negotiated with the unions. We used to


                                                      Page 78                                                 Page 80
  1    of that exhibit which is STL000689. And that's a           1   have open ranges and they weren't working, so we
  2    similar form which is the form, just for the               2   negotiated 30 steps and each step had about a 1.5
  3    record, it says Employee Status Form. Is that the          3   percent in between them except the trades.
  4    form we were talking about?                                4           The trades, because they had an
  5         A Yes.                                                5   expanded range, received a larger one in step 30.
  6         Q And this particular Employee Status                 6   But for all other employees it was about 1.5
  7    Form is for Mr. Garavaglia. Is that correct?               7   percent, excluding police and fire that had
  8         A Yes.                                                8   separate, they have a separate type of -- of pay
  9         Q And it's dated 6/15/17. Is that                     9   matrix.
 10    right?                                                    10       Q Okay. And then let's go to the next
 11         A Yes.                                               11   page, which, for the record, is the Employee Status
 12         Q And do you know what the purpose of                12   Form and it looks like it was completed 6/20/18?
 13    this particular form was for?                             13       A Yes, sir.
 14         A Yes. This is to process the                        14       Q Is that right?
 15    employee's annual increase.                               15       A Yes, sir.
 16         Q Okay. And for the record, it says                  16       Q And is that for Mr. Garavaglia?
 17    "Reason For Data Change," it says "Merit," and then       17       A Yes, sir.
 18    in parentheses it has "(Step) increase."                  18       Q And does this reflect a "Merit (Step)
 19             Do you see that?                                 19   increase" as well?
 20         A Yes.                                               20       A Yes.
 21         Q And what does that mean?                           21       Q That would have been the standard 1.5
 22         A What that means, we are a merit                    22   percent increase?
 23    system, and so employees automatically would get          23       A Yes, I believe in 2018 it was still.
 24    their annual increase, which we call a merit              24       Q Yep.
 25    increase, unless their appointing authority submits       25       A Right.



                                                                                              20 (Pages 77 to 80)
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                                                        Page 81                                                Page 83
  1       Q    Let's go to the next page, STL000678.               1        Q -- "2019"?
  2   Do you see that?                                             2        A Yes.
  3       A    Yes.                                                3        Q And would that reflect, then, the
  4       Q    And is that an Employee Status Form                 4   date that he elected to take retirement?
  5   for Mr. Garavaglia?                                          5        A Yes.
  6       A    Yes, it is.                                         6        Q All right. And for the record,
  7       Q    And the "Reason For Data Change," it                7   August 30 of 2019 would have been two days after
  8   says "Retired effective 10/1/19." Is that correct?           8   the notice of pre-termination; do you recall the
  9       A    Yes.                                                9   letter dated August 28, 2019 --
 10       Q    All right. Let's turn to the next                  10        A I remember seeing it. I'd have to go
 11   document, which is Frank Depo Exhibit 13. And for           11   back to the --
 12   the record, it is a group exhibit which appears to          12        Q All right. Let's go back to that
 13   have consecutively numbered pages starting with             13   exhibit which is --
 14   STL001373 through STL001408.                                14        A Yes.
 15           I'm going to direct your attention to               15        Q -- Exhibit --
 16   -- it is five pages in, and the bottom is Bates             16        A 10.
 17   stamped page STL001377. Do you have that page in            17        Q -- 9 and 10 --
 18   front of you?                                               18        A Yes.
 19       A    I do. I do.                                        19        Q -- 10 being the termination notice?
 20       Q    Okay. What is that page?                           20        A Yes, I have it, sir.
 21       A    This is the page that is generated by              21        Q So it looks like two days after the
 22   the Board of Trustees of the Employees Retirement           22   pre-termination notice was, says "Hand-Delivered"
 23   System document and the Award of Pension Allowance.         23   to Mr. Garavaglia, he elected to retire. Is that
 24       Q    Maybe it'd be better to come back to               24   what it appears, based on these records?
 25   that page. Let's skip down to STL001405, if we              25        A Yes, it does.


                                                        Page 82                                                Page 84
  1    could. Do you have that page in front of you?               1        Q And it -- and a -- and going back to
  2         A Not yet. I'm -- I'm getting there,                   2   Exhibit 10, there was a pre-termination -- it says
  3    sorry.                                                      3   hearing but we talked about a different term, your
  4          Q Yeah, 1405.                                         4   term was review, was set for September 12, 2019, at
  5         A Is this it? I -- I think I got it.                   5   9 AM. Is that right?
  6    Thank you.                                                  6        A Yep.
  7          Q Okay. What is that page?                            7        Q Per Frank Depo Exhibit 10?
  8         A This is the elect -- the form which                  8        A Yes.
  9    is generated by the Employees Retirement office and         9        Q All right. So, and that was the
 10    it elects about -- it's the election of what type          10   opportunity for him to present evidence, have his
 11    of retirement you wish to take.                            11   lawyer present, et cetera. Is that right?
 12          Q Okay. And in this case, what does it               12        A Yes.
 13    show?                                                      13        Q All right. But instead, two days
 14         A It indicates that he was taking                     14   later he submitted retirement papers?
 15    normal retirement --                                       15        A Yes.
 16          Q "He" who?                                          16        Q Then let's go back to five pages into
 17         A Mr. Garavaglia.                                     17   Exhibit 13, which was the Award of Pension
 18          Q Thank you.                                         18   Allowance. Sorry to have you jumping around.
 19         A -- effective 10/1/19.                               19        A Oh, that's okay. I have it.
 20          Q And when did Mr. Garavaglia make that              20        Q Okay. And -- and who -- who submits
 21    request? In the middle of the document it says             21   this document?
 22    "Request made" --                                          22        A This document is submitted to the
 23         A It's --                                             23   Board of Trustees by Denise Droege, or whoever is
 24          Q -- "this 30th day of August" --                    24   occupying the position of manager of the Employees
 25         A "August."                                           25   Retirement System, who reports directly to the



                                                                                                21 (Pages 81 to 84)
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                                               Page 85                                                     Page 87
  1    director of personnel.                                 1   age, or sex?
  2         Q Okay. And so is this -- was this                2         A Yes.
  3    particular document, STL0001370 -- 1377 issued --      3         Q What is that process?
  4    triggered based upon the request to retire by          4         A It's covered under Administrative
  5    Mr. Garavaglia?                                        5   Regulation 51, which is -- pardon me. Pardon me.
  6         A Yes.                                            6   It's covered by -- I believe it's Administrative
  7         Q All right. And it talks about the               7   Regulation 103 which is the policy against Title
  8    "Date Request Filed" of "August 30, 2019." Is that     8   VII type of -- of violations, and it instructs the
  9    right?                                                 9   employee that they can either go to their diversity
 10         A Yes.                                           10   counselor in their own department, or they can go
 11         Q And it talks about -- well, what else          11   to their appointing authority, or they can come
 12    -- what else is included in here?                     12   directly to the employee relations section and
 13         A It talks about the person's credible           13   speak in confidence to, you know, a member of the
 14    years of service. It talks about the period of        14   department personnel staff.
 15    service, what their title is, their date of birth,    15         Q Okay. And that would be a
 16    what their, um, I think I said final average          16   confidential communication; is that right?
 17    compensation, and then it also includes what the      17         A Yes.
 18    anticipated final average -- I'm sorry, the pension   18         Q All right. Do you know if James
 19    allowance is, you know, prior to taxes.               19   Garavaglia ever pursued any claim of discrimination
 20         Q Okay. And let's go to STL0001407,              20   against Comptroller Darlene Green, or anyone else,
 21    which is second from the back. That makes it          21   based upon race, age, or sex discrimination
 22    easier to find.                                       22   allegations?
 23         A Okay. Yeah.                                    23         A I'm unaware myself of any.
 24         Q Are you there?                                 24         Q Okay. And while you were there, had
 25         A I am, thank you.                               25   you received anything along those lines?


                                               Page 86                                                    Page 88
  1        Q And for the record, it is a document             1        A No.
  2   that has a heading, Acknowledgment of Retirement        2        Q If there were such a thing, would you
  3   Pension Laws, Rules, Regulations and Policies.          3   have been made aware of it?
  4             Do you see that?                              4        A Possibly.
  5        A Yes.                                             5        Q Okay.
  6        Q What is that?                                    6        A It's -- I would say, you know, the
  7        A This is something that's a notice                7   person may just want to come in and explore their
  8   that is required to be signed by anyone who is          8   options with the employee relations section but not
  9   applying for retirement through the Employees           9   actually pursue something.
 10   Retirement System.                                     10        Q Okay.
 11        Q Okay. And for this particular                   11        A So in that case I wouldn't have been
 12   document, STL001407, is that signed and                12   informed necessarily.
 13   acknowledged by Mr. James Garavaglia?                  13        Q Well, what if that person who made
 14        A Yes, it is.                                     14   the allegation decided to pursue something? Would
 15        Q And is dated 8/30/19; is that right?            15   that come to your -- to your attention?
 16        A Yes. That's correct.                            16        A Yes.
 17        Q And that's him essentially                      17        Q All right. And to your knowledge,
 18   acknowledging the retirement pension laws, rules,      18   nothing from Mr. Garavaglia came to your attention
 19   regulations, and policies; is that right?              19   related to suggestions of discrimination based upon
 20        A Yes.                                            20   race, age, or sex. Is that correct?
 21        Q Okay. Is there a process in the                 21        A Correct.
 22   City, at least when you were there as director of      22           MS. HAMILTON: And you're referring
 23   personnel, is there a process by which a person can    23   to Administrative Regulation 103, the internal
 24   pursue a grievance if that person believes he or       24   process; correct?
 25   she has been discriminated against based upon race,    25           MR. NORWOOD: Yes. In terms of pro



                                                                                          22 (Pages 85 to 88)
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                                               Page 89                                                     Page 91
  1    -- procedures, whatever is set forth in that --        1   special interim rating that occurs if a person's
  2         A Correct.                                        2   performance dramatically increases or decreases
  3             MR. NORWOOD: -- administrative                3   during the annual period of time.
  4    regulation for discrimination allegations.             4         Q And who submits those ratings on
  5         A You're correct. I'm not referring to            5   behalf of an employee?
  6    any complaints with MCHR or EEOC.                      6        A The appointing authority.
  7         Q (BY MR. NORWOOD) Okay. We're                    7         Q Okay. Who actually performs the
  8    talking internal complaints.                           8   ratings for a particular employee?
  9         A Yes.                                            9        A The employee's supervisor typically
 10         Q All right. And if such a complaint             10   will do them, but they need to be signed off by the
 11    were made, how does that process go?                  11   appointing authority --
 12         A That complaint --                              12         Q By the appointing --
 13             MR. BLANKE: Let me object as to              13        A -- or -- or the appointing authority
 14    relevance, but go ahead.                              14   designee has the right to do that in many
 15             MS. HAMILTON: You can answer.                15   instances.
 16         A The employee relations section would           16         Q Okay. Do all supervisors provide
 17    -- the manager would, either herself or himself or    17   ratings for employees?
 18    one of the staff members, meet with the person and    18        A No, they do not.
 19    do a thorough investigation. And when I say           19         Q Is that fairly common in the City of
 20    thorough, it is. It's documented and then it is       20   St. Louis?
 21    presented to the director of personnel for his or     21        A Yes.
 22    her personal review and approval of the report, and   22            MR. BLANKE: I'm sorry, I was going
 23    then the findings are related both back to -- or      23   to object as to vagueness, because is what fairly
 24    back to both the appointing authority as well as      24   common? Doing it or not doing it? You said is it
 25    the employee.                                         25   fairly common.


                                               Page 90                                                    Page 92
  1          Q (BY MR. NORWOOD) And are there any             1             MR. NORWOOD: Fair enough.
  2    next steps beyond that, assuming there's a finding     2          Q (BY MR. NORWOOD) Is not submitting
  3    of discrimination?                                     3   an employee rating fairly common in the City?
  4          A If there's a finding of                        4         A Oh. Oh, yes.
  5    discrimination, then the employee relations section    5          Q And I believe you may have touched on
  6    typically would include suggested remedial steps to    6   this before, so, but if an employee is not rated,
  7    ameliorate the situation.                              7   does that mean they would automatically receive
  8          Q And to your knowledge, none of that            8   that step increase you talked about?
  9    happened as related to Mr. James Garavaglia; is        9         A If an employee is not rated, their
 10    that correct?                                         10   last rating on record in their file is the one that
 11          A That's correct.                               11   prevails. So if it was successful, or highly
 12          Q What is an employee rating?                   12   successful, then yes, they would -- they would
 13          A An employee rating is part of the             13   still receive that increase.
 14    larger City civil service employee rating process,    14          Q Okay. Did Mr. James Garavaglia ever
 15    it's approved by the Civil Service Commission, and    15   come to you and complain to you that he did not
 16    it's either an annual rating, which is done on        16   receive a rating as Deputy Comptroller?
 17    those dates we discussed before, which determines     17         A No.
 18    whether or not the employee is eligible for the       18          Q Did -- and we saw that, from the
 19    annual merit slash step increase, or there can be a   19   forms we looked at in '17 and '18, he received that
 20    probationary rating, which is their initial working   20   merit step increase those two years, '17 and '18?
 21    test period, one that typically occurs after six      21         A Yes.
 22    months, it can be extended by -- with the approval    22          Q Now, let's talk about part-time
 23    of the director of personnel an additional five       23   employment as it relates to retirees. How does
 24    months.                                               24   that work? When someone retires, how does one go
 25              And then lastly, there might be a           25   about working part-time with the City?



                                                                                          23 (Pages 89 to 92)
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                                                     Page 93                                                Page 95
  1       A    A person who wants to work part-time             1   prohibition.
  2   with -- with the City, who is retired, you know, is       2        Q And it's just a matter of filling out
  3   -- is eligible to request reemployment papers. And        3   an application and submitting that to personnel; is
  4   many employees do. And they have to complete those        4   that right?
  5   retirement -- or reemployment papers, and they are        5        A That's correct.
  6   then sent to the personnel services section of the        6            MR. NORWOOD: I think I may be done.
  7   Department of Personnel, and in the vast majority         7   Let me just take a moment here.
  8   of instances, you know, those -- those requests are       8            Okay. I think at this moment I am
  9   approved, provided, however, that the employee does       9   done. I don't know if other counsel have
 10   not have, you know, a -- a work history of               10   questions.
 11   documented, you know, repeat disciplinary problems,      11            MR. BLANKE: Oh, I have lots of
 12   et cetera.                                               12   questions, but can we eat?
 13       Q    Okay. In the case of Mr. James                  13            MR. NORWOOD: If the food's here. I
 14   Garavaglia, are you aware of him submitting any          14   mean, I don't have any control of that. So you're
 15   request to work part-time after his retirement from      15   saying you want to see if we can take a lunch
 16   the City of St. Louis?                                   16   break?
 17       A    I'm not personally aware, no.                   17            MR. BLANKE: If -- yeah.
 18       Q    Okay. Do you know if, in the case of            18            MR. NORWOOD: Could you check, Joy,
 19   Mr. James Garavaglia, whether or not, if he applied      19   just to -- just to see, and why don't we go off the
 20   for reemployment as a part-time employee following       20   record for a minute while we --
 21   retirement, whether or not he had to work for the        21            THE VIDEOGRAPHER: Time is 12:08, we
 22   Comptroller's office?                                    22   are off the record.
 23       A    I have no knowledge of that.                    23            (Off the record.)
 24       Q    Okay. Well, let me ask it this way.             24            THE VIDEOGRAPHER: The time is 1:05
 25   Do you know if there were other departments he           25   PM, we are back on the record.


                                                     Page 94                                                Page 96
  1    could have applied to work in other than the             1              EXAMINATION
  2    Comptroller's office?                                    2   QUESTIONS BY MR. BLANKE:
  3         A Yes.                                              3        Q So, Mr. Frank, my name is Richard
  4         Q Okay. And you talked about some                   4   Blanke, I represent the Plaintiff, Jim Garavaglia.
  5    thirty-some-odd departments within the City.             5   And if you don't understand any questions that I
  6    Correct?                                                 6   ask you, either because you didn't hear it or
  7         A Yes.                                              7   because you don't understand it, will you please
  8         Q So do you know if Mr. Garavaglia                  8   say that so I can try to rephrase it if I can?
  9    could have applied to work part-time for the City        9        A Yes.
 10    of St. Louis in a department other than the             10        Q Okay. Since the date your retirement
 11    Comptroller's office and actually worked in that        11   became effective -- which I think was January 1 of
 12    department?                                             12   2022?
 13         A Yes.                                             13        A Yes.
 14         Q Okay. Do you know if there was any               14        Q -- have you been doing any consulting
 15    prohibition against him doing that today?               15   work for the City, or any other kind of services
 16         A No.                                              16   for the City?
 17         Q Okay. Well, doing that at the time               17        A No.
 18    you retired, you were not aware any of prohibition      18        Q Do you plan to?
 19    against him applying and working part-time either       19        A No.
 20    at the Comptroller's office or some other               20        Q Okay. Um --
 21    department in the City. Correct?                        21           MR. NORWOOD: That was three pages --
 22         A No.                                              22           MR. BLANKE: What's that?
 23         Q Correct, meaning you're not aware any            23           MR. NORWOOD: No, I said that was
 24    of prohibition; is that right?                          24   three pages worth right there.
 25         A No. I'm not aware of any                         25           MR. BLANKE: True. Don't be too


                                                                                            24 (Pages 93 to 96)
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                                               Page 97                                                    Page 99
  1    encouraged.                                            1            There was another example in the
  2          Q (BY MR. BLANKE) Okay. Now, you --              2   police division where a person was charged with --
  3    you indicated on direct examination by Mr. Norwood     3   with an alcohol violation when they were driving,
  4    that once an employee is placed on forced leave,       4   and they were -- the forced leave was rescinded and
  5    they are usually removed or escorted off the           5   they were allowed to come back to desk duty but
  6    premises of the work site at the time they're          6   then IED uncovered other incidents that occurred
  7    notified of the forced leave, I believe is what you    7   during the investigation. And so the -- they
  8    said.                                                  8   requested forced leave for the employee again.
  9         A Yes.                                            9            Those are two that come to mind
 10          Q Okay. My first question, is that              10   immediately.
 11    always the case?                                      11        Q Okay. You also testified in direct
 12         A I couldn't testify to always because           12   that -- direct examination that if there are
 13    it could happen and I wouldn't be aware of it.        13   additional allegations unearthed by the
 14          Q The second question is, you know, my          14   investigation, that they should be and usually are
 15    understanding is, is that the appointing authority,   15   considered in the determination as to whether
 16    or the designee, makes a request to your office       16   forced leave would continue or be reinstated if it
 17    that -- for the forced leave, and then you approve    17   had been withdrawn earlier; correct?
 18    it, and that could be a day or two or something       18        A Yes.
 19    like that, and they have some time limit within       19        Q Okay. Is there -- is there any
 20    which to do that; right?                              20   limitations regarding the scope of what these
 21         A Yes, 72 hours.                                 21   additional allegations would be that would justify
 22          Q So the question is, do they get               22   reinstatement of a forced leave? Like the two
 23    removed from the premises after the decision is       23   examples you just gave.
 24    made by the appointing authority to put them on       24            I mean, the two examples you just
 25    forced leave, or after you approve the decision?      25   gave were when additional allegations unearthed


                                               Page 98                                                   Page 100
  1        A After the appointing authority makes             1   after the forced leave was withdrawn; correct?
  2    the decision to initially place them on forced         2        A Yes.
  3    leave.                                                 3        Q So, you know, if there were
  4        Q And that happens before you approve              4   additional allegations unearthed of misconduct or
  5    the decision?                                          5   alleged misconduct that occurred nine years earlier
  6        A Yes.                                             6   or thereabouts, would that justify a reinstatement
  7        Q Okay. You said that rescinding or                7   of forced leave alone?
  8    withdrawing a forced leave and then reinstating a      8        A It depends on the nature of the
  9    forced leave thereafter was unusual, but that you      9   violations.
 10    knew that it did occur on certain times --            10        Q Right.
 11        A Yes.                                            11        A You know, typically if it were a
 12        Q -- or has occurred; correct?                    12   violation that were something as simple as being 15
 13        A Yes.                                            13   minutes late to work on an attendance sheet,
 14        Q Okay. How unusual?                              14   perhaps not. But if it was a violation of sexual
 15        A I can only recall it happening --               15   harassment, yes. So it really depends on the
 16    happening a handful of times.                         16   nature of the prior allegations -- or I mean of the
 17        Q Okay. Do you remember those specific            17   prior incidents which led to additional violations.
 18    occasions?                                            18        Q And what about the length of time,
 19        A One was an occasion in the forestry             19   how far back it goes? Does that factor into it as
 20    department, I may have alluded to it, but when an     20   well, or no?
 21    employee originally made a -- a threatening remark    21        A It would, again, depending on --
 22    and was immediately returned because we didn't        22   there's no hard, fast rule about that, but one
 23    think that it felt -- it really met that the -- the   23   would have to exercise discretion depending on the
 24    threshold for forced leave, but then immediately      24   severity of the allegations.
 25    upon returning, made physical contact.                25        Q Okay. Now, here, with regard to



                                                                                        25 (Pages 97 to 100)
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                                                      Page 101                                               Page 103
  1   Mr. Garavaglia, when Comptroller Green withdrew her         1            Is -- is that how you know about it?
  2   first request for forced leave, she asked that              2        A I know about it through conversations
  3   forced leave be reinstated within days; correct?            3   with Deputy City Counselor Nancy Kistler who
  4         A   Yes, that's my recollection.                      4   informed me --
  5         Q    And there was no additional                      5            MS. HAMILTON: Objection --
  6   allegations brought to your attention at that time.         6        Q (BY MR. BLANKE) That's where you got
  7             MR. NORWOOD: Well, let me object                  7   to stop.
  8   because that assumes facts not in evidence.                 8            MS. HAMILTON: -- I'll stop you and
  9   Subject to that.                                            9   ask you not to go into a privileged conversation
 10         A   No, no additional allegations were               10   with counsel.
 11   made known to me.                                          11            THE WITNESS: Okay. Thank you.
 12         Q    (BY MR. BLANKE) Right.                          12        Q (BY MR. BLANKE) We'll get into this
 13         A   She was --                                       13   in a minute but -- in more detail, but just do you
 14         Q    That's all you can say.                         14   recall, before we get into it, that the original
 15         A   Yeah.                                            15   forced leave was withdrawn and reinstated a very
 16         Q    And then the second time, it was                16   short time before the hearing was scheduled?
 17   actually the very same day or the day after that           17        A No, I don't -- I don't recollect
 18   she reinstated the forced leave; is that correct?          18   that.
 19         A   That's correct.                                  19        Q Do you recall the second time that
 20         Q    And again, there are no additional              20   the forced leave was withdrawn, that it was
 21   allegations that came to you that occurred during          21   withdrawn one day -- or several days before the --
 22   that time period; is that correct?                         22   before the hearing was scheduled?
 23         A   Not to me as director of personnel,              23            MR. NORWOOD: Let me object in terms
 24   no.                                                        24   of vague and ambiguous with respect to "the
 25         Q    And why would -- why would it be                25   hearing."


                                                     Page 102                                                Page 104
  1    necessary to withdraw a forced leave request and           1            MR. BLANKE: The -- good -- good
  2    then file another one? Why couldn't it just be             2   objection. I'll rephrase the question.
  3    extended?                                                  3        Q (BY MR. BLANKE) Do you recall when
  4             MS. HAMILTON: And I would object                  4   the second forced leave request was withdrawn, that
  5    that that calls for speculation, but to the extent         5   that occurred within days of the scheduled hearing
  6    you can answer on behalf of Defendant Green, you           6   before the Civil Service Commission on the second
  7    may.                                                       7   forced leave?
  8             MR. NORWOOD: And let me also object               8        A I know that there was some proximity.
  9    because I think it's a compound question, but              9   I don't recall the direct amount of time -- or the
 10    subject to that.                                          10   actual amount of time in terms of days, no.
 11             MS. HAMILTON: And you're asking him              11        Q Do you recall even looking at that as
 12    what Defendant Green's opinion in this question?          12   a factor in deciding whether to approve it?
 13             MR. BLANKE: No. I'm just saying in               13        A No, because receiving -- or I mean,
 14    general.                                                  14   excuse me. Rescinding a forced leave request is
 15         A I was advised that it was done at the              15   not discretionary with the director, that's with
 16    recommendation of Deputy City Counselor Nancy             16   the appointing authority.
 17    Kistler is --                                             17        Q That answers a question I haven't
 18         Q (BY MR. BLANKE) And that's all --                  18   asked you yet but was going to.
 19    that's -- that's all you know about it? I mean is         19            So in terms of reinstating a forced
 20    that -- my question is this.                              20   leave request, you've already testified that there
 21             MS. HAMILTON: You can answer yes or              21   was no additional allegations brought to your
 22    no.                                                       22   attention. So why did you improve it?
 23         Q (BY MR. BLANKE) Is -- is that                      23            MR. NORWOOD: Did you say improve it
 24    enough? Apparently it was enough if -- strike all         24   or approve it?
 25    of that.                                                  25            MR. BLANKE: Approve it. I'm sorry.



                                                                                            26 (Pages 101 to 104)
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                                      RICHARD R. FRANK 3/10/2022

                                              Page 105                                                   Page 107
  1             MR. NORWOOD: Okay.                            1           MR. BLANKE: Well, let me object --
  2        A The original request for forced leave            2           MS. HAMILTON: Objection, calls for a
  3    lacked the specific language that was discussed        3   legal conclusion, and I'm going to direct the
  4    with me during the conversation with Judy              4   witness --
  5    Armstrong, which was the -- just a couple of words     5           MR. BLANKE: Well, he's --
  6    about serious financial issues which was presented     6           MS. HAMILTON: -- not to answer.
  7    to me. And so when it was asked to be rescinded        7           MR. BLANKE: Well, he's the one
  8    and reinstated, you know, with said language, you      8   that's used those words in his direct examination,
  9    know, I approved it.                                   9   that he thought it wasn't a property deprivation.
 10         Q (BY MR. BLANKE) On that basis alone?           10        Q (BY MR. BLANKE) Isn't that correct?
 11        A Yeah -- on the basis of that as well            11        A I was speaking of property
 12    as the original conversation I had with Judy          12   deprivation in terms of loss of income. Of -- you
 13    Armstrong.                                            13   know, of believing -- relying on -- on income. And
 14         Q I apologize for taking this out of             14   this person would have remained on active status on
 15    order but it's the way it came up. You indicated      15   the payroll during that period of time, having used
 16    that if a person is found -- if -- if the forced      16   vacation time or -- or compensatory time. There's
 17    leave is either withdrawn or the Civil Service        17   no provision to double pay an employee --
 18    Commission overrules it, that if vacation time had    18        Q I'm not talking about double paying
 19    not been used during the forced leave, that they      19   an employee.
 20    would be restored their lost pay. Is that correct?    20        A Well, vacation time is, and I don't
 21        A Yes.                                            21   mean to be argumentative, but vacation time and
 22         Q Okay. And if I understood you                  22   compensatory time are paid out upon retirement or
 23    correctly, if the vacation time was used during the   23   separation --
 24    forced leave, they would not be restored their        24        Q Oh.
 25    vacation time under the circumstance where they       25        A -- so it does have a monetary value


                                              Page 106                                                   Page 108
  1   either -- the forced leave is voluntarily withdrawn     1   and so it would, in an effect, amount to double
  2   by the appointing authority or the Civil Service        2   pay.
  3   Commission disapproves it?                              3        Q Well, that's assuming that he hadn't
  4        A They would not be restored unless the            4   used it before he retired. Isn't that correct?
  5   period of forced leave were greater than the time       5            MS. HAMILTON: Objection, vague.
  6   that they had used. Again, if the forced leave          6            MR. NORWOOD: Join.
  7   period was, for example, for three weeks and they       7        Q (BY MR. BLANKE) That's assuming that
  8   had elected to use time, accrued time for two           8   the vacation time would not have been used before
  9   weeks, they have been paid for two weeks and -- and     9   his separation from employment. If he had used
 10   there's -- we would not be able to double pay an       10   that -- that vacation time, that, you know, isn't
 11   employee --                                            11   restored to him, but if it was restored to him and
 12        Q Right, so my question is --                     12   he had used it, then it would never -- then -- then
 13        A -- so it would only be for that one             13   he -- then he -- he wouldn't be getting that upon
 14   week.                                                  14   separation from employment; correct?
 15        Q But my question is different.                   15            MS. HAMILTON: Objection, vague and
 16        A Then I don't understand. I'm sorry.             16   confusing and compound.
 17        Q My question is whether or not the               17            MR. NORWOOD: And calls for a bunch
 18   vacation time would be restored. Not whether they      18   of speculation.
 19   would be paid twice, but that the vacation time        19            MS. HAMILTON: To the extent that you
 20   they used, that they didn't have to use if they        20   understood the question, you may answer.
 21   were never placed on forced leave --                   21        A The only thing I can say to that is
 22        A No. It would not be restored.                   22   while I understand your position or -- or the
 23        Q Okay. Why isn't that, in your                   23   argument that an employee, you know, could be
 24   opinion, a deprivation of a property right?            24   disadvantaged by being forced to use vacation or
 25                                                          25   compensatory time in order to remaining in pay



                                                                                       27 (Pages 105 to 108)
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                                              Page 109                                                            Page 111
  1    status during forced leave, you know, that -- this    1   that she would. I don't know if she came through
  2    policy, you know, was written in conjunction with     2   or not, she did not speak, but I thought that -- I
  3    our law department, to whom I defer, and was also     3   thought I heard another name, but I'm -- I'm not
  4    found to be lawful by the Court of Appeals.           4   sure if it was Beth or Beverly or I might be
  5         Q (BY MR. BLANKE) Okay. So you're                5   mistaken.
  6    just testifying, then, about your understanding of    6        Q Okay. Fair enough. Now, you
  7    the law.                                              7   indicated that -- I thought you said that in that
  8         A Yes.                                           8   conversation with Judy Armstrong, that she informed
  9         Q Okay. You also made a comment that             9   you -- I'm talking about the phone call. The oral
 10    -- maybe I'm not familiar with this, but is it       10   phone call on a Saturday. Okay?
 11    possible for the appointing authority to request a   11        A Yes.
 12    forced leave with pay?                               12        Q That she informed you that
 13         A No.                                           13   Mr. Garavaglia was being accused of serious fiscal
 14         Q Okay. I misunderstood. Okay. All              14   issues.
 15    forced leaves are without pay unless they take       15        A Yes.
 16    their vacation time.                                 16        Q Can you be more specific than that?
 17         A That's correct.                               17   What -- what -- did she identify what she was
 18         Q Okay. Now, you said that it was some          18   talking about?
 19    Saturday at 1:30 prior to the first forced leave     19        A No, she did not.
 20    request, that you received in writing?               20        Q And that was enough for you?
 21         A Correct.                                      21        A It was enough because she said that
 22         Q That you had a discussion with Judy           22   they were serious enough that they were bringing
 23    Armstrong --                                         23   them to the attention of the state auditors.
 24         A Yes.                                          24        Q Let me go back, I -- I hate -- sorry
 25         Q -- on the phone. Correct?                     25   about jumping around.


                                              Page 110                                                         Page 112
  1       A Yes, I'm sorry.                                  1       A    That's okay.
  2        Q Okay. And you thought that perhaps              2       Q    But you said that they -- they can --
  3   Beth Seright may have been on the phone because        3   the appointing authority or -- can -- can -- or the
  4   somebody told you that might have been the case, or    4   department head, can remove somebody when they're
  5   something like that. Right?                            5   placed on forced leave before you approve the
  6       A I believe, yes. I believe that to be             6   forced leave. Is that correct?
  7   true.                                                  7       A    Yeah. Yes.
  8        Q Is it possible you misunderstood the            8       Q    How is that -- what's the purpose of
  9   name and it was Beverly Fitzsimmons they told you      9   your approval?
 10   was on the phone?                                     10       A    The approval is to make sure that
 11       A I don't recall that.                            11   there's a short duration of time before the
 12        Q I mean, Beth Seright was an                    12   department personnel, as an objective reviewer, can
 13   administrative assistant at that time; right?         13   determine whether or not the forced leave were
 14       A Right.                                          14   appropriate. You know, there's weekends, there's
 15        Q And Beverly was -- was the other               15   holidays, and so there's a 72 period -- or a 72
 16   deputy; correct?                                      16   hour time period when they have to get that in to
 17       A I -- I don't recall that. The                   17   me, you know, in writing, and I conduct my review.
 18   Comptroller regularly used Chana Morton to connect    18           So, you know, that's the purpose,
 19   her phone calls, and so I believe that Chana, to      19   but, you know, if you had an employee, for
 20   the best of my recollection, Chana was the person     20   instance, who's got a gun at work, and that's
 21   who put the call through. I spoke only with Judy      21   happened --
 22   Armstrong but I wasn't clear from Judy if             22       Q    Right.
 23   Comptroller were, you know, going to participate on   23       A    -- you have them removed immediately.
 24   the phone call or not.                                24   You're not going to --
 25          And I think the suggestion was is              25       Q    No.



                                                                                           28 (Pages 109 to 112)
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                                              RICHARD R. FRANK 3/10/2022

                                                      Page 113                                                Page 115
  1         A -- wait for Mr. Frank or his                        1   trash, we have people who are in the parks, et
  2   designate, you know, to be able to prove that.              2   cetera, where they might not be able to have access
  3         Q Now -- now, you've seen occasions                   3   to their department director and they need to make
  4   where -- or you have had occasions where you have           4   an immediate decision in order to avoid a
  5   disapproved a requested forced leave, you                   5   potentially very bad situation.
  6   testified?                                                  6        Q Did Linda Thomas ever tell you that
  7         A Yes.                                                7   she had multiple conversations with Judy Armstrong
  8         Q Okay. Um, so in such a situation,                   8   about Mr. Garavaglia's forced leaves?
  9   and I'm not talking about Mr. Garavaglia here but           9        A No.
 10   just in general, in -- in such a situation where           10        Q Did she ever tell -- did Linda Thomas
 11   somebody's removed from the premises prior to your         11   ever tell you anything about any discussions she
 12   approval of the forced leave, because of the forced        12   had with Miss Armstrong about the forced leaves?
 13   leave, and then you disapprove of the forced leave,        13        A Not with Miss Armstrong, no.
 14   I guess the appointing authority has to be deemed          14        Q What about any conversations Linda
 15   responsible for that removal; isn't that correct?          15   Thomas had with Comptroller Green --
 16            MR. NORWOOD: Let me object, because               16        A Yes.
 17   it's vague and ambiguous --                                17        Q -- about the forced leaves?
 18         Q (BY MR. BLANKE) I mean, who's the --               18            And how many of those conversations
 19            MR. NORWOOD: Let me finish.                       19   do you recall with -- between you and Miss -- and
 20            MR. BLANKE: Let me withdraw the                   20   Miss Thomas?
 21   question.                                                  21        A Oh, between myself and Miss Thomas?
 22            MR. NORWOOD: I'm sorry?                           22        Q Yeah, about conversations that Miss
 23            MR. BLANKE: I will withdraw the                   23   Thomas had with Defendant Green.
 24   question.                                                  24        A Perhaps two or three.
 25         Q (BY MR. BLANKE) In that                            25        Q Okay. And what -- what do you recall


                                                      Page 114                                                Page 116
  1   circumstances, it is the appointing authority who           1   the substance of those communications were about?
  2   would make the sole -- who would be making the sole         2        A The substance was Linda was always
  3   decision to remove that employee. Is that correct?          3   very good about notifying me of any conversation
  4       A    The employ --                                      4   she had with elected officials or Board of Aldermen
  5           MR. NORWOOD: Let me object -- let me                5   or appointing authorities with a serious
  6   object because that assumes a bunch of facts that           6   disciplinary matter and she just wanted to inform
  7   are not in evidence and it also mischaracterizes            7   me that Comptroller had contacted her to ask her
  8   what he's already testified to. Subject to that,            8   for a clarification on forced leave under
  9   and subject to counsel's instruction.                       9   Administrative Regulation 117.
 10           MS. HAMILTON: You can answer.                      10        Q Was that before or after the phone
 11      A There -- there's different levels of                  11   call on -- on Saturday at 1:30?
 12   appointing authorities. We have department heads,          12        A After.
 13   such as Sheena, who report directly to, you know,          13        Q Was that before or after you approved
 14   the Mayor.                                                 14   the first forced leave?
 15       Q    (BY MR. BLANKE) Right.                            15        A I orally supported the forced leave
 16       A    And then there are also lower levels              16   on Saturday, and I approved the forced leave on
 17   of appointing authorities or designates. For               17   Monday. So I'm not sure of the exact timing of her
 18   instance, you know, maybe like a division person.          18   conversation, just that she did in fact --
 19   And so those division -- those division people             19        Q So you think it's possible you may
 20   could be appointing authorities, but might very            20   have talked to Miss Thomas, before your approval on
 21   likely, and I would expect them to consult with            21   Monday, about her conversations with Defendant
 22   their department head before they made a decision          22   Green?
 23   about forced leave, if it's possible.                      23        A I'm not sure.
 24           But we have a lot of field workers in              24        Q Okay.
 25   the City, we have people, you know, collecting             25        A I don't recollect, I'm sorry.



                                                                                             29 (Pages 113 to 116)
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                                                         Page 117                                                Page 119
  1        Q      Okay. You don't recall, you don't                  1   there's no evidence to corroborate that, nothing to
  2    recall.                                                       2   suggest that, but then that resurfaces eight years
  3             The pre-termination letters. Letter,                 3   later, and you start -- you're seeing a pattern.
  4    in this case. Do you approve those?                           4            So again, I think you have to look,
  5         A No.                                                    5   as difficult as it can be, you have to look at the
  6         Q Okay. So do you even see them before                   6   individual circumstances of what the allegation
  7    they go out?                                                  7   was, you know, and what the finding was at that
  8         A No.                                                    8   time, and, you know, the recency, and does it
  9         Q Okay. So you have no role in that.                     9   connect with the current allegation, et cetera.
 10         A No.                                                   10            So you have to look at it in terms of
 11         Q Okay. But if, after the                               11   the totality, and that's what I would advise. And
 12    pre-termination review is held, and the appointing           12   I think that that's why it's important.
 13    authority or department head wants to impose                 13            I will say that I don't always rely
 14    disciplinary action against the employee, you have           14   solely on my own judgment either. I work very
 15    to approve that?                                             15   closely with, you know, the highest members of our
 16         A Myself or my designated --                            16   law department as well to make sure that my
 17         Q Yeah.                                                 17   judgment, carrying the weight that it does, is
 18         A -- the director of personnel or his                   18   appropriate. And that's what I did in this
 19    or her designee does have to approve that. I                 19   instance.
 20    continued throughout my tenure to review personally          20         Q (BY MR. BLANKE) I -- I thought you
 21    all police discipline, but that responsibility was           21   said that the -- I don't remember if you said it
 22    delegated to my deputy director, whom I believe at           22   was an ordinance or the charter, that gives you the
 23    the time, I'm sure, was -- was Kathleen Tanner.              23   discretion to approve or disapprove a forced leave?
 24         Q I'm jumping around again, for which I                 24        A Actually, it's the administrative
 25    sincerely apologize, but.                                    25   regulation that gives me --


                                                         Page 118                                               Page 120
  1        A     Mm-hmm.                                             1        Q 117?
  2        Q      Going back to this idea of unearthing              2        A Yes, it does, but there are other --
  3   additional allegations which might justify a                   3   I would say that there are other things that are
  4   reinstatement of a previously withdrawn forced                 4   discretionary. Such as granting Mr. Garavaglia an
  5   leave; okay? This -- my question is, what if the               5   increase in salary. I don't rely just on my own
  6   allegations that are unearthed in the investigation            6   discretion. I have the classification and
  7   were remote -- were -- were in the past, before the            7   compensation section review it.
  8   forced leave was ever requested; okay? Number one.             8           Similarly, if it's an employee
  9              And number two, the department head                 9   grievance matter, I have service rating appeal
 10   knew about them. That these are not new                       10   boards and grievance boards, et cetera, that make a
 11   allegations. That the department head knew all                11   recommendation to me.
 12   about it before the investigation. Would that                 12           So I try and gather as much available
 13   justify the reinstatement of a forced leave?                  13   information as I can. You know, we have competent
 14              MR. NORWOOD: Well, let me object                   14   professionals that specialize within that.
 15   because I think it calls for speculation, improper            15        Q But these examples you just gave are
 16   hypothetical, and a legal conclusion. Subject to              16   all people working within your department, within
 17   all of that, and subject to counsel.                          17   the Department of Personnel. Correct?
 18              MS. HAMILTON: I was going to say,                  18        A Yes, but I have legal counsel. I'm
 19   object that it's compound.                                    19   represented by the City Counselor.
 20              MR. NORWOOD: I join in that part as                20        Q So how often do you seek legal
 21   well.                                                         21   opinions from your legal counsel, the City
 22        A     I would say it has to, again, be on a              22   Counselor's office --
 23   case-by-case basis. You may have an allegation,               23           MR. BLANKE: Well --
 24   for instance, that let's say, as director, somebody           24        Q (BY MR. BLANKE) -- before you put
 25   alleged that I inappropriately touched them. And              25   somebody on forced leave?



                                                                                               30 (Pages 117 to 120)
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                                               Page 121                                                  Page 123
  1             MR. NORWOOD: Well, let me object,             1   separate engagement letter with Mr. Frank. But you
  2    because there's no time reference.                     2   have asked him here to testify as to his duties
  3             MR. BLANKE: Well, just in --                  3   when he was director of personnel.
  4             MS. HAMILTON: I'll just object to             4            MR. BLANKE: All right. Let's cut to
  5    the relevance of the question in that it seems to      5   the chase. Are you instructing him --
  6    be skirting on getting into privileged information.    6            MS. HAMILTON: And he --
  7             MR. BLANKE: Well --                           7            MR. BLANKE: -- not to answer the
  8             MR. NORWOOD: I join in that                   8   question?
  9    objection.                                             9            MS. HAMILTON: Yes, about how often
 10             MR. BLANKE: -- my question stands.           10   you consult your counsel, you do not have to answer
 11             THE WITNESS: May I answer it?                11   that question.
 12         Q (BY MR. BLANKE) Is it -- let --                12         Q (BY MR. BLANKE) Okay, and I'm asking
 13             MS. HAMILTON: I don't think you need         13   you to answer the question. She's telling you that
 14    to answer the question.                               14   she represents you and you shouldn't answer the
 15         Q (BY MR. BLANKE) -- I'll -- I'll just           15   question, so what are you going to do? I mean,
 16    add it, you -- you don't need to, but she doesn't     16   it's your choice.
 17    represent you. Okay? So it's your choice.             17         A I feel that my discussions with my
 18             MS. HAMILTON: And why are you saying         18   legal counsel are privileged. I'm not an attorney,
 19    he doesn't -- I don't represent him?                  19   but I believe --
 20             MR. BLANKE: Well, do you?                    20         Q Right.
 21             MS. HAMILTON: I'm representing the           21         A -- they're privileged, and I have
 22    City of St. Louis. He's --                            22   ongoing consultation and have had ongoing
 23             (Overtalking - inaudible.)                   23   consultation in my role as former director of
 24             MR. BLANKE: Well, he's -- he's not           24   personnel with upcoming lawsuits. So I decline.
 25    an employee -- he's not an employ -- he's not an      25         Q Right, and -- and let's be clear.


                                               Page 122                                                  Page 124
  1    employee of the City of St. Louis. What are you        1   I'm not asking you about the substance of any --
  2    talking about?                                         2            MS. HAMILTON: He was -- just -- just
  3            MS. HAMILTON: He is a -- you're                3   so that we're clear --
  4    asking him here to testify as Director of -- as his    4        A I decline.
  5    work as the director of personnel; correct?            5            MS. HAMILTON: -- he was finishing
  6            MR. BLANKE: No. We're asking --                6   his answer and he was going to say that he
  7            MS. HAMILTON: Every question you've            7   declines.
  8    asked him about has been about his duties as the       8            MR. BLANKE: Oh, I'm sorry. I'm
  9    director of personnel. So I'm very confused --         9   sorry. Oh.
 10            MR. BLANKE: No. No. We're asking              10        A Yeah. I decline to answer that.
 11    him about his -- his -- his -- his duties as a        11         Q (BY MR. BLANKE) Okay. Well, let me
 12    former director of personnel.                         12   -- let me -- you decline to answer the question. I
 13            MS. HAMILTON: Okay.                           13   think you did, though, but let me ask. To be
 14            MR. BLANKE: Not as the director of            14   clear, I'm not asking you about the substance of
 15    personnel. He's not a City employee --                15   any communications you had with any lawyer, much
 16            (Overtalking - inaudible.)                    16   less the City Counselor's office.
 17            MS. HAMILTON: -- and I object on              17            I'm simply asking you whether or not
 18    behalf of the City of St. Louis --                    18   you consulted them at all with regard to your
 19            MR. BLANKE: -- and you do not                 19   forced leave decisions, and if that -- if so, how
 20    represent him. Do you?                                20   common of a practice was that?
 21            MS. HAMILTON: Absolutely.                     21            MS. HAMILTON: And as to the first
 22            MR. BLANKE: I mean, you -- so you             22   question -- you know, because this is a compound
 23    have a separate re -- you have a separate             23   one again. As to the first question of has he
 24    engagement letter with Mr. Frank?                     24   ever, I think he's testified to that already, so
 25            MS. HAMILTON: No, I don't have a              25   I'm going to --



                                                                                         31 (Pages 121 to 124)
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                                              Page 125                                                   Page 127
  1             MR. BLANKE: Right.                            1            The City's -- City's Director of
  2             MS. HAMILTON: -- object that it's             2            Personnel approved the forced leave
  3    asked and answered.                                    3            each time knowing that there was
  4             MR. BLANKE: Right.                            4            no --
  5             MS. HAMILTON: As to the frequency             5            MS. HAMILTON: Where are you, sir?
  6    with which he does so, again, I think you're           6            MR. BLANKE: This is Paragraph 17 of
  7    skirting on attorney-client privilege, and I'll        7   the Complaint --
  8    instruct the witness not to answer.                    8            MR. NORWOOD: Page --
  9             MR. BLANKE: So you're now agreeing            9            MR. BLANKE: -- on page 4 of Exhibit
 10    that he did answer the question that he said he       10   1. Just take a look at that.
 11    didn't answer.                                        11        Q (BY MR. BLANKE) Here's my question.
 12             MS. HAMILTON: No, your question that         12   When is the first time you learned that that
 13    I objected to was how frequently do you --            13   allegation was made?
 14             MR. BLANKE: Right.                           14        A At the time that I received a copy of
 15             MS. HAMILTON: -- take advice from            15   this exhibit.
 16    counsel --                                            16        Q And when was that?
 17             MR. BLANKE: That's the second part.          17        A I don't remember. I don't remember
 18             MS. HAMILTON: -- regarding forced            18   at the time. I remember that -- that Mr.
 19    leave. Yeah.                                          19   Garavaglia retired in the fall of 2019, but I'm not
 20             MR. BLANKE: That's --                        20   sure of when this wound its way up to court.
 21             MS. HAMILTON: And that's the                 21        Q So this would have been before you
 22    question I objected to.                               22   found out you were going to be deposed in this
 23             MR. BLANKE: Okay.                            23   case?
 24             MS. HAMILTON: I did not object to            24        A Yes.
 25    the first.                                            25        Q Okay. How did you prepare for this


                                              Page 126                                                   Page 128
  1         Q (BY MR. BLANKE) So how frequently do            1   deposition?
  2    you seek City Counselor advice with regard to          2        A The only way that I prepared for this
  3    whether you should approve a forced leave or not?      3   deposition was through two discussions with my --
  4             MS. HAMILTON: Same objection, and             4   with legal counsel.
  5    same recommendation.                                   5        Q Did you have any discussions prior to
  6             MR. NORWOOD: And let me object in             6   this deposition with Mr. Norwood?
  7    terms of no time reference, because he's no longer     7        A Yes.
  8    director of personnel today.                           8        Q What about?
  9         Q (BY MR. BLANKE) Well, I had a time              9        A About this case.
 10    reference. I'm talking about during the time you      10        Q What about more specifically? What
 11    were the director of personnel.                       11   about the case?
 12             MS. HAMILTON: Same objection; same           12        A Just about preparing for the
 13    instruction.                                          13   deposition.
 14         A I would still say that, yes, I have            14        Q Did you go over in detail any of the
 15    consulted on -- on matters of forced leave with the   15   exhibits used in his direct examination, with him?
 16    City Counselor and I decline to go into any more      16        A Just -- just a few of them.
 17    specifics than that.                                  17           MS. HAMILTON: You can answer.
 18         Q (BY MR. BLANKE) Mr. Frank, you -- I            18        A Just a few of them. We did not go
 19    don't know if you read it or Mr. Norwood read it to   19   over this. We went over, um, we went over the --
 20    you, that paragraph 17 of the Complaint where --      20   my discussion in -- with Judy Armstrong, and we
 21    where -- let's see if I can find it.                  21   discussed the forced leave letters, and we
 22             MR. NORWOOD: Tab 1.                          22   discussed -- we discussed the, yeah. The -- the
 23             MR. BLANKE: Thank you.                       23   general timing of that.
 24             MR. NORWOOD: Page 4.                         24        Q (BY MR. BLANKE) Altogether, do you
 25         Q (BY MR. BLANKE) (Quote as read):               25   have any estimate -- can you give me an estimate of



                                                                                       32 (Pages 125 to 128)
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                                                     Page 129                                                Page 131
  1   how much time you spent with Mr. Norwood preparing         1   about the substance of those allegations in the
  2   for this deposition?                                       2   pre-termination letter?
  3           MR. NORWOOD: Let me object because                 3        A Not substance, no.
  4   you didn't -- well, I'll withdraw the objection.           4        Q Okay. Did you ever discuss with
  5       A    An hour the first time, and perhaps               5   Comptroller Green or Judy Armstrong any of the
  6   an hour and 50 minutes the second time.                    6   substance of the allegations that ended up in the
  7       Q      (BY MR. BLANKE) Was Darlene Green               7   pre-termination letter?
  8   present?                                                   8        A No.
  9       A    No.                                               9        Q You indicated that the pay ordinance
 10       Q      Have you discussed this matter with            10   in the City of St. Louis provides for a 5 percent,
 11   -- have you discussed this lawsuit with Comptroller       11   what's it called, a step increase? A merit step
 12   Green since you found out about it?                       12   increase?
 13       A    This lawsuit, one time.                          13        A Yeah, a 5 percent salary adjustment.
 14       Q      When was that?                                 14        Q Per grade?
 15       A    Sometime during 2021.                            15        A Any time there's a promotion or
 16       Q      What was that discussion about?                16   reclassification upward, a person is entitled to a
 17       A    The discussion was just her concern              17   minimum of 5 percent of their current salary. It's
 18   about the audit findings, what the auditors might         18   maxed out, however, at 20 percent.
 19   -- might find and what they would report about the        19        Q Because the grade has a -- a minimum
 20   allegations that she had made against Mr. --              20   and a maximum, there's -- it's not just a -- an
 21       Q      Oh, I'm sorry. So you're talking               21   amount. It's -- it's a -- it's a range of pay.
 22   about before he retired.                                  22   Right?
 23       A    Yes.                                             23        A That is true, except the last four
 24       Q      I'm sorry. I meant after he retired.           24   years, at least, as director, I had removed the top
 25       A    Oh. You -- I'm confused.                         25   of the range because we knew our salaries were not


                                                     Page 130                                               Page 132
  1         Q Let me -- let me ask a different                   1   competitive. And until we completed our slowed
  2    question.                                                 2   down City-wide compensation study, slowed down
  3         A Yeah, I'm confused, I'm sorry.                     3   because of COVID, we wanted -- I consulted with,
  4         Q Yeah, I -- I -- it's my fault.                     4   you know, Mayor Jones and also with -- with Mayor
  5             Did you have any discussions with                5   Krewson and we had agreed that we thought it best
  6    Comptroller Green after you found out about this          6   to allow employees to go beyond the top of the pay
  7    lawsuit, about the lawsuit?                               7   grades so that they could continue to receive
  8         A I did have one discussion.                         8   well-deserved increases.
  9         Q When was that?                                     9        Q Okay. So -- so the 5 percent is a
 10         A I don't remember. It was before I                 10   minimum, and it can be larger than that if -- if
 11    retired. Sometime during -- I think sometime             11   the difference between the two grades, you know,
 12    during 2021.                                             12   one's at the bottom, one's at the top. Something
 13         Q And what -- and what specifically did             13   like that; right?
 14    you discuss with her at that time?                       14        A That's true, or if it's requested by
 15         A Her concerns about what the state                 15   the appointing authority and I approve it.
 16    auditors would report about financial problems, and      16        Q Right. But I'm talking about the
 17    I believe that she mentioned there were problems         17   automatic merit step increase.
 18    with corrections, but that's all. I didn't go into       18        A Correct.
 19    any great detail.                                        19        Q Yeah.
 20             I did read the -- and that was the              20        A For instance, if you had a
 21    other document, pardon me, that I did go through         21   receptionist who went to administrative assistant,
 22    with -- with counsel was the pre-termination             22   there may be a 10 percent jump between where that
 23    letter, which I had not seen until after it was          23   person's at and where the start of the new pay
 24    delivered to Mr. Garavaglia.                             24   range is, so it could result in a higher grade.
 25         Q Okay. Did you go into a discussion                25        Q Okay. So also if -- if somebody,



                                                                                          33 (Pages 129 to 132)
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                                              Page 133                                                    Page 135
  1    let's say, was a -- I'm just going to make             1   that now --
  2    something up -- a -- a grade 10. I don't even know     2            MS. HAMILTON: Just -- I just was
  3    what that means. But, you know, they were a grade      3   saying, you keep saying "step increase," he keeps
  4    10, and they were being promoted to -- to a grade      4   saying "salary adjustment." You keep going back to
  5    12, okay, would that be, you know, a minimum 5         5   the wrong phrase. Um -- you see?
  6    percent, or a minimum 10 percent step increase?        6         Q (BY MR. BLANKE) Well, the salary
  7         A Your -- that would be a minimum of 5            7   adjustment is -- is called a "Merit (Step)
  8    percent, because the difference between the grades     8   increase," is it not?
  9    isn't that great. That would more than likely be a     9         A Yes. That's only because, again,
 10    grade 5 -- or excuse me, a promotion of 5 percent,    10   it's a salary adjustment based on a promotion,
 11    again, unless it were requested by the appointing     11   demotion, can be reduction in pay for disciplinary
 12    authority and reviewed by my class and comp           12   reasons.
 13    division and then approved by me.                     13         Q Right.
 14         Q Yeah, let's stay out of that area.             14         A It -- you know, there are different
 15    I'm not talking about, what do you call,              15   things that can cause that, so we call -- call it a
 16    non-standard pay increases.                           16   salary adjustment.
 17         A Yeah.                                          17            Step means that the Department of
 18         Q I'm talking about the standard step            18   Personnel is responsible for rounding out that
 19    increases.                                            19   figure to the closest approved amount. That's why
 20         A The standard, yeah, standard                   20   we said in those letters that it -- you know, if
 21    promotional increase is 5 percent.                    21   they ask for 10 percent, we will put it to the step
 22         Q And that doesn't matter how many               22   that's closest to 10 percent.
 23    grades they're being promoted? If it's resulting      23         Q So if I understand you correctly,
 24    from a promotion, it -- it doesn't matter how many    24   it's possible to get as much as a 10 percent
 25    grades they're being promoted?                        25   increase, not as a minimum distribution, but as a


                                              Page 134                                                    Page 136
  1         A I think I've already stated that if             1   maximum distribution --
  2    the -- you get 5 percent, or you go to the minimum     2              MS. HAMILTON: I'm going to object
  3    of the new range. So if you had a person who were      3   that it --
  4    at a lower level job and then made a big jump,         4         Q (BY MR. BLANKE) -- is that -- is
  5    perhaps they had prior experience outside the City     5   that not correct?
  6    and were very qualified, whatever, they -- they        6              MS. HAMILTON: -- mischaracterizes --
  7    would go to the minimum of the new pay range.          7              THE REPORTER: I'm sorry, say that --
  8         Q That much I understand. But my -- my            8              MS. HAMILTON: I would just object
  9    question is, and maybe you're answering it and I       9   that it mischaracterizes his prior testimony
 10    just want to make sure, that if you are being         10   regarding the 20 percent.
 11    promoted two -- two grades, okay, that it wouldn't    11              THE WITNESS: Right.
 12    be a minimum 10 percent --                            12         Q (BY MR. BLANKE) Explain to me why
 13         A No --                                          13   I'm wrong.
 14         Q -- distribution.                               14         A It's 20 -- it could be 20 percent
 15             (Overtalking - inaudible.)                   15   or --
 16         Q It would still be a minimum 5 percent          16         Q Oh, that's right.
 17    distribution?                                         17         A Just the discretionary one could be
 18         A You're correct.                                18   20 percent, but it could be more.
 19         Q So -- so the amount of the grades has          19         Q Yeah, I'm not talking about the
 20    nothing to do -- that's being promoted, has nothing   20   discretionary one.
 21    to do with the minimum step distrib -- step           21         A Okay.
 22    increase?                                             22         Q I'm talking about the standard --
 23         A Correct. Provided that the grade               23         A Yeah.
 24    difference isn't so much. We've covered that.         24              (Overtalking - inaudible.)
 25         Q Right. Right. Okay. So back to                 25         A Well, the standard one, again, could


                                                                                        34 (Pages 133 to 136)
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                                               Page 137                                                  Page 139
  1    be more than 20 percent. It --                         1   happened, they -- the person would have to have
  2         Q Gotcha.                                         2   some service rating in order to get permanent
  3         A Because you have to go to the bottom.           3   status.
  4         Q Right.                                          4            I've talked about the working test
  5         A Let's, for instance, you know, if I             5   period. In order to gain status as a permanent
  6    made $170,000 a year, and I come back to work as,      6   civil service employee, the appointing authority
  7    you know, a clerk typist making 35,000, and then I     7   has to submit, you know, a service rating granting
  8    get promoted to an executive assistant 2 that makes    8   them, you know, permanent status.
  9    75,000 a year, or whatever the minimum that --         9            Although, I guess if they fail to
 10    minimum is, you can see that you can conceivably      10   grant -- if they fail to submit the working test
 11    get a 100 percent increase, or more. So it really     11   period one, they would automatically get status
 12    depends on those pay ranges.                          12   there too.
 13         Q Gotcha. Okay. You indicated that               13         Q So you're saying the automatic annual
 14    these merit step increases are annually and -- done   14   increases are going to be provided, regardless of
 15    annually? They were at that time back in -- when      15   whether there's any service ratings or not, unless
 16    you were director; right?                             16   there is a service rating that's unsuccessful; is
 17         A Yes.                                           17   that right?
 18         Q And they are automatic unless the              18         A That's correct. Unless one were
 19    service ratings were unsuccessful in -- in some       19   never done in the first place, because then there
 20    way.                                                  20   would be nothing in the file --
 21         A Yes.                                           21         Q Right.
 22         Q Okay. And you also indicated that if           22         A -- saying this person were
 23    a -- an appointing authority or a department head     23   successful.
 24    failed to provide service ratings, you would look     24            So if you did have that person who
 25    at the most recent service rating in order to         25   gets hired as an attorney 1, let's say, and never


                                               Page 138                                                  Page 140
  1   determine whether there was an unsuccessful service     1   gets rated, never gets rated at all, you know, they
  2   rating to disapprove these increases. These pay         2   would go through their initial working test period,
  3   increases. Is that what you said?                       3   which would be six months, it wouldn't have been
  4        A What I said is that if -- it would               4   extended if there was no request to do so, and that
  5   default, if they did not conduct the annual service     5   person would default into permanent status, but
  6   rating and did not get it into the Department of        6   they would have no rating to go back to --
  7   Personnel by the due date, it would default to the      7         Q So do they get the automatic
  8   last service rating; provided, however, that the        8   increases under that circumstance?
  9   last service rating were successful --                  9         A No, they would not.
 10        Q Right.                                          10         Q They would not. Okay.
 11        A -- or highly successful.                        11         A No.
 12        Q Right.                                          12         Q Now, what happens if somebody is
 13        A If it were unsuccessful, then they              13   given service ratings in one position, and then
 14   have to do a rating. One has to be submitted.          14   they're promoted, and then after the promotion
 15   Because --                                             15   there's no service ratings?
 16        Q Okay.                                           16         A It would still go back to the last
 17        A -- we would not deprive the employee            17   service rating done regardless.
 18   of their possible service rating based on the --       18         Q Even in the prior --
 19   the appointing authority not submitting a service      19         A Correct.
 20   rating in time.                                        20         Q -- junior position they were in?
 21        Q What happens if there was no service            21         A Correct.
 22   rating ever provided?                                  22         Q Okay. And where is all this written?
 23        A Ever provided?                                  23   In -- in the pay ordinance, or -- or where? Where
 24        Q Then what -- then what do you do?               24   is it codified? Where is this -- where do these
 25        A If that -- well, if that never                  25   rules come from?


                                                                                        35 (Pages 137 to 140)
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                                               Page 141                                                  Page 143
  1          A There is a variety of sources. One             1   July 2, 2019, to you from Darlene Green. And one,
  2    would be the compensation ordinance.                   2   two, three, four paragraphs.
  3          Q Right.                                         3             MR. NORWOOD: What page are we on?
  4          A One would also be the administrative           4             MR. BLANKE: The second page.
  5    regulations for the Department of Personnel. And       5             MR. NORWOOD: Okay.
  6    then also it would be in the service rating manual     6         Q (BY MR. BLANKE) Correct?
  7    which is approved by the Civil Service Commission.     7         A Yes.
  8          Q And how often is that updated or               8         Q Okay. And if you refer to the next
  9    modified? The manual.                                  9   page after that, which is also a letter dated on
 10          A Not very often. I believe the last            10   the same date of July 2, 2019, to you from Darlene
 11    time was when we worked with the police division      11   Green, those letters are not identical, are they?
 12    and integrated, you know, the police division into    12         A That's correct.
 13    our system.                                           13         Q Okay. They both say, however, in the
 14          Q You -- you said that, you know, all           14   first -- where am I here. The second one you've
 15    service -- supervisors do not rate their employees    15   already testified, I think it was another exhibit
 16    and that this is fairly common; right?                16   letter, or number --
 17          A Yes.                                          17         A Yes.
 18          Q Does that mean it's not required? Or          18         Q -- is your -- it's got your
 19    it's just commonly not followed?                      19   handwriting on it that approves the forced leave;
 20          A It's just commonly not followed.              20   is that correct?
 21          Q It still is required --                       21         A Yes.
 22              MR. NORWOOD: Well, let me object --         22         Q Okay. And that, that is your
 23          Q (BY MR. BLANKE) isn't that correct?           23   handwriting, you said that; right?
 24              MR. NORWOOD: -- because it calls for        24         A Yes.
 25    a legal conclusion, and it also excludes certain      25         Q Yeah. So why did you approve that


                                              Page 142                                                   Page 144
  1    facts. Subject to that.                                1   version of the letter instead of the previous
  2             MS. HAMILTON: And I would just                2   version of the letter?
  3    object that it's vague and ambiguous, the question.    3            MR. NORWOOD: Let me object --
  4          Q (BY MR. BLANKE) Go ahead.                      4        Q (BY MR. BLANKE) Or did you receive
  5          A Would you repeat the question? I'm             5   both letters? That's the first question, I guess.
  6    sorry.                                                 6        A No.
  7             MR. BLANKE: Can you read it back?             7        Q You did not.
  8    You don't have to read it back. I'll just repeat       8        A No.
  9    it.                                                    9        Q Okay. So your testimony is you never
 10          Q (BY MR. BLANKE) Are service ratings           10   received page 2 of Exhibit O. It's not labeled but
 11    required by department heads or appointing            11   just the second page. The one -- the letter
 12    authorities?                                          12   identified as the July 2nd letter from -- from
 13          A They are required.                            13   Darlene Green to Richard Frank in four paragraphs.
 14          Q By what?                                      14   You never received that one?
 15          A By the service rating manual.                 15        A It's four paragraphs that talks
 16          Q Okay. Okay. I've put in front of              16   about --
 17    you Plaintiff's Exhibit O. And it's a big package.    17        Q Four paragraphs total?
 18    I see you've taken the clip off, that's fine, but     18        A -- adequately -- (Quote as read):
 19    try not to get it out of order.                       19            failure to adequately supervise,
 20          A I'll clip it for you.                         20            delegate, or perform his essential
 21          Q Okay.                                         21            duties?
 22          A As long as I can bend it, it'll be            22        Q Right.
 23    all right.                                            23        A I -- I don't recollect ever having
 24          Q Okay. So if you'll turn to the                24   seen that.
 25    second page, which purports to be a letter dated      25        Q Okay. Now, if you turn to the next



                                                                                        36 (Pages 141 to 144)
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                                              Page 145                                                    Page 147
  1    page, this is -- on the top it says Approval of        1   detail than to say that it may have had something
  2    Forced Leave, it's an email dated July 2, 2019,        2   to do with corrections. That's the only thing I
  3    same day, from you to Darlene Green with a copy to     3   knew. So this is --
  4    Chana Morton; is that correct?                         4        Q Now -- now, in this letters to Jim
  5        A Yes.                                             5   Garavaglia, also dated July 2nd, Miss Green says
  6         Q And again, you are approving the                6   the same thing you said in your approval email.
  7    request. Right?                                        7   That (Quote as read):
  8        A Yes.                                             8            you are being placed on official
  9         Q And you say "pending his                        9            forced leave, pending a
 10    pre-termination review." Is that correct?             10            pre-termination hearing.
 11        A Yes.                                            11            They say that. Right?
 12         Q Where -- where -- where does it say            12        A Yes.
 13    that? That this is pending -- why did you add that    13        Q Both of them do. Both of these
 14    phrase, "pending his pre-termination review"?         14   versions of this notice to Mr. Garavaglia of the
 15        A Because during this initial                     15   forced leave say that. Correct?
 16    discussion that I had with Ms. Armstrong on           16        A Yes.
 17    Saturday, the Saturday before this date, they         17        Q So do you recall, when you talked to
 18    indicated that the allegations against                18   Miss Armstrong on that Saturday, whether she said
 19    Mr. Garavaglia were so serious as to warrant forced   19   that this was going to head up -- this was going to
 20    leave in their opinion.                               20   end up as a pre-termination hearing, or anything to
 21            And I specifically inquired what              21   that effect?
 22    action, you know, they were seeking, and they         22        A She indicated that it could, pending
 23    explained that they were -- they believed that they   23   the investigation. That it could end up as a
 24    would investigate and it may result in a              24   pre-termination hearing, and we discussed what that
 25    pre-termination review.                               25   procedure entailed.


                                              Page 146                                                    Page 148
  1            And I advised them at that point.              1        Q Were you or, to the best of your
  2        Q And then if you look at the next two             2   knowledge, anyone in your office involved in any
  3   pages, which are letters from Darlene Green to          3   way with what either of these two letters to
  4   Mr. Garavaglia, both dated, again, July 2 of 2019,      4   Mr. Garavaglia from Defendant Green should or
  5   did you ever see those before? To the best of your      5   should not say?
  6   recollection?                                           6        A I indicated during my conversation
  7        A The one on July 2nd. It's not                    7   with Ms. Green's office, Judy Armstrong, on
  8   numbered, but --                                        8   Saturday that they needed to indicate, you know, to
  9        Q They're all dated July 2nd.                      9   me that he was being placed on forced leave, they
 10        A Yeah, this first one, no. Again,                10   were requesting to place him on forced leave, and
 11   that's talking about failure to, um, supervise.        11   that they needed to notify him of his right to take
 12   No, that one I don't recollect having seen.            12   any accrued compensatory time, vacation time, and
 13        Q And the next one?                               13   also that, you know, the nature of the allegations
 14        A Yes. That one I do. I do recollect              14   were serious.
 15   seeing.                                                15        Q This was on the Saturday
 16        Q Now, how do you remember that? Which            16   conversation?
 17   is which? How do you know the one you saw and the      17        A Yes.
 18   one you didn't see?                                    18        Q Before you even received a written
 19        A Because I knew nothing about the                19   request?
 20   specificity of the allegations involving the           20        A Yes.
 21   Municipal Court during my conversation with            21        Q Okay. But you didn't actually --
 22   Ms. Armstrong.                                         22   when did you receive this -- this second letter
 23            The only thing I heard was that she           23   dated -- that is addressed to James Garavaglia on
 24   said that there were serious allegations of -- of      24   July 2nd? When did you receive that one?
 25   fiscal improprieties, and she went into no greater     25        A I received that on Tuesday -- I



                                                                                        37 (Pages 145 to 148)
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                                               Page 149                                                   Page 151
  1    believe it was Tuesday, July 3.                        1   are being pre-terminated, don't live at the address
  2         Q Now, how do you remember that?                  2   where they really do live, or they've moved, or
  3         A Because I remember calling Judy                 3   they simply will refuse to accept a Certified
  4    Armstrong's and leaving a message that, you know, I    4   letter, and that becomes a problem for us and we
  5    would be happy to take a look at the -- the letter,    5   want to ensure proper service.
  6    you know, to Mr. Garavaglia to make sure that it       6            So we recommend to the appointing
  7    was in proper form. And they indicated that they       7   authorities, and I believe the law department, on
  8    would send it to me on Monday.                         8   information and belief, also has -- you know, tells
  9              But I did not get it Monday. This            9   employees --
 10    letter was hand-delivered to me a day after I         10            MS. HAMILTON: And I'm not going to
 11    expected it and it had already been delivered to      11   -- I'm going to --
 12    Mr. Garavaglia.                                       12            THE WITNESS: Okay.
 13         Q Now, I also note that, with regard to          13            MS. HAMILTON: -- advise you again
 14    this first letter addressed to James Garavaglia on    14   not to get into the law department --
 15    July 2nd, it says that you were copied in on it.      15            THE WITNESS: Okay.
 16    But that doesn't change your testimony; right?        16            MS. HAMILTON: -- conversations.
 17         A No, it does not.                               17            THE WITNESS: Okay.
 18         Q Okay. Do you or anyone in your                 18         A That's our position. That that's
 19    office normally have any involvement in how the       19   what we tell employees -- or supervisors --
 20    letters to the employee advising of the forced        20         Q (BY MR. BLANKE) If you go back to
 21    leave should be delivered? Whether by --              21   the third -- the third page where your approval
 22         A Delivered?                                     22   handwriting is on the letter to you from Darlene
 23         Q Delivered. By certified mail or                23   Green where it says "Approved"?
 24    regular mail or hand delivery? Do you have any        24         A Yes.
 25    input into that?                                      25         Q Those are your initials; is that


                                              Page 150                                                   Page 152
  1           A We typically advise employees to send         1   right? Is that supposed to be RF or -- I can't
  2    them out, you know, Certified letter, and also, if     2   tell.
  3    possible, in person, to ensure service.                3         A Yes.
  4           Q Did that come up in the -- in the             4         Q Okay. And then that was July 2nd.
  5    conversation with Judy Armstrong?                      5   You approved this on July 2nd. Correct?
  6           A Not to my recollection.                       6         A Yes.
  7           Q Do you know how these letters were            7         Q Okay. So when you approved the
  8    delivered --                                           8   forced leave, had you seen the letter to
  9           A No --                                         9   Mr. Garavaglia? Either one of them?
 10           Q -- to Jim Garavaglia?                        10         A No.
 11           A Do I know how they were delivered?           11         Q So your approval of the forced leave
 12           Q Yes.                                         12   is not in any way predicated upon proper notice
 13           A No, I don't.                                 13   being given to the employee; is that a fair
 14           Q And -- and I'm not sure I understand         14   statement?
 15    -- if I understand you correctly, and correct me if   15         A That's fair.
 16    I'm mischaracterizing what you just said. You're      16         Q Okay. Now, the hearing on the forced
 17    saying that they should be delivered by Certified     17   leave, the first forced leave, the one we're
 18    mail?                                                 18   talking about here on July 2nd; okay? The hearing
 19           A We recommend that they go out two            19   on that before the Civil Service Commission, was
 20    ways, you know, either through Certified or           20   initially scheduled for July 23rd. Is that
 21    Registered mail, and also, if possible,               21   correct?
 22    hand-delivered. Because we don't want the             22         A I'd have to check the dates. I'm --
 23    situation to occur where an employee says, "I never   23   I relied on my --
 24    got the notice."                                      24         Q Okay.
 25              We have situations where employees          25         A -- employee to schedule that for me.


                                                                                       38 (Pages 149 to 152)
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                                      RICHARD R. FRANK 3/10/2022

                                              Page 153                                                        Page 155
  1          Q   And -- and which employee would that         1        Q We on the same page?
  2    be?                                                    2       A Yes.
  3          A At the time, I believe it was Ashley           3        Q Okay. Does that provide a hearing
  4    McClain.                                               4   date?
  5          Q Okay. Let me direct your attention             5       A Yes.
  6    -- oh, boy. Let's see. One, two, three, four,          6        Q And that's July 23rd; correct?
  7    five, six, seven, the eighth page of paragraph O,      7       A Yes.
  8    which looks like this. You probably recognize          8        Q And the parties were advised of that
  9    that.                                                  9   by Ashley McClain, through this notice, on or about
 10          A Yeah, is that looks like the --               10   July 11th. Is that correct?
 11              (Overtalking - inaudible.)                  11            MS. HAMILTON: Objection, foundation.
 12          A -- Notice of Institution to case?             12        Q (BY MR. BLANKE) Well --
 13              MS. HAMILTON: Usually the ones              13            MS. HAMILTON: You can answer if you
 14    before that are (inaudible).                          14   know.
 15              MR. BLANKE: Here. Counsel?                  15        Q (BY MR. BLANKE) -- the email from
 16              MR. NORWOOD: Yep. Got it.                   16   before that, the first -- the page right before
 17              THE WITNESS: I'm slow, I'm sorry.           17   that with the email that we were talking about?
 18    Is it that far in?                                    18       A Yeah, that's -- the certificate of
 19              MS. HAMILTON: Eighth page.                  19   service does say that.
 20              MR. BLANKE: You may be past eight.          20        Q July 11, okay.
 21              MS. HAMILTON: Yeah.                         21       A Yeah.
 22              MR. BLANKE: Well, it looks like             22        Q What was Ashley McClain? She was an
 23    this. Let's make sure we're all on the same page.     23   administrative assistant, but what was her duties?
 24              THE WITNESS: I know what one looks          24       A She served as the administrative
 25    like, I'm --                                          25   assistant to the Civil Service Commission.


                                              Page 154                                                        Page 156
  1             MR. BLANKE: It says on the top, the           1       Q     Okay. Was she, then, as a secretary
  2    first one is a caption, it's on City of St. Louis      2   to the Commission, was she under you in that
  3    stationery and it's --                                 3   regard?
  4             MS. HAMILTON: That's the cover.               4       A     Yes.
  5    Right here. You're -- you're at -- the one that --     5       Q     Okay. So you were her supervisor?
  6    next one. That's the cover.                            6       A     Yes.
  7             THE WITNESS: "In the Matter of."              7       Q     In that -- in that capacity?
  8    Got it. I'm sorry. Okay.                               8       A     Yes.
  9          Q (BY MR. BLANKE) So, so counsel for             9       Q     Yes. Okay. Were you involved in
 10    the City is directing your attention to an email      10   selecting the hearing date in any way?
 11    that precedes what I was talking about, from Ashley   11       A     No.
 12    McClain?                                              12       Q     Turn a couple pages down to the page
 13          A Yes.                                          13   -- this one does have a Bates stamp. In the lower
 14          Q To Nancy Kistler and Paul Schmitz             14   right-hand corner it's Bates stamped GARAVAGLIA
 15    dated July 11; right?                                 15   110. On the top it's a Memorandum to Nancy Kistler
 16          A Yes.                                          16   from Chana Martin (sic). Do you see that?
 17          Q Saying (Quote as read):                       17       A     I do see it.
 18             Please see the attached Notice of            18       Q     Okay. And please go to the end of
 19             Hearing.                                     19   that, and there is another memorandum that follows
 20             Correct?                                     20   that which starts on GARAVAGLIA 105 on the bottom,
 21          A Yes.                                          21   and this is from Darlene Green to Nancy Kistler.
 22          Q Okay. And then after that is the              22   Do you see that?
 23    Notice of Hearing; right? It says Notice of           23       A     Yes.
 24    Institution of Case and Hearing.                      24       Q     Okay. Did you see either of these
 25          A Yes.                                          25   memorandum at any time before you prepared for this



                                                                                            39 (Pages 153 to 156)
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                                               Page 157                                                   Page 159
  1    deposition? I mean when you were a director. Did       1   Defendant Green wrote this requesting a forced
  2    you see either of those? When you were a director.     2   leave at this time, when Mr. Garavaglia was already
  3    When you were the director of the personnel            3   on forced leave?
  4    department.                                            4        A No.
  5           A I don't recall them, no.                      5        Q You have no idea?
  6           Q You don't recall, or you don't recall         6        A No.
  7    seeing them?                                           7        Q The reasons given in this letter to
  8           A I don't recall seeing them.                   8   Richard -- to you from Darlene Green are the same
  9           Q Okay.                                         9   as the letter that you reviewed on July 2nd.
 10           A This -- I'm looking at the first one         10   Correct?
 11    still.                                                11        A I believe I've already testified that
 12           Q Sure. Take your time. So I take it           12   I didn't see that.
 13    if you don't recall seeing them, you don't know       13            MR. NORWOOD: Well, let me --
 14    whether you reviewed them or not; right?              14        Q (BY MR. BLANKE) No, no, no. I'm
 15           A I did not review the first one.              15   talking about the one you did see.
 16           Q Okay.                                        16            MR. NORWOOD: Well, let me object,
 17           A I'm looking at the --                        17   because it assumes he did see it.
 18             MS. HAMILTON: 105 at the bottom for          18        Q (BY MR. BLANKE) Okay, well, then
 19    the second one.                                       19   maybe I'm mistaken. You -- you obviously saw --
 20           A I do recall seeing the letter to             20        A No, Counselor. I already testified
 21    Nancy Kistler from Comptroller Green dated July 12,   21   that the first of the two --
 22    2019. That one I do remember seeing.                  22        Q Oh, I said did you hear about them.
 23           Q (BY MR. BLANKE) And how do you               23        A -- on July 2, I did not see that.
 24    recall that?                                          24   And I -- I did not.
 25           A Because it looks familiar.                   25        Q Yeah, I'm -- I'm sorry. I wanted you


                                              Page 158                                                   Page 160
  1          Q Okay.                                          1   to compare the letter that you approved -- okay,
  2          A The contents look familiar.                    2   you obviously saw that one.
  3          Q Do you remember when you may have              3        A Yes.
  4    seen it?                                               4        Q Okay. Yeah. -- with the letter of
  5          A I can only assume that it was                  5   July 15th that we're looking at now.
  6    sometime around the date that it was issued.           6            MR. NORWOOD: Well, and I'm objecting
  7          Q Do you recall any discussions with             7   because that assumes he received that July 15 --
  8    Comptroller Green or anyone in her office about it?    8            MS. HAMILTON: July 15.
  9          A No.                                            9            MR. NORWOOD: -- 2019 letter.
 10          Q Okay. Turn the page again. This is            10        Q (BY MR. BLANKE) Let me add that
 11    the page right after the page GARAVAGLIA 106. So      11   that's the first question.
 12    it's right after that second memoranda that you did   12        A Yeah.
 13    see. There's a letter to you, dated July 15, from     13        Q Did -- did you?
 14    Darlene Green; correct?                               14        A I did not receive the July 15th
 15          A Yes.                                          15   letter, no.
 16          Q And then if you turn the page,                16        Q And how do you know that?
 17    there's another letter to you -- I mean then          17        A Because I've never seen it. And one
 18    there's a letter to Jim Garavaglia from Darlene       18   of the reasons I know is because I didn't know
 19    Green as well; right?                                 19   anything about any issues that were brought up
 20          A Yes.                                          20   about Muni Court. Or failure to supervise the
 21          Q Okay. And these are both dated                21   employees. That's not something that was discussed
 22    July 15; correct?                                     22   with me.
 23          A Yes.                                          23        Q Okay.
 24          Q Okay. The letter from Darlene Green           24            MS. HAMILTON: Is this a good time
 25    to you dated July 15, 2019, do you know why           25   for a break?



                                                                                        40 (Pages 157 to 160)
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                                               Page 161                                                  Page 163
  1             MR. BLANKE: If you want one, sure.            1          including termination.
  2             MS. HAMILTON: Yeah, I'd love one.             2          Wanted to get this to you while my
  3             MR. BLANKE: Okay.                             3          mind is still fresh on what I said so
  4             MS. HAMILTON: If you don't mind.              4          people don't misquote me, and know
  5             THE VIDEOGRAPHER: Time is 2:12 PM,            5          you -- and you know what I mean.
  6    we are off the record.                                 6          MR. NORWOOD: You know who I mean.
  7             (Off the record.)                             7       A Or who I mean, sorry.
  8             THE VIDEOGRAPHER: The time is 2:31,           8       Q (BY MR. BLANKE) First question I
  9    we are back on the record.                             9   have about this is, did you advise or suggest to
 10         Q (BY MR. BLANKE) Okay. Where did we             10   Linda Thomas that she instruct Defendant Green to
 11    leave off. We were looking at this July 15th          11   withdraw her initial forced leave request?
 12    letter to Mr. Garavaglia, that you did not remember   12       A No.
 13    seeing it, I think?                                   13       Q Did she -- did you know that she
 14         A Yes.                                           14   would do that before she did it?
 15             MR. NORWOOD: Let me object, it               15       A No.
 16    mischaracterizes testimony. He said he didn't see     16       Q Do you know why she did it?
 17    it.                                                   17       A After the fact, I believe it was,
 18             MR. BLANKE: That's what I said.              18   Linda had told me, again, that she had spoken to --
 19             MR. NORWOOD: No, you said I don't --         19   she had received a phone call from Comptroller
 20    he didn't remember seeing it, which is different.     20   Green about the procedures for 117 and forced leave
 21             MR. BLANKE: Oh, gotcha. Okay.                21   because the -- there were, um, a couple of clerical
 22         Q (BY MR. BLANKE) Turn the page, there           22   omissions in the initial letter to Mr. Garavaglia
 23    is a Certified Mail return there, but turn the page   23   about the reason for the forced leave.
 24    again to this email from Linda Thomas to you on       24       Q Did she say what those additional
 25    July 17th at 2:35 PM which begins with the words --   25   reasons were?


                                              Page 162                                                   Page 164
  1    well, that's from you to Linda Thomas on July 17th     1        A Yeah, the serious allegations
  2    at 2:35, where you're thanking her for the previous    2   regarding fiscal matters.
  3    email from her to you at 2:33. Correct?                3        Q But did she specify to you what they
  4        A Yes.                                             4   were?
  5         Q Okay. Can you please read into the              5        A No.
  6    record what she wrote on the email to you at 2:33?     6        Q The last sentence, (Quote as read):
  7        A (Quote as read):                                 7            Wanted to get this to you while my
  8            Rick, I told the Comptroller to                8            mind is still fresh on what I said so
  9            withdraw her request for forced leave          9            people don't misquote me, and you
 10            on JG. All she has to do is ask you           10            know who I mean.
 11            to withdraw -- ask for you to                 11            What does that mean?
 12            withdraw the request and she has to           12            MR. NORWOOD: Well, let me object,
 13            give him a copy and then give him             13   calls for speculation on what was in Linda Thomas's
 14            back any of his time he has used.             14   mind when she sent that email.
 15            Then I told her she could send you a          15            MS. HAMILTON: You can answer.
 16            letter requesting force leave --              16        A I believe she is referring to Nancy
 17            should be forced leave -- force leave         17   Kistler, who is the Deputy City Counselor.
 18            again, give him a copy, and tell him          18        Q (BY MR. BLANKE) And what's the
 19            he is being put on forced leave               19   reason for that? Why do you believe that?
 20            pending investigation. The reason             20            MR. NORWOOD: Let me object,
 21            for the forced leave would be he has          21   irrelevant.
 22            access to a lot of confidential files         22            THE WITNESS: Oh. Oh, sorry.
 23            and computer systems and the                  23            MS. HAMILTON: And what I'll just say
 24            investigation would lead to                   24   is you are welcome to answer, I just -- do not get
 25            disciplinary action up to and                 25   into any privileged conversations.


                                                                                         41 (Pages 161 to 164)
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                                              Page 165                                                   Page 167
  1         A All right. It's just that Nancy was             1   respect to, when you talk about "those versions,"
  2    -- was assisting Comptroller with the process.         2   what versions are we talking about?
  3         Q (BY MR. BLANKE) Great.                          3        Q (BY MR. BLANKE) All right, well, I'm
  4         A And -- and also discussing it with              4   not suggesting they're intended to be the same
  5    me.                                                    5   letter. I'm just saying there are three letters,
  6         Q Okay. How confident are you or that             6   all dated July 18, from Darlene Green to Richard
  7    -- of that?                                            7   Frank. And my question is --
  8         A Very confident.                                 8            MR. NORWOOD: Well, let me --
  9         Q Oh, okay. Now, turn the page again.             9        Q (BY MR. BLANKE) -- do you have an
 10    These three pages, the next three pages, are all      10   understanding of what those three letters are
 11    dated July 18, 2019. They all purport to be           11   about? That's the first question. You've already
 12    written by Darlene Green to you; correct?             12   answered it, I think; right?
 13         A Yes.                                           13            My second question is --
 14         Q Okay. What's your under -- take a              14        A Yes.
 15    look at these three, take -- take a moment, and       15        Q -- did you see all three of them?
 16    read them over. And what's if -- what's your          16   You know, at the time -- or at or around the time
 17    understanding of the -- what -- why are there three   17   they were written, in July?
 18    -- three of these? What's -- what are the             18        A I don't recall seeing, out of those
 19    differences, or what's -- do you have an              19   three letters, the second one. I do recall seeing
 20    understanding of --                                   20   the one which I initialed.
 21         A I do.                                          21        Q Okay. The first one is just advising
 22         Q -- why there are three letters?                22   you that she's withdrawing her forced leave
 23         A I do. It all goes back to the                  23   request; correct?
 24    original conversation I had with Judy Armstrong       24        A Correct.
 25    that the reason for the forced leave was that there   25        Q You don't recall seeing that?


                                              Page 166                                                   Page 168
  1    were allegations of serious fiscal improprieties,      1        A Yes. I said.
  2    and, you know, um, I had suggested that they should    2        Q Okay. I'm sorry.
  3    include that in the letter of forced leave to          3        A The second one is the one I said I
  4    Mr. Garavaglia.                                        4   didn't recall seeing.
  5         Q Now, this is the second letter;                 5        Q Gotcha. The second and third letters
  6    right? Of forced leave?                                6   are -- are -- they might be identical, I don't -- I
  7         A Yes.                                            7   don't even --
  8         Q And if you look at the third version,           8        A Pardon me. I just misspoke then,
  9    again, it has your handwriting approving it on --      9   sir. I -- I did see -- the second letter is --
 10    on the same day, 7/18/19.                             10        Q The second --
 11             MR. NORWOOD: Let me object to the            11        A -- that you're referring to is
 12    reference to the "third version."                     12   identical to the third.
 13             MR. BLANKE: I'm sorry. The third             13        Q Right.
 14    letter that we were talking about. Let's see if       14        A Except I -- the third one just
 15    there's any identification on this that I can use.    15   contains my initials and approval.
 16    Anyway.                                               16        Q Right you are. Okay.
 17         A Yes, I have it.                                17              THE VIDEOGRAPHER: Mr. Frank, could I
 18         Q (BY MR. BLANKE) You approved a                 18   have you flip your mic to the outside of your lapel
 19    letter that is addressed to you on July 18 from       19   as opposed to the inside?
 20    Darlene Green. Correct?                               20              THE WITNESS: Oh, dear.
 21         A Yes.                                           21              THE VIDEOGRAPHER: I'm hearing you,
 22         Q Is that the only -- the letter that            22   but it's mushy. There you go.
 23    has your approval on it, is that the only one of      23              THE WITNESS: Haven't gotten any
 24    those versions that you saw? Or do you know?          24   smarter after age 60, that's for sure.
 25             MR. NORWOOD: Let me object with              25              MR. NORWOOD: Well, don't worry, I do


                                                                                       42 (Pages 165 to 168)
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                                              Page 169                                                    Page 171
  1    that all the time myself.                              1            "improprieties" to strengthen and
  2         Q (BY MR. BLANKE) Now turn the page               2            clarify (without being too
  3    again.                                                 3            restrictive)? Thanks.
  4         A Okay.                                           4        Q And then above that, there is an
  5         Q And this is a page where it says                5   email from Chana Morton on behalf of Darlene Green
  6    "Letter to James Garavaglia" in bold letters at the    6   saying, (Quote as read):
  7    top?                                                   7            Please see the attached updated
  8         A Yes.                                            8            request.
  9         Q It's an email, purports to be an                9            Is that right?
 10    email of July 18, 2019, from Darlene -- from Chana    10        A Yes.
 11    Martin -- Morton to you. Is that correct?             11        Q Were there any oral conversations
 12         A Yes.                                           12   between you and Chana Morton about all of these
 13         Q And it refers to a letter that she             13   letters, or versions?
 14    claims was hand-delivered to Mr. Garavaglia today,    14        A I believe there was one conversation
 15    meaning July 18th. Is that right?                     15   -- two conversations that I had with Chana maybe in
 16         A That's what the memo says, yes.                16   total. One was the one on Saturday where she
 17         Q And there is, at the bottom of this            17   connected the phone call, and then this one was
 18    email there is a -- an indication that it was an      18   regarding me telling her, you know, that it was
 19    attachment at -- to the -- to the email; right?       19   important to include what we -- we talked about in
 20         A Yes.                                           20   the original conversation on that Saturday before
 21         Q And then go to the next page, and              21   July 2nd. That these were serious allegations of
 22    what do you see there?                                22   fiscal impropriety.
 23         A This is the letter notifying                   23        Q Did you have any conversations with
 24    Mr. Garavaglia that he's being placed on forced       24   Darlene Green about this matter?
 25    leave pending an internal investigation into some     25        A No.


                                              Page 170                                                    Page 172
  1    improprieties that have come to light, and advising    1        Q Okay. Then, at 3:24 that afternoon,
  2    him of his right to use any accumulated leave,         2   on the very top, you write Comptroller Green back
  3    vacation, or comp time.                                3   saying that you're authorizing the second forced
  4         Q And -- and the message here is that             4   leave pending your investigation; correct?
  5    it was hand-delivered. Right?                          5        A Yes.
  6        A Yes.                                             6        Q Now -- hold on one moment. If you go
  7         Q Okay. And if you'll turn the page               7   back to the letter that you did not see, to James
  8    again, and now it says "Revised Request Letter" on     8   Garavaglia dated July 15th, the Certified letter
  9    the top. Are you on that page?                         9   I'm talking about.
 10        A Yes.                                            10        A Yes. I have it.
 11         Q Okay. Now, this is actually an email           11        Q This letter doesn't contain those
 12    stream that we're looking at on this page, appears    12   added words about "serious" and "fiscal," does it?
 13    to be. At the bottom is an email from Chana Morton    13        A No, it does not.
 14    to you dated July 18 at 2:50 PM?                      14        Q So then the letter dated July 18 to
 15        A Yes.                                            15   you that you approved does contain those words, the
 16         Q And it says, (Quote as read):                  16   "serious fiscal improprieties." Correct?
 17            My apologies - please see the                 17        A Yes.
 18            attached revised letter.                      18        Q So the request to you was updated?
 19            Correct?                                      19        A Yes.
 20        A Yes.                                            20        Q Per your instructions.
 21         Q And then you responded at 2:52 to              21        A Yes.
 22    Chana Morton by writing what?                         22        Q But the letter to Mr. Garavaglia was
 23        A (Quote as read):                                23   not.
 24            Could you also add the word                   24            MR. NORWOOD: Well, let me object --
 25            "serious" and/or "fiscal" before              25            MR. BLANKE: Let me ask the question



                                                                                        43 (Pages 169 to 172)
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                                              Page 173                                                   Page 175
  1    first.                                                1   evidence.
  2            MR. NORWOOD: Well, let me object --           2             MR. NORWOOD: Well, because it's a
  3         Q (BY MR. BLANKE) Does that seem                 3   mis -- it's a fact that he never got the letter.
  4    correct to you?                                       4   Because it's not in his file.
  5            MR. NORWOOD: Let me object, because           5             MR. BLANKE: Well, let the record
  6    you say "the letter to Mr. Garavaglia," and it        6   reflect that neither the City nor Defendant Green
  7    assumes facts not in evidence.                        7   has provided us with a letter, other than this one,
  8            First of all, it's vague and                  8   that was sent to Mr. Garavaglia.
  9    ambiguous as to what letter, and it's -- and so if    9             MR. NORWOOD: That's absolutely
 10    you --                                               10   false.
 11            MR. BLANKE: I can correct that very          11             MS. HAMILTON: Incorrect.
 12    easily.                                              12             MR. BLANKE: Oh, really? Where is
 13            MR. NORWOOD: I'm sorry -- well,              13   it?
 14    please.                                              14             MR. NORWOOD: Because the letters
 15            MR. BLANKE: Okay.                            15   that you provided to us --
 16         Q (BY MR. BLANKE) So I'm saying that            16             MR. BLANKE: Yeah.
 17    the letter that we just talked about of July 15th    17             MR. NORWOOD: -- are from your
 18    that has a Certified return in back of it --         18   client's files and from the files that Comptroller
 19            MR. NORWOOD: Well, let me object to          19   Green did provide to counsel at the Civil Service
 20    that too --                                          20   Commission stage. All of which have your Bates
 21            (Overtalking - inaudible.)                   21   labels on them.
 22         Q (BY MR. BLANKE) -- that was provided          22             MS. HAMILTON: And every -- I'll just
 23    to us by --                                          23   add --
 24            MR. NORWOOD: Let me object to that,          24             MR. BLANKE: So -- so let me.
 25    let me object, because this letter -- there's no     25             THE REPORTER: Wait.


                                              Page 174                                                   Page 176
  1   evidence in the record that ties this certification    1            MS. HAMILTON: -- I'll just add that
  2   to this letter.                                        2   the documents that are in this folder of today,
  3             MR. BLANKE: Except that this is how          3   Exhibits 2 --
  4   it was presented to us by you guys.                    4            MR. BLANKE: Yeah.
  5             MR. NORWOOD: It -- it -- we don't            5            MS. HAMILTON: -- through at least 7,
  6   know that either, because it's not Bates stamped.      6   are Bates stamped, have been exchanged in
  7   So we don't know where this document came from as      7   discovery.
  8   it relates to these --                                 8            MR. NORWOOD: And the only point I'm
  9             MR. BLANKE: They do know.                    9   making, Counsel, is that your client didn't receive
 10             MR. NORWOOD: -- two letters. Right?         10   the letter because in none of the documents you
 11             MR. BLANKE: Somebody knows, because         11   produced is this letter part of the mix. And it's
 12   you provided it to us.                                12   not Bates stamped with anybody's Bates stamp.
 13             MR. NORWOOD: Well, but let me say           13            So I think it's improper for you to
 14   this, Counsel, because I think -- I don't know if     14   suggest that there was a letter your client
 15   it's intentional or inadvertent, but you produced     15   received when you can simply talk to your client
 16   records to us, purportedly what you had in your       16   right now, so we can get this straight, to figure
 17   files. And your files don't include this letter of    17   out whether or not he received it.
 18   July 15, 2019 --                                      18            MS. HAMILTON: Well -- well, my -- my
 19             MR. BLANKE: That's right.                   19   objection would be that it just is not in evidence;
 20             MR. NORWOOD: -- which suggest that          20   right? That --
 21   your client never received it. And so, so that to     21            MR. BLANKE: This is not a
 22   the extent that you're suggesting your client did,    22   conference.
 23   I think it's improper.                                23            MS. HAMILTON: So.
 24             MR. BLANKE: I see.                          24            MR. BLANKE: You made -- you've made
 25             MS. HAMILTON: Because it's not in           25   your objections and I'll withdraw the question, and


                                                                                       44 (Pages 173 to 176)
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                                               Page 177                                                  Page 179
  1    here is my next question.                              1            MR. NORWOOD: Yeah.
  2         Q (BY MR. BLANKE) If you'll look in               2            MS. HAMILTON: Certainly.
  3    the Defendant Green's book of exhibits, turn to        3        Q (BY MR. BLANKE) The bottom of --
  4    Exhibit Number 7, please.                              4   of this exhibit says "Letter Revised 7/18/19."
  5         A Okay.                                           5   Correct?
  6         Q That purports to be a letter dated              6        A Yes. That's correct.
  7    July 18 from Darlene Green to James Garavaglia;        7        Q Okay. Have you seen this?
  8    correct?                                               8        A This letter?
  9         A Yes.                                            9        Q Yes.
 10         Q It says on the letter that it was              10        A I believe this letter looks similar,
 11    hand-delivered on the 19th. Correct?                  11   I've seen so many letters today. No. This one is
 12         A Yes.                                           12   not one that I -- I saw.
 13         Q So it says on the letter that it was           13        Q Okay. And how do you know that?
 14    delivered delay -- the day after the letter was       14        A Because I didn't see the letters, to
 15    written. Correct?                                     15   the best of my recollection, that went to the
 16         A Yes.                                           16   employee. As director of personnel, I only saw
 17         Q Which is mysterious, would you not             17   letters that would come to me asking for the forced
 18    agree?                                                18   leave.
 19             MR. NORWOOD: Well, let me object, I          19        Q Okay. Do you have any personal
 20    mean --                                               20   knowledge as to whether this -- this Exhibit
 21             MS. HAMILTON: Calls for speculation          21   Number 7 was delivered? Hand-delivered?
 22    and is irrelevant.                                    22        A No, I have no personal knowledge
 23         Q (BY MR. BLANKE) And it also says on            23   about that.
 24    the bottom of the letter --                           24        Q Do you ordinarily review the letters
 25             MR. NORWOOD: Well, hold on a second,         25   to employees notifying him or her that they've been


                                              Page 178                                                   Page 180
  1    hold on a second. Are you -- I mean, was that a        1   placed on forced leave before you approve it?
  2    question? We objected. I mean, are you abandoning      2        A Never.
  3    your question?                                         3        Q Okay. This letter, Exhibit 7, says
  4         Q (BY MR. BLANKE) Oh, I thought you               4   you were copied in on it as well. Correct?
  5    answered. Didn't you answer?                           5        A Yeah, it does say that I'm copied.
  6        A No, I didn't. I do not believe it's              6        Q But you did not see it. Is that your
  7    mysterious. If you look at the time, you know, I       7   testimony?
  8    caught what I discussed with Chana to be a clerical    8        A I don't recollect it. This is a
  9    error and not capturing the serious allegations        9   letter that my secretary would have kept.
 10    which we discussed in the first Saturday, the very    10        Q And you don't ordinarily see them.
 11    beginning, and she corrected it but, you know, we     11        A No, I do not.
 12    had the Comptroller and, you know, who, we need to    12        Q Is that because you just don't read
 13    sign these things and it was already 3:30 in the      13   them, or they're just normally not sent to you? I
 14    afternoon.                                            14   mean, how -- how is it that you don't ordinarily
 15            So I'm not surprised that this would          15   see them?
 16    have gotten delivered, hand-delivered, the next       16        A With all --
 17    day.                                                  17              MR. NORWOOD: Let me object. First
 18            MR. BLANKE: No, no, I'm not -- I'm            18   of all, it's a compound question, I think it's
 19    not saying it was mysterious that it would have       19   badgering this witness. But subject to that.
 20    been hand-delivered the next day. I'm saying it's     20              MS. HAMILTON: You can answer.
 21    mysterious that they're saying it was delivered the   21        Q (BY MR. BLANKE) I certainly don't
 22    next day before it was delivered.                     22   mean to badger you. I'm just asking.
 23        A I'm not --                                      23        A I worked 7:30 in the morning until 7
 24         Q (BY MR. BLANKE) Never mind. It's               24   at night, ran two pension systems, was a chief
 25    not important.                                        25   negotiator for twelve unions, approved all police


                                                                                        45 (Pages 177 to 180)
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                                              Page 181                                                  Page 183
  1    discipline, and up until 2019, reviewed every         1        Q One more question about all this.
  2    single piece of discipline in this City.              2        A Mm-hmm.
  3         Q Okay. So it's a fair --                        3        Q And that is, why did you specifically
  4         A And so --                                      4   advise the Comptroller's office to put the words
  5              MS. HAMILTON: You can finish.               5   "serious" and "fiscal" into their request?
  6              THE WITNESS: Yeah.                          6        A I think I've answered that but I'll
  7              MS. HAMILTON: Carry on.                     7   answer it again. It's because those were what the
  8         A And kept extensive records all the             8   original allegations were, as explained to me by
  9    way back from 2004 until I left, when we started      9   Judy Armstrong on that Saturday before, which she
 10    following our retention rules, and kept files on     10   said could possibly, if found true, could trigger a
 11    numerous matters and legal opinions.                 11   pre-termination review.
 12              So I -- I don't mean to be -- it           12        Q Okay.
 13    sounds a little defensive --                         13        A So, you know, that was the consistent
 14         Q (BY MR. BLANKE) No, but I mean --             14   thing.
 15         A -- but I just -- there's no way, you          15        Q And -- and there was nothing in that
 16    know, I was doing -- there's like one person who     16   conversation about Muni Corp; you already testified
 17    runs PRS, one person who runs FRS, and in addition   17   to that?
 18    to all this, I ran two pension systems that          18        A No.
 19    performed really well.                               19        Q What -- um, let's go to the July 23rd
 20         Q So there's no way what?                       20   letter which, is -- I lost my place.
 21         A There's no possible way that I could          21        A I think I --
 22    keep records of all fitness for duties, or letters   22        Q From Paul Schmitz, sitting right next
 23    to individual employees. That -- it's just not --    23   to me here, Mr. Garavaglia's attorney in the Civil
 24         Q Well, yeah, I know, but my -- my              24   Service Commission proceeding, to Ashley McClain.
 25    question is -- and, you know, look, if you don't     25            MR. NORWOOD: Where is that Counsel?


                                              Page 182                                                  Page 184
  1    know, you don't know. I'm not trying to trap you      1            MR. BLANKE: This is, it says
  2    or anything. I'm just asking --                       2   GARAVAGLIA 215 on the bottom right. Looks like
  3         A Well --                                        3   this.
  4         Q -- whether or not you know -- you              4            MR. NORWOOD: Let's start with the
  5    already had testified that you don't remember --      5   exhibit number. This Plaintiff's Exhibit O?
  6         A Yeah.                                          6            MR. BLANKE: Yes, I'm sorry.
  7         Q -- seeing it or reading it, but my             7            MR. NORWOOD: And somewhere in here
  8    question now is simply, do you remember or do you     8   there's a --
  9    know whether you actually received it in your         9            MR. BLANKE: Well, it's -- it's
 10    office?                                              10   directly after where we left off with -- with --
 11         A It would not have come to my                  11   it's the next page --
 12    attention. This type of letter involving             12            (Overtalking - inaudible.)
 13    employees, like fitness for duties or reports on     13            MR. BLANKE: -- after the revised
 14    fitness for duties, or questions that had to do      14   request letter email.
 15    with employees being notified of benefits,           15         A I think I have it, sir.
 16    regarding the benefits section, if it had to do      16            MR. NORWOOD: Okay. July 23. All
 17    with forced leave.                                   17   right. I'm there.
 18             My secretary, who's retired, Chris          18            MR. BLANKE: Okay.
 19    Dussault (phonetic), would keep a file of all the    19         Q (BY MR. BLANKE) This letter from
 20    forced leave files. So that's just how the flow of   20   Paul to Ashley McClain resulted in another hearing
 21    paperwork, you know, anything that I had was a       21   being scheduled; correct?
 22    decision point, you know, I would get, and I         22         A Yes.
 23    typically kept a personal copy even though there     23         Q Okay. And that was, hearing was
 24    was one in the computer system, and my secretary     24   scheduled for August 29, 2019. Is that correct?
 25    usually had one, so.                                 25         A I'll check. That sounds correct.


                                                                                       46 (Pages 181 to 184)
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                                              Page 185                                                    Page 187
  1   There should be correspondence from Ashley with the     1   explains it as due to the -- (Quote as read):
  2   institution of case, and yes. I've got that             2            in light of the ongoing investigation
  3   exhibit here. So it was scheduled then for              3            and pending report from the State
  4   August 29, 2019.                                        4            Auditor's office.
  5         Q Okay. Okay. And then if you'll turn             5        Q Okay. This would con -- if granted,
  6   to the next page, which is an email from Darlene        6   would continue the forced leave beyond the hearing
  7   Green to you dated August 12, 2019, saying attached     7   date; correct?
  8   -- or I'm sorry, it's from Chana Morton saying "See     8        A Yes, it would.
  9   the attached letter from Darlene Green" --              9        Q Okay. And then if you turn the page
 10             MS. HAMILTON: Where are you?                 10   again, there is an email from you to Defendant
 11         A I'm --                                         11   Green approving the extension for 30 days from
 12             MR. BLANKE: It's the next page.              12   August 18th, instead of the date of her request,
 13   Well, this letter from Paul Schmitz is, there's two    13   which is August 12th.
 14   of them, and they're identical, so.                    14            Is that because she requested the
 15             MR. NORWOOD: Okay. So where are we           15   effective date to begin on August 18th?
 16   now?                                                   16        A I'm wondering if it's because the
 17             MR. BLANKE: It's right after that.           17   original --
 18         A Is this the request for --                     18            MS. HAMILTON: You can take the time
 19             MR. BLANKE: Just going in order              19   to review the letter.
 20   here.                                                  20            THE WITNESS: Okay, yeah.
 21         A -- extension of forced leave?                  21        A I -- I believe because the original
 22             MR. BLANKE: What's that?                     22   forced letter -- or approval forced leave letter,
 23         A I'm sorry, sir. Is this a -- the               23   she -- she asked for 30 days from July 18, 2019.
 24   request for extension of forced leave? Maybe I'm       24   And 30 days past July 18, 2019, is August 18, 2019.
 25   -- I think I'm in the wrong place.                     25   So I was honoring the Comptroller's date of


                                              Page 186                                                   Page 188
  1          Q (BY MR. BLANKE) No. No.                        1   request.
  2          A Okay.                                          2        Q (BY MR. BLANKE) Okay. And then turn
  3          Q Oh, is it letter for extension? Yes,           3   the page again. An email from you to Defendant
  4    it is, I'm sorry. Yeah. But the -- there's a           4   Green approving the extension -- I've already
  5    letter -- before that letter of August 12t, there's    5   talked about this, so this is -- this is that
  6    an email from Chana Morton saying attached is the      6   approval; right?
  7    letter.                                                7        A Yes.
  8              MS. HAMILTON: Are you talking about          8        Q Okay. Very good. And then my
  9    the email of Monday, August 12, 2019, at 4:45 PM?      9   question is, is that common practice?
 10              MR. BLANKE: Yes.                            10           MR. NORWOOD: Is what common
 11          A Now I've got it. Thank you.                   11   practice?
 12              MS. HAMILTON: Okay.                         12        Q (BY MR. BLANKE) To extend 30 days.
 13          Q (BY MR. BLANKE) Okay. All that is,            13   You already testified on direct that it happens a
 14    is just a letter -- an email from Chana Morton        14   lot.
 15    saying please find attached the letter from Darlene   15        A Oh, yes.
 16    Green; right?                                         16        Q Yeah, okay. Did you discuss this
 17          A Yes.                                          17   extension with Defendant Green before granting it?
 18          Q Okay. And then if you turn the page,          18        A No.
 19    there is the letter from Darlene Green to you dated   19        Q Okay. With anyone from her office
 20    August 12. Correct?                                   20   before granting it?
 21          A Yes.                                          21        A No.
 22          Q Okay. And what is this letter?                22        Q Okay. Not Judy Armstrong, not Chana
 23          A This is a letter requesting an                23   Martin -- Morton --
 24    extension of the forced leave for Mr. Garavaglia      24        A No.
 25    from July 18 for an additional 30 days, and she       25        Q I keep saying Martin. I apologize.



                                                                                        47 (Pages 185 to 188)
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                                               Page 189                                                   Page 191
  1   Do you know whether or not Defendant Green              1   phone call?
  2   discussed this extension with Linda Thomas?             2         A No. I think what I testified to here
  3        A I don't have any direct knowledge of             3   today was I discussed what the allegations were,
  4   that. It would all be speculative.                      4   they were of a --
  5        Q Now, if I ask you to assume that                 5         Q Right.
  6   Defendant Green testified under oath that she           6         A -- very serious nature, and also that
  7   discussed this extension with Linda Thomas and with     7   they -- they -- I said do you think that this is
  8   you, would you still disagree with that?                8   something that could, if crew and true, could
  9        A I disa --                                        9   reasonably lead to, you know, termination,
 10             MS. HAMILTON: I'm going to object            10   dismissal, and Judy Armstrong said yes, you know,
 11   that it's an improper hypothetical, but subject to     11   that the auditors are also very concerned about
 12   that, you can answer to the --                         12   this.
 13             (Overtalking - inaudible.)                   13         Q Oh, so she did mention it?
 14        Q (BY MR. BLANKE) And she did that, by            14         A Yeah, she mentioned the -- their
 15   the way, on page 193, lines 1 through 3, of her        15   auditors.
 16   deposition. Go ahead.                                  16         Q In that -- in that Saturday
 17             MS. HAMILTON: You can answer, sir.           17   conversation?
 18        A I don't remember at all discussing              18         A Mm-hmm. I believe so.
 19   specifics of an extension, you know. Linda, I          19         Q Is that the first time you learned
 20   know, was originally consulted by the Comptroller      20   about an audit?
 21   about the provisions of Administrative Regulation      21         A Mm-hmm.
 22   117.                                                   22         Q This is an internal audit?
 23             My only recollection about the               23         A Well, not the first time, no. The
 24   extensions was communication I had with Ashley         24   City was going through a City-wide audit of all
 25   about trying to get forced leave, the forced leave     25   those records. My department was the very first


                                              Page 190                                                   Page 192
  1    in front of a hearing officer as soon as practical     1   one, you know, and it would take three or four
  2    because, you know, it's obviously a important issue    2   months -- I think it took three or four months to
  3    for the employee.                                      3   get through just my department.
  4         Q (BY MR. BLANKE) Is it your ordinary             4            So it was winding its way through the
  5    practice to discuss extensions with the person         5   City and the auditors were routinely, you know,
  6    requesting them before you grant the extension?        6   going through each of the different departments and
  7         A Sometimes.                                      7   were involved.
  8         Q Sometimes yes; sometimes no?                    8        Q Who were these auditors, do you know?
  9         A Sometimes no.                                   9        A Yeah, they were the auditors from
 10         Q Okay. What -- what would -- well,              10   Jefferson City who worked, you know, directly for
 11    okay. Now, why did you grant the extension?           11   Nicole Galloway.
 12         A I granted the extension because of             12        Q Did you ever find out whether or not
 13    the communication I had received from the             13   this audit of the Comptroller's office was ever
 14    Comptroller before that the state auditors, you       14   completed?
 15    know, were involved. I knew that she had planned      15        A No, I don't. I have not read the
 16    to have them involved from my original conversation   16   results.
 17    that I go back to on that Saturday, and the state     17        Q Did you ever find out any results or
 18    auditors were taking longer, as they often do.        18   findings of that audit from any source?
 19         Q So I understand this, I just want to           19        A No.
 20    be clear. Did you discuss the audit with -- with      20        Q Did you ever see any requests made to
 21    Defendant Green -- I'm sorry, with --                 21   the Comptroller's office from the auditors?
 22         A No.                                            22        A No.
 23         Q -- Judy Armstrong --                           23        Q Did you see -- did you ever see any
 24         A No.                                            24   documents or recorded statements of anyone in the
 25         Q -- on the Saturday afternoon con --            25   Comptroller's office made to the auditors?



                                                                                       48 (Pages 189 to 192)
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                                              Page 193                                                   Page 195
  1         A No.                                             1        Q I'm not -- I'm not saying there's
  2         Q Okay. So other than just being told             2   anything improper about it. I'm just asking
  3    that they were being audited, you don't know --        3   whether or not that's true?
  4    really know anything about it? About the audit of      4        A I'm just -- and I'm explaining to
  5    the Comptroller's office?                              5   you, Counselor, that they're two separate things.
  6         A I was told from the Comptroller's               6        Q Okay. So the answer is yes?
  7    office, and also from my legal counsel.                7        A Could happen at any time.
  8         Q You were told what?                             8        Q Right. So the answer is yes. Right?
  9         A That the auditor -- state auditors              9   It would --
 10    were involved.                                        10           MR. NORWOOD: Well, and -- and let me
 11         Q But I mean nothing more than that?             11   just highlight and get your concession --
 12         A No.                                            12           MR. BLANKE: I think anybody could
 13         Q That's my question. Okay. So just              13   come --
 14    to be clear, the effect of granting that extension    14           MR. NORWOOD: -- that you're not
 15    was that the hearing scheduled for August 29, the     15   suggesting that there's anything improper about it.
 16    Civil Service Commission hearing, on the second       16           MR. BLANKE: That's right.
 17    forced leave request would occur prior to the end     17           MR. NORWOOD: I mean, I just want to
 18    of the forced leave; correct?                         18   make sure she got that.
 19             (Overtalking - inaudible.)                   19           MR. BLANKE: You're right, yeah.
 20         Q (BY MR. BLANKE) Would occur prior to           20           MR. NORWOOD: Is that right, Counsel?
 21    the end of the -- of the second forced leave. You     21           MR. BLANKE: Because as -- that's
 22    gave a 30-day extension on August 18 --               22   correct, because as he --
 23             MR. NORWOOD: Oh, well, let me -- let         23           MR. NORWOOD: Okay.
 24    me object because it assumes that there was a         24           MR. BLANKE: -- just testified, it
 25    30-day extension, but subject to that.                25   happens all the time.


                                              Page 194                                                   Page 196
  1              MR. BLANKE: What do you mean? He             1              MR. NORWOOD: All right. There we
  2    testified that he granted the 30-day extension.        2   go. All right.
  3              MR. NORWOOD: He testified that he            3              MR. BLANKE: Okay. So, you know, you
  4    granted the 30-day extension. He didn't testify        4   keep reading these motives into my questions and
  5    that the Commission granted the 30-day extension.      5   it's just -- I'm just asking questions.
  6              MR. BLANKE: I understand that but            6         Q (BY MR. BLANKE) Okay. Look at the
  7    that's not my question.                                7   next -- go -- go a couple of pages in to where it
  8          Q (BY MR. BLANKE) My question is just            8   says GARAVAGLIA 374 on the bottom right. That's
  9    -- is just whether or not the effect of granting       9   the Bates stamp number. So it's about three or
 10    the 30-day extension meant that that 30-day           10   four pages and it's called Motion for Continuance.
 11    extension wouldn't expire until after the hearing     11         A I have it.
 12    date of August 23rd. Right?                           12         Q Okay. And that Motion for
 13              MR. NORWOOD: Let me object. After           13   Continuance on the second page is signed by Nancy
 14    the scheduled hearing date?                           14   Kistler and dated August 16; is that correct?
 15              MR. BLANKE: The scheduled hearing           15         A Yes.
 16    date. Right.                                          16         Q Okay. Did you know about this when
 17              MR. NORWOOD: Okay.                          17   it was done? When the motion was filed.
 18          A They're two independent types of              18         A Yes.
 19    processes. You know, the forced leave is granted      19         Q Did you know it was going to be filed
 20    for the period for which it's granted.                20   before it was filed?
 21          Q (BY MR. BLANKE) Right.                        21         A Yes.
 22          A You know, we then schedule, you know,         22         Q How?
 23    at a time when we can get a hearing officer, you      23         A Because I was working with Ashley
 24    know, an evidentiary hearing, with a low threshold,   24   McClain and coming up with a schedule for the
 25    for the meeting --                                    25   forced leave hearing and Ashley explained to me



                                                                                       49 (Pages 193 to 196)
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                                               Page 197                                                           Page 199
  1   that, you know -- and she works with the appointed      1   communication at this point in the process was
  2   authorities and the legal counsel to make sure that     2   fairly limited to working with Ashley and making
  3   there's suitable dates.                                 3   sure that the process is moving forward and the --
  4           So I heard that this was -- you know,           4   and what I remember telling her is, you know, try
  5   they were in the works in terms of trying to come       5   and get a date as -- as soon as possible. We
  6   up with an amenable date.                               6   weren't quite sure how this was all going to turn
  7        Q Well, we -- you already agreed with              7   out.
  8   me that the -- the hearing that was scheduled for       8          Q    (BY MR. BLANKE) When was the hearing
  9   August 23rd was scheduled on August the 11th;           9   that was scheduled for August 29th scheduled? When
 10   correct?                                               10   was that set? I don't mean when the hearing date
 11       A Pardon me?                                       11   was set. It was set on August the 29th. But when
 12        Q The hearing that was scheduled to               12   was that date selected?
 13   take place on August 23rd was actually scheduled on    13              MS. HAMILTON: Are you referring to a
 14   August the 11th; is --                                 14   document in this package of miscellaneous things
 15           MR. SCHMITZ: You mean 29th?                    15   here?
 16        Q (BY MR. BLANKE) I'm sorry, I meant              16              THE WITNESS: Yeah, I don't --
 17   to say 29th.                                           17              MR. BLANKE: Yes, but --
 18       A Oh, okay.                                        18              MS. HAMILTON: Is there a page that
 19        Q It was meant to be -- I'm sorry, I              19   you could point us to with this?
 20   apologize.                                             20              MR. BLANKE: We've already -- this
 21           MR. NORWOOD: Well, why don't we --             21   testimony has already occurred. I don't know why
 22        Q (BY MR. BLANKE) Let's back up.                  22   this is so hard.
 23           (Overtalking - inaudible.)                     23              MR. NORWOOD: We're trying to follow
 24           MR. BLANKE: I withdraw the whole               24   the ball on this.
 25   thing.                                                 25              MS. HAMILTON: This packet and these


                                              Page 198                                                            Page 200
  1             (Overtalking - inaudible.)                    1   questions.
  2             MR. BLANKE: I'm withdrawing the               2              MR. BLANKE: No, that's why I'm
  3    question.                                              3   asking the question.
  4        A Sorry, it's getting late in the day.             4          Q    (BY MR. BLANKE) My question is, once
  5    Pardon me.                                             5   again, for the third time, when was the August 29th
  6         Q (BY MR. BLANKE) Me too, and I think,            6   hearing date selected?
  7    you know, I -- that's what's going on here. It's       7          A   I would have to have something in
  8    not that I'm trying to trap you. It's just because     8   front of me because, again, that's not -- that was
  9    I confuse myself sometimes.                            9   not my job. I did not set the hearing dates. I
 10             But at any rate, the -- the hearing          10   asked my administrative assistant to the Civil
 11    that was scheduled before the Civil Service           11   Service Commission who has numerous hearing dates,
 12    Commission on August 29th was set -- was set long     12   you know, set with all six of our hearing -- or
 13    before this motion for continuous was filed.          13   what were six of our hearing officers.
 14        A Correct.                                        14              So in this case in particular, you
 15         Q Okay. So my question is, and you may           15   know, there -- there was a lot of different things
 16    have answered it already correctly, that you knew     16   in play so I was not sure, in terms of when it was
 17    about the Motion for Continuance prior to the time    17   set and it's not something that normally would be
 18    it was filed. Correct?                                18   brought to my attention anyway unless I were called
 19             MR. NORWOOD: Well, I think --                19   as a -- a witness or somehow personally involved.
 20    objection, I think that mischaracterizes testimony.   20          Q    Okay. Then if you'll turn the page
 21             MR. BLANKE: I don't think so but             21   about two or three pages, you'll see an Order from
 22    maybe you're right. I don't know. That's why I'm      22   Thomas Frawley. There are actually two of them.
 23    asking again.                                         23   They're both dated on August the 22nd, but I'm
 24        A I guess I don't know. I'm not an                24   talking about the shorter Order which is the second
 25    attorney, if you call this hearsay, but my            25   one that appears here that reads, (Quote as read):



                                                                                             50 (Pages 197 to 200)
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                                                    Page 201                                               Page 203
   1             Under Administrative Regulation                1   particular about Mr. Garavaglia's case, any
   2             Number 117, an employee must be --             2   questions that, if I did answer anything, would
   3             placed on forced leave may elect to            3   have just been, you know, procedural in nature and
   4             -- I'm sorry.                                  4   like how do you do this.
   5             Under Administrative Regulation                5            I mean, I think that was sort of like
   6             Number 117, an employee placed on              6   the gist of -- of, according to my conversation
   7             forced leave may elect to be placed            7   with -- with Linda, which I followed up after I got
   8             on vacation leave, but if the forced           8   the memo and thanked her, I said, you know, what --
   9             leave is disapproved, the employer             9   what's going on with this, you know, what did you
  10             (sic) will not be restored his                10   say to the Comptroller, what's going on?
  11             vacation leave.                               11            And she goes, I actually received a
  12         A Right.                                          12   phone call from her. She wanted to know about the
  13         Q (Quote as read):                                13   process for forced leave. Which isn't uncommon.
  14             Therefore, the Appointing Authority's         14   We get a lot of questions about forced leave and
  15             Motion for Continuance shall be and           15   how it works, and so it would have just been in
  16             hereby is denied.                             16   general terms about, you know, extension of forced
  17             And that's dated August 22nd.                 17   leaves and sometimes they -- the appointing
  18     Correct?                                              18   authorities ignore me anyway, so.
  19         A Yes.                                            19         Q What do you mean by that? How do
  20         Q Okay. So as a result of that Order              20   they -- how do they ignore you anyway?
  21     from the hearing officer, the hearing for             21        A Well, be prior to the change in
  22     August 29th was still going to take place?            22   October of 2019 -- actually September of 2019, that
  23         A Based on this, yes.                             23   squarely placed all police division employees under
  24         Q Yes. Okay. Now, if you'll turn the              24   civil service in the department of personnel,
  25     page again, there are -- there is a -- there is       25   administrative regulations under the collective


                                                    Page 202                                               Page 204
  1    several different memorandums that follow.               1   bargaining agreement and police manual, it was not
  2            The first in order here is a                     2   necessary for the Police Commissioner to ask
  3    memorandum to Paul Schmitz from Darlene Green dated      3   permission to place a commissioned officer on
  4    August 27th. That's a one-page memorandum. Do you        4   forced leave. He had the authority to do it.
  5    see that?                                                5            And I told them on numerous
  6        A   Yes.                                             6   occasions, you don't have to send me this and every
  7        Q    Okay. And then the second in order              7   month I would get a request for an extension from
  8    here is an earlier memorandum from the previous day      8   people. So it's just kind of typical that -- not
  9    of August 26 to Judy -- from Judy Armstrong to           9   typical but sometimes in -- with forced leave,
 10    Darlene Green, and that's two pages long; correct?      10   people were very careful and they would ask either
 11        A   I see that, yes.                                11   myself or my secretary, Chris, or Linda, or
 12        Q    And then the third is a document               12   personnel services, that they were doing forced
 13    dated also on August the 26th from Comptroller          13   leave correctly.
 14    Darlene Green but not addressed to anyone in            14        Q Okay. Following these three
 15    particular. Correct?                                    15   memoranda that you did not see, okay, is four
 16        A   Yeah. I see that.                               16   subpoenas.
 17        Q    Okay. Did you ever see these?                  17        A Mm-hmm.
 18        A   No.                                             18        Q Subpoenas Duces Tecum they're called.
 19        Q    This the first time you saw them?              19   One's to the Comptroller's Office, another is to
 20        A   Yes.                                            20   the Department of Personnel, and another is to you
 21        Q    Okay. Did you have any discussions             21   personally, and another is to Defendant Green
 22    with anyone in the Comptroller's office about the       22   personally.
 23    request to withdraw the second forced leave before      23             How do these get issued? Well, first
 24    that request was made in writing?                       24   of all, as the secretary to the Commission, do you
 25        A   I don't remember anything in                    25   know how they get issued?



                                                                                         51 (Pages 201 to 204)
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                                                        Page 205                                               Page 207
  1        A       Yeah, I have subpoena power, the                 1        Q Yeah, so he made an order on August
  2   Commission does not. So, you know, I would have to            2   22nd, in addition to his motion -- in addition to
  3   authorize by my signature any, um, you know,                  3   denying the continuance, he also ruled on the
  4   Subpoena Duces Tecum or my designee in my absence.            4   Motion to Quash the Subpoenas?
  5   I may have erred because I don't know that with               5        A That's correct.
  6   forced leave hearings, which have a different                 6        Q And he partially granted them and
  7   standard of -- of proof that Subpoena Duces Tecums            7   partially denied the motions; right?
  8   are actually issued.                                          8        A Yes.
  9                But under normal circumstances, you              9        Q Okay. So some were proper; some were
 10   know, I review the subpoena, make sure that                  10   not. Right?
 11   they're, you know, properly worded and signed, and           11        A Correct.
 12   every once in a while we'll run into an issue where          12        Q Okay. So, now, turn the page again
 13   I -- you know, if it's outside the City of                   13   after this, after the subpoenas; okay? And there
 14   St. Louis, we might have to go to Circuit Court to           14   is a letter from Darlene Green to you dated
 15   get them enforced.                                           15   August 28, 2019. August 28th is the day, the day,
 16        Q        So were you aware of any motions made          16   prior to the scheduled evidentiary hearing before
 17   by Nancy Kistler to quash any of these subpoenas?            17   the Service -- Civil Service Commission on the
 18        A       I may have read it. I don't recall              18   second forced leave. Correct?
 19   all of it.                                                   19            MS. HAMILTON: Have you got it?
 20        Q        Okay. You -- you signed them,                  20        A I don't think I -- I've got the
 21   though; right?                                               21   pre-termination hearing.
 22        A       Yes. I believe I did.                           22        Q (BY MR. BLANKE) You've gone too far.
 23        Q        So that's your approval that the               23            MS. HAMILTON: August 28.
 24   subpoena is issued; correct?                                 24        A I'm up to August 28, isn't it?
 25        A       Yes. Which would, if she felt that              25        Q (BY MR. BLANKE) Yep. Back up. Back


                                                        Page 206                                              Page 208
  1    they were improper, overly broad, it's burdensome            1   up.
  2    you know, she then has the responsibility, you               2         A  Back up? Okay.
  3    know, to file a Motion to Quash.                             3         Q  Yeah.
  4             And outside of granting an initial                  4           MS. HAMILTON: After the subpoenas.
  5    continuance on a hearing, all other motions for an           5        Q (BY MR. BLANKE) Looks like this.
  6    evidentiary hearing need to be ruled on by the               6        A Yeah, I'm sorry.
  7    hearing officer who is an attorney, so.                      7           MS. HAMILTON: I'm holding it up to
  8         Q And that happened in this case,                       8   him.
  9    didn't it?                                                   9        Q (BY MR. BLANKE) That's okay.
 10         A Yes, it did.                                         10        A Right in between the two. I see it
 11         Q Well, let me just go back and --                     11   now. I'm sorry. Thank you.
 12         A And Judge Frawley --                                 12        Q My first question is an easy one.
 13         Q And just before that Motion for                      13   That that date of August 28, 2019, is the actual --
 14    Continuance that you were looking at earlier is a           14   is the day before the scheduled Civil Service
 15    Motion to Quash Subpoenas?                                  15   Commission hearing of August 29th; right?
 16         A Yeah.                                                16        A Mm-hmm. Yes, sir.
 17         Q Made by Nancy Kistler. And then just                 17        Q Okay. And this letter purports to
 18    to refresh your recollection, I'm just --                   18   withdraw her request for forced leave; is that
 19         A Sorry.                                               19   correct?
 20         Q -- asking you to glance over that.                   20        A Yes.
 21         A Yeah, this is with Judge Frawley                     21        Q And that would be the second time
 22    getting back at me and telling me I made an error           22   that she withdrew it?
 23    probably.                                                   23        A Yes.
 24         Q Well, partially; right?                              24        Q Now, in this letter to you from
 25         A Yeah.                                                25   Defendant Green, she states that she'd like to


                                                                                           52 (Pages 205 to 208)
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                                              Page 209                                                             Page 211
  1    withdraw the request that she made on July 18,         1        Q Now, this letter from Ashley goes to
  2    2019. Do you see that?                                 2   the two attorneys. My question now is, do you have
  3         A Yes.                                            3   any reason to believe that Darlene Green knew that
  4         Q But she didn't make the request on              4   this was the case before she made her motion to
  5    July 18, 2000 -- on August 18, 2019. She made it       5   withdraw her second forced leave request?
  6    on August 12, 2019. Correct?                           6            MR. NORWOOD: Objection. Vague and
  7         A Yes. I think --                                 7   ambiguous. Knew what -- what was the case?
  8             MS. HAMILTON: I'm -- wait a minute.           8        Q (BY MR. BLANKE) Do you have any
  9         A I think that's -- we've already                 9   reason to believe that she would have known that by
 10    talked about why the extension went to --             10   withdrawing her second request for forced leave,
 11         Q (BY MR. BLANKE) Yeah.                          11   that this hearing would have been -- would not have
 12         A -- August 18 --                                12   taken place --
 13             MS. HAMILTON: I just think you               13            MS. HAMILTON: And I would --
 14    said --                                               14        Q (BY MR. BLANKE) -- as a result of
 15         A -- instead of August 12th.                     15   that second leave being withdrawn?
 16             MS. HAMILTON: -- the wrong dates.            16            MS. HAMILTON: And I would just
 17             THE WITNESS: Yeah, I know it --              17   object to the extent that you might be getting into
 18             MS. HAMILTON: I'm going to say that          18   attorney-client privilege information and instruct
 19    again. I think you got the wrong dates.               19   the witness, again --
 20             MR. NORWOOD: You said July 12th.             20            MR. BLANKE: What do you mean?
 21             MR. BLANKE: I did? Okay. I'll say            21            MS. HAMILTON: -- not to get into any
 22    it again.                                             22   privileged conversations.
 23         A August 12th, 2019.                             23        Q (BY MR. BLANKE) Okay. Other than
 24         Q (BY MR. BLANKE) So -- so -- yeah.              24   that.
 25             MS. HAMILTON: Yeah, let's just do            25        A Yeah, I really don't have a -- a


                                              Page 210                                                            Page 212
  1    that one again.                                        1   response to that. I mean, I would decline to
  2             MR. BLANKE: Oh, I see what you mean.          2   respond because it was based on, um -- any
  3    Yeah, okay.                                            3   knowledge I had would be based on my communications
  4         Q (BY MR. BLANKE) Yeah, so she refers             4   with -- with Deputy City Counselor, Nancy Kistler.
  5    to her letter dated July 18th and it was actually      5       Q    I think you maybe misunderstand that
  6    July 12th. Is that correct? But it was to be           6   question. I'm not asking you anything about the
  7    effective July 18th. We've talked about that.          7   City Counselor's office at all. I'm asking you
  8         A Yes.                                            8   whether or not you have any reason to believe that
  9         Q Right. But her letter was actually              9   the Comptroller would have known that the effect of
 10    July 12th?                                            10   withdrawing the forced leave would have resulted in
 11         A Yeah, I -- I agree with you on that.           11   the cancellation of the hearing.
 12         Q Okay. Okay. Now, turn the page yet             12           MS. HAMILTON: And I think his answer
 13    again, and there's a letter from Ashley McClain to    13   is that you're asking him to reveal substance of
 14    the two attorneys, Nancy Kistler and Paul Schmitz.    14   conversations that he had with Nancy Kistler. Did
 15    And what -- what is -- what is Ashley purporting to   15   you hear him?
 16    do here? What is she advising here?                   16           MR. NORWOOD: She can read it back.
 17         A She's advising that due to the fact            17       Q    (BY MR. BLANKE) Why -- why would
 18    that the Comptroller has requested to withdraw the    18   Nancy -- that you had with Nancy Kistler?
 19    forced leave, that the -- there's no reason for the   19       A    Yes.
 20    hearing. I mean, the hearing would -- would have      20       Q    So you didn't know that yourself,
 21    been null and void because Mr. Garavaglia would       21   that it would result in the -- in the cancellation
 22    have been made whole by virtue of the fact that the   22   of the hearing?
 23    forced request dating all the way back to that date   23           MS. HAMILTON: That wasn't the
 24    of July 12, I guess it was or whatever, whenever --   24   question.
 25    he -- he would be made whole as of that date.         25           MR. NORWOOD: That wasn't --



                                                                                           53 (Pages 209 to 212)
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                                               Page 213                                                  Page 215
  1        A      You weren't asking me.                      1            THE REPORTER: I have talk from
  2              MS. HAMILTON: That wasn't your               2   Ms. Hamilton, Mr. Norwood, that -- but I don't have
  3    question.                                              3   an answer.
  4         Q (BY MR. BLANKE) Why would you have              4            MS. HAMILTON: Maybe he asked the
  5    learned --                                             5   same question twice, but I heard him answer that
  6              MS. HAMILTON: Your question was              6   question. So.
  7    about --                                               7        Q (BY MR. BLANKE) So can you answer --
  8              MR. BLANKE: Oh, I see. I see.                8            MR. NORWOOD: Well, why don't you
  9         A The rest of it, pardon me, is                   9   answer -- ask it again, so we can object again, so
 10    speculative.                                          10   we can be confused again, by your question. But go
 11              (Overtalking - inaudible.)                  11   ahead.
 12              MR. BLANKE: So -- so, you know,             12            MR. BLANKE: You can read back the
 13    okay, you know, this is ridiculous. This              13   question another time.
 14    attorney-client privilege has no application to       14            MS. HAMILTON: Oh, my God.
 15    this question at all.                                 15            MR. BLANKE: I don't want to rephrase
 16         Q (BY MR. BLANKE) If -- if you -- so             16   it. We'll be talking about three different things.
 17    -- so it's your testimony that -- that you're --      17            THE REPORTER: "I'm asking you
 18    you don't want to answer this question because of     18   whether or not you have any reason to believe that
 19    what Nancy Kistler may have told Darlene Green; is    19   the Comptroller would have known that the effect of
 20    that what --                                          20   withdrawing the forced leave would have resulted in
 21              MS. HAMILTON: And you can --                21   the cancellation of the hearing."
 22         Q (BY MR. BLANKE) -- you're saying?              22            MS. HAMILTON: And my objection is
 23              MS. HAMILTON: And you can --                23   that to the extent that the conversation anything
 24         Q (BY MR. BLANKE) Is -- is that right?           24   that is attorney-client privileged, I would
 25              MS. HAMILTON: You can read back his         25   instruct the witness not to answer. I would also


                                               Page 214                                                  Page 216
  1    answer to the prior question. Could you read back      1   object that it calls for speculation. Subject to
  2    his answer to the prior question, please?              2   that, you can answer.
  3             THE REPORTER: Which question?                 3            MR. NORWOOD: Unless it would breach
  4             MS. HAMILTON: The prior -- the one            4   the attorney-client privilege.
  5    immediately prior to this.                             5        A I think it would breach it because it
  6             THE REPORTER: "I'm asking you                 6   was a matter that I discussed with the City
  7    whether or not you have any reason to believe that     7   Counselor, and I routinely discussed --
  8    the Comptroller would have known that the effect of    8            MS. HAMILTON: And that's --
  9    withdrawing the forced leave would have resulted in    9        Q (BY MR. BLANKE) Let me ask this
 10    the cancellation of the hearing."                     10   question. Did you know before the -- as -- as the
 11             MS. HAMILTON: I'm sorry, the answer          11   secretary to the Commission and the director of the
 12    to the question, sorry.                               12   Department of Personnel, when a forced leave
 13             THE REPORTER: There wasn't an                13   request is withdrawn and a Civil Service Commission
 14    answer. That's when you all started --                14   has already been scheduled for that forced leave,
 15             MR. NORWOOD: And then there was an           15   does that have the effect of canceling the hearing?
 16    answer that following.                                16        A Yes, it does.
 17             THE WITNESS: May I answer this?              17        Q And how did you know that?
 18             MR. NORWOOD: Well, no, no, no --             18        A Because that's policy -- I mean
 19             (Overtalking - inaudible.)                   19   that's just procedure. I mean, there's no --
 20             THE WITNESS: -- ordering me not to,          20        Q Where does it come from, that
 21    I'm confused.                                         21   procedure?
 22             MR. BLANKE: That's the only question         22        A The evidentiary hearing process
 23    I asked.                                              23   outlines, you know, what would happen and there's
 24             MR. NORWOOD: Hold on, hold on,               24   no matter at -- at contest anymore. There -- it's
 25    let's --                                              25   gone. It's null and void.



                                                                                       54 (Pages 213 to 216)
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                                              Page 217                                                             Page 219
  1        Q And that should be apparent to                   1       A    Absolutely.
  2   anybody, wouldn't you agree?                            2       Q      -- and it gets done. When she says
  3        A I would agree to that.                           3   she wants to withdraw it, it's withdrawn,
  4        Q So would you agree that Darlene                  4   basically?
  5   Green, being anybody, would have known that, even       5       A    Yes.
  6   aside from whatever she may have learned from the       6       Q      You're just acknowledging the fact.
  7   Counselor's office?                                     7       A    Yes.
  8           (Overtalking - inaudible.)                      8       Q      Okay. And once again, and I
  9           MS. HAMILTON: I object that it calls            9   apologize if I -- if this was asked already. I
 10   for speculation.                                       10   just don't remember the answer if you did. Did you
 11           THE WITNESS: Yeah.                             11   have any discussions with Defendant Green or anyone
 12           MR. NORWOOD: Yes.                              12   in her office about the request to withdraw this
 13           MS. HAMILTON: Subject to that, you             13   forced -- the second forced leave?
 14   can answer.                                            14           MR. NORWOOD: Objection --
 15        A I would say it's speculative. I have            15       Q      (BY MR. BLANKE) Any oral
 16   seen attorneys who have misspelled and -- and          16   conversations?
 17   misnumbered things. I have seen plenty of              17           MR. NORWOOD: Objection, asked and
 18   engineers with Master's degrees who can't              18   answered.
 19   understand simple provisions. So it would be           19       Q      (BY MR. BLANKE) Subject to that.
 20   speculative.                                           20       A    I -- my recollection is that the two
 21           I mean, I've already testified with            21   people with whom I had conversations with about the
 22   all due deference to Comptroller Green's financial     22   withdrawal of the forced leave were Nancy Kistler
 23   acumen. I've already testified she asked about         23   and Ashley McClain.
 24   routine procedures of forced leave from Ms. Thomas.    24       Q      That's it?
 25   This was a complex one, so that's my answer.           25       A    That's, yeah, to the best of my


                                              Page 218                                                            Page 220
  1          Q (BY MR. BLANKE) Let me ask you this.           1   recollection.
  2    Do you have -- I see that you approved both of the     2       Q      Okay. Do you know whether Linda
  3    withdrawals of the forced leave that she asked for.    3   Thomas or Ashley McClain had any conversations with
  4    Correct?                                               4   anyone in the Comptroller's office about their
  5             MS. HAMILTON: I would object that             5   withdrawal of the second forced leave?
  6    that mischaracterizes --                               6       A    I don't know, sir.
  7          Q (BY MR. BLANKE) That's not correct?            7       Q      Okay. Let's -- let's go to the black
  8             MS. HAMILTON: -- the witness's                8   book. Which has in it the pre-termination letter
  9    testimony.                                             9   which is --
 10          A It's not correct because it's a --            10           MR. NORWOOD: Tab 10.
 11    it's not even like a writ of mandamus kind of         11           MR. BLANKE: Thank you. Tab 10.
 12    issue. It's -- it's just a formal recognition is      12           (Overtalking - inaudible.)
 13    all.                                                  13       Q      (BY MR. BLANKE) This letter is the
 14          Q That was my next question.                    14   pre-termination letter --
 15          A Yeah.                                         15           MR. NORWOOD: Well, just for -- for
 16          Q You don't have to approve that?               16   the record, we're talking about Frank --
 17    That's something --                                   17       Q      (BY MR. BLANKE) Exhibit 10.
 18          A No, I don't have to.                          18           MR. NORWOOD: -- Depo Exhibit 10.
 19          Q Right.                                        19           MR. BLANKE: That's correct.
 20          A She could rescind it at any time.             20       A    Thank you.
 21          Q Right.                                        21       Q      (BY MR. BLANKE) This letter, on the
 22          A That's -- that's not under my                 22   third page, which is Bates numbered STL001310,
 23    control.                                              23   shows on the bottom that a copy was sent to you.
 24          Q So that's something that she did on           24   Correct?
 25    her own and --                                        25       A    Yes.



                                                                                           55 (Pages 217 to 220)
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                                              Page 221                                                   Page 223
  1         Q Okay. And did you receive it and                1   scheduling it, et cetera.
  2    read it?                                               2            And so, you know, that kind of
  3         A Yes.                                            3   cross-communication, other than just discussion of
  4         Q Okay. Do you remember when,                     4   policies and procedures, would -- would be outside
  5    approximately?                                         5   of something we would get involved with.
  6         A I remember it was after it was                  6        Q What -- what about Linda Thomas?
  7    already delivered to -- or sent, I should say, to      7   Would it have been improper for her to discuss
  8    -- and dated to Mr. Garavaglia. I had no input or      8   these allegations?
  9    knowledge of any of the specific contents of it        9            MR. NORWOOD: Well, let me -- let me
 10    prior to that.                                        10   object on the term "improper" because it's vague
 11         Q Did you discuss all of these charges           11   and ambiguous and could call for a legal
 12    that are contained in this letter with Defendant      12   conclusion.
 13    Green or anyone in her office?                        13        Q (BY MR. BLANKE) Well, improper for
 14         A No.                                            14   any reason because I -- I'm just picking that up
 15         Q Do you know whether Ashley -- excuse           15   from what you said in your answer that you thought
 16    me. Do you know whether Linda Thomas ever             16   that it would have -- maybe you were just referring
 17    discussed these charges that are contained in the     17   to Ashley McClain.
 18    pre-termination letter with -- with anyone in the     18       A I was referring to Ashley McClain and
 19    Comptroller's office?                                 19   myself as secretary, I wear different hats. Admin
 20         A Ms. Thomas, um, explained to me, when          20        Q Right.
 21    she heard that I had a deposition this week, that     21       A So while I might review a
 22    she only discussed with Comptroller Green the         22   pre-termination packet to make sure that it
 23    procedures as outlined in Administrative Regulation   23   complies with Admin Reg 117 fully and the tenets of
 24    117 and none of the specifics.                        24   due process, you know, I'm not looking to see if
 25         Q How about anyone else in your office?          25   they've proved up the charges or et cetera. That's


                                              Page 222                                                   Page 224
  1    Did anybody else in your office, to the best of        1   my role as director of personnel.
  2    your knowledge, discuss the contents of the            2             As secretary, I'm just making sure
  3    allegation -- the charges against Mr. Garavaglia       3   that other kinds of things, you know, under the
  4    that are contained in Exhibit Number 10?               4   Commissions purview are proper, et cetera, and
  5         A None to my knowledge, and I have                5   that's Ashley's role.
  6    every confidence and belief that my former             6             Linda Thomas, you know, would have
  7    administrative assistant, Ashley McClain, would not    7   been, you know, capable of speaking to, you know,
  8    have discussed them. She had impeccable sense of       8   any employee about -- or I'm sorry, any appointing
  9    integrity and propriety and a long history of legal    9   authority about, you know, disciplinary issues, but
 10    background, so I -- I -- I have no reason to          10   I think I've already stated that, based on a recent
 11    believe she would have discussed any specifics        11   conversation I had with Miss Thomas, she explained
 12    about this. And --                                    12   to me that the only conversation she had in this
 13         Q Why -- why -- do you -- that sort of           13   whole business was answering the Comptroller's
 14    suggests to me that you think it would have been      14   initial questions about Administrative Regulation
 15    improper for her to do that. Is -- is that what       15   117, and she really had no interest in getting
 16    you're saying?                                        16   involved with it, quite frankly.
 17         A Be -- I would say that because we              17         Q Okay. How does that scheduled
 18    don't get into -- it's not our job to be the          18   hearing of 29th, how does it actually get canceled?
 19    adjudicator --                                        19   Is it just -- does it automatically get canceled?
 20         Q Okay.                                          20   Or does the Commission cancel it? Or does Ashley
 21         A -- you know, of an appeal to the               21   cancel it?
 22    Commission. She's there to assist the -- the          22         A Not the Commission. Ashley would
 23    judicial officer -- I'm sorry, the quasi-judicial     23   cancel it.
 24    officer, the hearing officer, in terms of trans --    24         Q She cancels it herself?
 25    you know, taking the tape, transcribing it,           25         A Yes. And she would do that, sir, in



                                                                                       56 (Pages 221 to 224)
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                                              Page 225                                                   Page 227
  1    conjunction with the -- the hearing officer. She       1   wasn't sure if it was completed and they just
  2    would notify the hearing officer, first, of course,    2   hadn't issued it yet, or if, you know, they were
  3    as a courtesy, and then immediately the parties so     3   still looking into it. I mean, this has been
  4    we don't have people showing up.                       4   months ago, so.
  5         Q Did you ever have any discussions               5          Q And -- and you wouldn't have any
  6    about approving Defendant Green's requests for         6   personal knowledge as to whether -- which of those
  7    forced leave, or her request to withdraw the forced    7   two things it might be?
  8    leaves, with anyone outside of the Comptroller's       8          A No, I would not.
  9    office? Or the Department of Personnel? Anyone         9          Q Do you remember anything else?
 10    outside of these two departments. Your department     10   Anything more specific. About the audit.
 11    or the Comptroller's office. Anyone else?             11          A No, not about the audit at all. I
 12         A Yes. Nancy Kistler.                            12   remember mine. I was really happy with that, but
 13         Q Anyone else?                                   13   other than that, no.
 14         A No.                                            14          Q Well, do you have anything -- was
 15         Q Did you ever receive any pressure of           15   there anything else specifically that you recall
 16    any kind from anybody, in or out of the City, to      16   that was discussed besides what you just said?
 17    approve the forced leaves?                            17          A No, I think that just the other thing
 18         A No.                                            18   I, and just in an abundance of transparency, I
 19            MR. BLANKE: Okay. I need to take a            19   never had a conversation about the -- the case or
 20    five-minute break. We might be done, but I just       20   the allegations or anything, but the only other
 21    want to take a five -- a -- just a five-minute        21   person I talked to was Chana when she would say the
 22    break.                                                22   Comptroller's on the phone, you know.
 23            MR. NORWOOD: Fair enough.                     23          Q Well --
 24            THE VIDEOGRAPHER: Time is 3:38 PM,            24          A That -- that's it.
 25    we are off the record.                                25          Q Sticking with this conversation with


                                              Page 226                                                   Page 228
  1            (Off the record.)                              1   Green, though, in 2021, did you -- did she discuss
  2            THE VIDEOGRAPHER: The time is 3:56             2   anything with you specifically with regard to what
  3    PM, we are back on the record.                         3   she was worried about with regard to the audit?
  4        Q (BY MR. BLANKE) So, Mr. Frank, in                4        A No. As a matter of fact, just to
  5    your conversations with Defendant Green, I think       5   amplify on that, I didn't even know that -- that
  6    you said in 2021 after the lawsuit was filed, I        6   municipal courts was involved. I stated I thought
  7    think?                                                 7   it was something to do with corrections, but --
  8        A Mm-hmm. Yes.                                     8        Q What does that mean?
  9        Q And it was about Garavaglia's forced             9        A Pardon?
 10    leaves, I take it? The conversation?                  10        Q What do you mean, corrections? What
 11            MR. NORWOOD: Well, let me object              11   does that mean?
 12    because that mischaracterizes his testimony.          12        A The correctional division, I thought
 13        Q (BY MR. BLANKE) Okay. What was it               13   there might have been some concerns about the
 14    about?                                                14   correctional division, but --
 15        A The conversation was actually about             15        Q She said that, or you just thought
 16    concerns about the state audit.                       16   that?
 17        Q And what -- what specifically were              17        A No, I -- I might have thought that --
 18    her concerns?                                         18   I might have been mistaken because I was also
 19        A Just that there was going to be                 19   called -- called as an expert witness in some -- by
 20    negative findings about the Comptroller's office's    20   a different firm about some issues with
 21    result of things that occurred in the office, so.     21   corrections, so it just may -- may have -- may have
 22        Q Did she give you the impression that            22   been, you know, my memory.
 23    the audit was still ongoing? The audit of the         23            I thought that during the initial
 24    Comptroller's office?                                 24   conversation, though, that Judy Armstrong had --
 25        A It was kind of ambiguous. I -- I                25   had mentioned that as a particular department but


                                                                                      57 (Pages 225 to 228)
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                                             Page 229                                                   Page 231
  1   I'm not sure. We did not discuss any of the            1   was ongoing during this period of time. Is that
  2   specifics other than the gravity of what the           2   your understanding?
  3   allegations were.                                      3       A Yes.
  4        Q I'm lost as to why the -- what does             4       Q All right. And at the time you had
  5   the Department of Corrections have to do with          5   your discussion with Judy Armstrong that you
  6   anything? Would --                                     6   identified on this Saturday before the
  7        A I'm not sure that it does. I just               7   pre-termination notice -- so we're talking about
  8   said I thought that Judy Armstrong started, you        8   the Saturday before July 2nd; right?
  9   know, a discussion that there were perhaps problems    9       A Yes.
 10   with something to do in corrections. In -- in         10            MR. BLANKE: You said -- you said
 11   terms of -- of, um, you know, the funds or            11   "pre-termination."
 12   contracts or whatever. We didn't get into specific    12            MR. NORWOOD: I'm sorry --
 13   details about it.                                     13            (Overtalking - inaudible.)
 14        Q Okay.                                          14            MR. NORWOOD: -- let me withdraw.
 15        A But I don't remember ever having               15            (Overtalking - inaudible.)
 16   heard anything.                                       16       Q (BY MR. NORWOOD) The forced leave.
 17        Q Would this have related to anything            17       A Yes.
 18   that had to do with -- with Mr. Garavaglia?           18       Q The first forced leave.
 19        A Yeah, it was -- it would have been in          19       A Yeah.
 20   connection with the original conversation that I      20       Q Okay. July 2, 2019, was the first
 21   had with Judy Armstrong that was set up by Chana      21   forced leave notification and communication and
 22   Morton that Saturday. But I'm -- I'm not sure it      22   approval by you; correct? July 2nd --
 23   was corrections or not. I -- I might have been        23       A Right.
 24   mistaken with that.                                   24       Q -- 2019; right?
 25        Q Did you take any notes of that -- of           25       A Yeah, and I don't have my calendar.


                                             Page 230                                                   Page 232
  1    either of those conversations?                        1   I believe that would be a Monday. It was a Monday.
  2          A No, no, no, be -- no, I did not. I            2        Q Whether it was a Monday or a
  3    had asked them again pur -- and reminded them that    3   Tuesday --
  4    pursuant to the administrative regulation, that       4        A It was --
  5    they needed to follow up with me within the 72        5        Q -- the Saturday before that is when
  6    hours and, you know, to request that and --           6   you would have had the conversation.
  7          Q To the best of your knowledge, when           7        A Yes. That, I recall.
  8    you were talking to Miss Green in 2021 -- first of    8        Q All right. And do you know what
  9    all, that was a phone call, or on -- or in person?    9   additional information was unearthed between the
 10          A No, I haven't seen Miss Green for            10   time you had the discussion with them the Saturday
 11    some time. It was a phone call. She called me        11   before the first forced leave and the time when the
 12    maybe at like 5:30, 6 o'clock at night.              12   pre-termination notice was actually issued in
 13          Q Do -- do you know whether there was          13   August?
 14    anyone else on the phone, on that phone              14        A In August? No.
 15    conversation?                                        15        Q I mean, so in other words, you don't
 16          A No, there would not have been because        16   know what was being unearthed during this
 17    this was from her private number.                    17   investigative process; is that a fair statement?
 18          Q Okay. And -- anything else?                  18        A Very fair.
 19             MR. BLANKE: That'll be it for now.          19        Q All right. And is it common for
 20                RE-EXAMINATION                           20   appointing authorities to provide you with that
 21    QUESTIONS BY MR. NORWOOD:                            21   kind of detail in order to get you to approve or
 22          Q Okay. Let me try to wind things down         22   sign off on a forced leave?
 23    quickly. Do you know -- well. Throughout the         23        A No, they generally just talk to me
 24    correspondence and communication and your            24   about what type of general behavior, like bullying,
 25    understanding, this was a -- an investigation that   25   harassment, refusal -- I mean refusal to test for



                                                                                     58 (Pages 229 to 232)
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                                              Page 233                                                   Page 235
  1    drugs, alcohol, drug alcohol failure.                  1   Deputy City Counselor.
  2             As a matter of fact those are even            2         A Yeah.
  3    delegated to my employee relations manager. So         3         Q Thank you.
  4    they typically just will give me an outline that       4            And so it was your understanding that
  5    there was serious harassment at work, or               5   she was working with counsel to -- as part of this
  6    falsification of records, things like that.            6   process?
  7         Q But not the details about the                   7         A Yes.
  8    specifics, allegations, or anything of that sort?      8         Q All right. Based upon your
  9         A No. The details are required in the             9   interactions with the Comptroller's office, was it
 10    pre-disciplinary review notice or the                 10   your impression that they were trying to make sure
 11    pre-termination hearing -- or not hearing,            11   that this thing was done correctly in accordance
 12    pre-termination review notice. That's when, under     12   with the procedures in your office and the
 13    our rules and under our perception of -- of due       13   administrative regulations?
 14    process, that you need to give the person ample       14         A Yes, sir, I -- I believe so because
 15    time to review and -- and really list through those   15   that's why they called me on a Saturday afternoon
 16    specifics.                                            16   and still waiting -- until waiting for Monday
 17         Q Okay. Do you know if the                       17   morning.
 18    Comptroller's office prepared different drafts of     18         Q Okay. I want to get some clarity on
 19    communications before they were either sent out       19   the question of the forced leave and your approval.
 20    to you or before they may have been sent out to       20   If a request for forced leave comes to you and you
 21    Mr. Garavaglia? Do you know that?                     21   don't approve it, can the appointing authority make
 22         A I had no personal knowledge of that            22   it happen on their own without your approval?
 23    until when I saw the different letters today.         23         A No, it's discretionary.
 24         Q Okay. So -- so that's something you            24         Q With you?
 25    wouldn't have been privy to in terms of --            25         A Yes. With me.


                                              Page 234                                                   Page 236
  1          A No.                                            1        Q So you're -- you're -- if you, in
  2          Q -- what was happening internally in            2   this case, decided that the forced leave was
  3    her office regarding draft communications; correct?    3   improper and you disapproved it, that would have
  4          A No. Sometimes some appointing                  4   been the end of it; correct?
  5    authorities will, rarely, but sometimes they might     5        A Yes.
  6    give me a draft letter to review, but usually they     6        Q All right. And that's by the
  7    do not.                                                7   regulation?
  8          Q Okay.                                          8        A Yes.
  9          A Usually do not.                                9            MR. BLANKE: Objection, leading.
 10          Q And you've testified that it was your         10   Try.
 11    understanding the Comptroller's office was working    11        Q (BY MR. NORWOOD) All right. Is it
 12    with the City Counselor's office through Miss         12   by the regulation?
 13    Kistler in this process; correct?                     13        A It is by the regulation.
 14          A Yes.                                          14        Q And the regulation we're talking
 15             MR. BLANKE: Let me just object, I            15   about is Administrative Regulation 117 --
 16    still don't think that in redirect you can lead the   16        A Yes.
 17    witness, so leading.                                  17        Q -- is that right?
 18          Q (BY MR. NORWOOD) Well, do you know            18        A That is correct.
 19    whether or not the Comptroller was working with       19        Q All right. And -- and just so I'm
 20    Assistant City Counselor Nancy Kistler as it          20   clear and the record's clear, is it -- do different
 21    relates to this matter?                               21   appointing authorities reach out to you in your
 22             MS. HAMILTON: Deputy.                        22   office in order to get clarity on procedures as it
 23          A Yes. Deputy City Counselor Nancy              23   relates to forced leave, pre-termination; is that
 24    Kistler.                                              24   common?
 25          Q (BY MR. NORWOOD) Okay, I'm sorry,             25        A They did it frequently.


                                                                                      59 (Pages 233 to 236)
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                                              Page 237                                                   Page 239
  1          Q Okay. And you talked about forced              1   already clear on multiple records, but if you look
  2    leave being one of those things that is tricky?        2   at the August 28, 2019, letter from Ashley McClain
  3          A Yes.                                           3   to Mr. Schmitz and to Miss Kistler, I think we read
  4          Q All right. And so in that context,             4   through some of that, but I want to focus on the
  5    were you getting a lot of requests?                    5   next to last paragraph.
  6          A Yes.                                           6            MR. BLANKE: Where -- where are you
  7          Q For clarity?                                   7   now?
  8          A Yes.                                           8            MR. NORWOOD: August 26, (sic), 2019,
  9          Q Okay. Let's go to -- this is the               9   letter from Ashley McClain to Mr. Schmitz and Miss
 10    packet that we received from counsel --               10   Kistler.
 11          A Thank you.                                    11            MR. BLANKE: Okay.
 12          Q (BY MR. NORWOOD) -- the non-indexed           12            MR. NORWOOD: You talked about it.
 13    batch --                                              13            MR. BLANKE: Okay.
 14             (Overtalking - inaudible.)                   14        Q (BY MR. NORWOOD) Do you have it?
 15          Q (BY MR. NORWOOD) -- of documents.             15        A Yes, I do.
 16             MR. BLANKE: Do you have --                   16            MR. NORWOOD: Do you have it?
 17          Q (BY MR. NORWOOD) And so --                    17            MR. BLANKE: Not yet, but I will. Go
 18             MR. BLANKE: This may be yours.               18   ahead.
 19          Q (BY MR. NORWOOD) -- if we could look          19            MR. NORWOOD: Do you have it?
 20    at page 215, it's GARAVAGLIA 215?                     20            MR. BLANKE: I'm familiar with it,
 21          A I just opened to it. Pardon me.               21   but go ahead.
 22    It's funny after I didn't find anything all           22            MR. NORWOOD: Okay.
 23    afternoon.                                            23        Q (BY MR. NORWOOD) All right. The
 24          Q But you're right there. All right.            24   last sentence says -- and this was after it was
 25          A Pardon me. Okay.                              25   approved to officially withdraw the request for


                                              Page 238                                                   Page 240
  1         Q All right. You must be ready to go.             1   forced leave dated July 18, 2019. After that, as
  2    July 23, 2019, that is the letter from Mr. Paul        2   part of that communication from Miss McClain, the
  3    Schmitz to the Civil Service Commis -- Miss McClain    3   third paragraph says, quote, (Quote as read):
  4    at the Civil Service Commission; correct?              4             Any accrued leave time Mr. Garavaglia
  5         A Yes.                                            5             used during this period of forced
  6         Q And in that letter, if we go to the             6             leave from July 18, 2019, through
  7    second line, it says, quote, (Quote as read):          7             August 28, 2019, shall be restored.
  8             As a new notice was issued on                 8             Do you see that?
  9             July 18, 2019, this letter serves as          9        A Yes.
 10             timely notice of his request to              10        Q And is it your understanding that in
 11             appeal this second placement of              11   fact that did occur?
 12             forced leave effective July 18, 2019,        12        A Yes. That would -- that would occur
 13             by the Appointing Authority, Darlene         13   because a copy of this would have gone to my
 14             Green, the Comptroller, City of              14   executive secretary who would take it to personnel
 15             St. Louis.                                   15   services who would physically make sure that was
 16             Do you see that?                             16   done.
 17         A Yes.                                           17        Q Okay. And so effectively, it's like
 18         Q So that -- does that suggest to you            18   it didn't happen?
 19    that at least as of July 23, 2019, Mr. Garavaglia     19        A Pro forma, yeah, yeah.
 20    and Mr. Paul -- Paul Schmitz had received             20        Q Right. And then Mr. Garavaglia was
 21    notification of this July 18, 2019, forced leave      21   getting paid during this particular time?
 22    letter?                                               22        A Yes.
 23         A Yes.                                           23        Q Okay.
 24         Q All right. And I just want to make             24            MR. NORWOOD: All right. I have no
 25    sure we get clear on the record, and I think it's     25   further questions at this time.


                                                                                      60 (Pages 237 to 240)
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                                              Page 241                                                   Page 243
  1               MR. BLANKE: Um, are you going to ask        1   different between -- if the civil service -- about
  2    any questions?                                         2   restoring vacation time, is the rule different
  3               MS. HAMILTON: No.                           3   about restoring vacation time when the Civil
  4               MR. BLANKE: Okay. Hold -- hold on           4   Service Commission overrules the forced leave
  5    one second.                                            5   versus when the Comptroller withdraws the forced
  6               (Off the record.)                           6   leave?
  7               MR. BLANKE: Okay, I do have a               7        A No. The rule can't be different
  8    question.                                              8   because it's not only contained in my
  9                  RE-EXAMINATION                           9   administrative regulation, but it's also contained
 10    QUESTIONS BY MR. BLANKE:                              10   in, you know, our compensation ordinance, which is
 11          Q You saw Judge Frawley's Order that            11   adopted into law by the Civil Service Commission,
 12    says that if a Civil Service Commission overruled     12   the Board of Aldermen, and the mayor.
 13    the forced leave, any vacation time that he took      13        Q Okay. So I am completely flummoxed,
 14    would not be restored; correct?                       14   and it's probably my fault, but Miss McClain is
 15          A That's correct.                               15   saying in this letter of August 28, and I quote,
 16          Q The rule is different when the                16   (Quote as read):
 17    request is withdrawn?                                 17            Any accrued leave time Mr. Garavaglia
 18          A If the request is withdrawn, then             18            used during this period of forced
 19    it's as if the employee were never on forced leave    19            leave from July 18, 2019, through
 20    and they would be paid for any time they were         20            August 28, 2019, shall be restored.
 21    taking except for the fact that their vacation        21            Did I read that correctly?
 22    would not be restored if they took that vacation      22        A No, actually, that's -- that's a good
 23    time.                                                 23   -- a good catch and, again, this is a -- a tricky
 24          Q So -- so then this is not correct.            24   thing, but a rescission is if it never happened.
 25    This letter from Miss McClain. This sentence that     25   So I mean that would be correct. And my opinion as


                                              Page 242                                                   Page 244
  1    Mr. Norwood just read. McClain says "Any accrued       1   former director is if you rescind it and you used
  2    leave time." Not paid -- paid -- not paid -- not       2   any -- any time, but that might call for a legal --
  3    payments but (Quote as read):                          3           MR. NORWOOD: Yeah, let's not --
  4             Any accrued leave time that                   4        A -- rendering, I -- that's a little
  5             Mr. Garavaglia used during this               5   over my head right now.
  6             period of forced leave shall be               6           MR. NORWOOD: All right. Great.
  7             restored.                                     7        Q (BY MR. BLANKE) Well, then, I won't
  8             That's not correct, then, is it --            8   ask for what your opinion is on the merits of that
  9             MR. NORWOOD: Well --                          9   question --
 10         Q (BY MR. NORWOOD) -- or is it?                  10        A Yeah.
 11             MR. NORWOOD: -- let me object that           11        Q -- but so is it now your testimony
 12    assumes facts that are inconsistent with your         12   that you don't know whether what she's saying is
 13    client's affidavit. But subject to that.              13   correct or not?
 14         A What Ms. McClain is saying is that             14        A Yeah, in the case of -- I -- I don't
 15    any that he used should be restored, you know, if     15   know for certain if the -- because what -- what I
 16    he chose to use it, you know, so -- so that's --      16   am aware of are the parameters of the -- the
 17    that's the point, is that Ms. McClain, since there    17   Administrative Reg 117, which states that, again,
 18    was no forced leave hearing, you know, wouldn't       18   if you use the time to stay in paid -- paid status
 19    necessarily know whether or not, you know, the        19   when you're in forced leave, you know, and then --
 20    person had chosen to take accrued vacation and        20   then you're paid, you know, that's it.
 21    compensatory leave or not, just as like I wouldn't.   21           But, you know, a rescission of a
 22             That's not something we would                22   forced leave isn't entirely different. In that
 23    normally know until some kind of hearing and          23   case, you know, if you used your time, that time
 24    resolution, you know, were -- were reached.           24   would be restored, and we've done that in the past.
 25         Q (BY MR. BLANKE) Is the rule                    25           So I believe Miss McClain's correct


                                                                                       61 (Pages 241 to 244)
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                                             Page 245                                                   Page 247
  1   but I would defer, you know, to our law department     1   QUESTIONS BY MR. NORWOOD:
  2   for a final reading on that.                           2        Q Do you know if, in this case,
  3        Q Just one more thing. And switching              3   Mr. Garavaglia submitted an affidavit to the court
  4   back from McClain back to Judge Frawley, he clearly    4   swearing under oath that he got all of that back?
  5   says in his Order of August 22, 2019, (Quote as        5   The accrued time and vacation time he may have
  6   read):                                                 6   taken? Do you know if --
  7             but if the forced leave is                   7        A I don't know.
  8             disapproved, the employee will not           8            MR. NORWOOD: All right. I have no
  9             be restored his vacation leave.              9   further questions.
 10             Correct? That's his finding; right?         10            MR. BLANKE: Okay. That's all folks.
 11   His ruling. Correct?                                  11   You want to talk to him about signature?
 12             MS. HAMILTON: I would --                    12            THE WITNESS: All right. Thank you.
 13             MR. NORWOOD: Let me object --               13            MS. HAMILTON: Yeah, we'll read and
 14             MS. HAMILTON: I will just object            14   sign.
 15   that it's been asked and answered, the document       15            THE VIDEOGRAPHER: Time is 4:19, we
 16   speaks for itself. Subject to that, you can           16   are off the record. This concludes our deposition
 17   answer.                                               17   of Richard Frank.
 18        A If the forced leave is disapproved             18            THE REPORTER: Mr. Norwood, do you
 19   and the employee were out for two or three days, I    19   like an e-tran?
 20   would order that that person have their vacation      20            MR. NORWOOD: Yep.
 21   and compensatory time restored. Because that --       21            THE REPORTER: Exhibits, or does
 22        Q (BY MR. BLANKE) Contrary -- contrary           22   everybody --
 23   to Judge Frawley's ruling?                            23            MR. NORWOOD: Let me do this. To
 24        A No, that's really what he's -- or I            24   make it easier for you, I'm going to give you those
 25   guess I'm saying what -- what Ashley McClain said     25   exhibits. How about that?


                                             Page 246                                                   Page 248
  1    is correct, I think Judge Frawley misread             1           THE REPORTER: Thank you.
  2    Administrative Regulation 117 in terms of forced      2           MS. HAMILTON: I'll take an E-tran
  3    leave.                                                3   with the exhibits.
  4         Q Okay. That explains it.                        4           MR. BLANKE: E-tran is fine and I
  5         A Yeah, it does. And pardon me, but              5   don't need the exhibits. And a word index, please,
  6    I've also had judges grant relief when -- when it     6   also.
  7    didn't exist. Very --                                 7           (Wherein, the taking of the instant
  8         Q Sure.                                          8   deposition ceased at 4:19 PM)
  9         A -- prominent judges, so.                       9           (Deposition to be read and signed by
 10         Q But at least I understand what you're         10   the witness.)
 11    saying now.                                          11
 12         A I understand. Thank you very much             12
 13    for the conflict there, but...                       13
 14             MR. BLANKE: Did you get all that?           14
 15             THE VIDEOGRAPHER: I got all that.           15
 16             MR. BLANKE: Thank God.                      16
 17             THE WITNESS: I'm sorry.                     17
 18             MR. BLANKE: Okay.                           18
 19             THE WITNESS: These hearing officers         19
 20    don't ask me before they issue their orders.         20
 21             MR. BLANKE: Okay. I don't have              21
 22    anything further.                                    22
 23             MR. NORWOOD: I just have one. Maybe         23
 24    two.                                                 24
 25                  RE-EXAMINATION                         25


                                                                                     62 (Pages 245 to 248)
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                                          RICHARD R. FRANK 3/10/2022

                                                  Page 249                                                  Page 251
  1            CERTIFICATE OF REPORTER                         1              ERRATA SHEET
  2                                                                Witness Name: RICHARD R. FRANK
  3            I, TARA SCHWAKE, a Registered                   2   Case Name: JAMES GARAVAGLIA v. CITY OF ST. LOUIS, et
  4   Professional Reporter and Notary Public within and                al.
                                                               3   Date Taken: MARCH 10, 2022
  5   for the State of Missouri, do hereby certify that
                                                               4
  6   the witness whose testimony appears in the
                                                               5   Page #_____ Line #_____
  7   foregoing deposition was duly sworn by me; that the
                                                               6   Should read: ____________________________________
  8   testimony of said witness was taken by me to the
                                                               7   Reason for change: ______________________________
  9   best of my ability and thereafter reduced to             8
 10   typewriting under my direction; that I am neither        9   Page #_____ Line #_____
 11   counsel for, related to, nor employed by any of the     10   Should read: ____________________________________
 12   parties to the action in which this deposition was      11   Reason for change: ______________________________
 13   taken, and further that I am not a relative or          12
 14   employee of any attorney or counsel employed by the     13   Page #_____ Line #_____
 15   parties thereto, nor financially or otherwise           14   Should read: ____________________________________
 16   interested in the outcome of the action.                15   Reason for change: ______________________________
 17                                                           16
                                                              17   Page #_____ Line #_____
 18
                                                              18   Should read: ____________________________________
 19                  _________________________
                                                              19   Reason for change: ______________________________
 20                  Notary Public in and for
                                                              20
 21                  The State of Missouri
                                                              21   Page #_____ Line #_____
 22                                                           22   Should read: ____________________________________
 23                                                           23   Reason for change: ______________________________
 24                                                           24
 25                                                           25   Witness Signature: ______________________________


                                                  Page 250                                                 Page 252
  1                ALARIS LITIGATION SERVICES                  1    STATE OF _______________)
  2                                                            2
  3   March 16, 2022
  4                                                            3    COUNTY OF ______________)
      Ms. Sheena Hamilton, City Counselor                      4
  5   City of St. Louis, Law Department
      City Counselor's Office                                  5    I, RICHARD R. FRANK, do hereby certify:
  6   1200 Market Street, Room 314                             6         That I have read the foregoing deposition;
      St. Louis, Missouri 63103
                                                               7         That I have made such changes in form
  7
      IN RE: JAMES GARAVAGLIA v. CITY OF ST. LOUIS, et         8    and/or substance to the within deposition as might
  8       al.                                                  9    be necessary to render the same true and correct;
  9   Dear Ms. Hamilton:                                      10         That having made such changes thereon, I
                                                              11    hereby subscribe my name to the deposition.
 10   Please find enclosed your copies of the deposition of
                                                              12         I declare under penalty of perjury that the
      RICHARD R. FRANK taken on March 10, 2022 in the
 11   above-referenced case. Also enclosed is the original    13    foregoing is true and correct.
      signature page and errata sheets.                       14         Executed this _____ day of _______________,
 12
      Please have the witness read your copy of the           15    20___, at ___________________________.
 13   transcript, indicate any changes and/or corrections     16
      desired on the errata sheets, and sign the signature
                                                              17
 14   page before a notary public.
 15                                                           18
 16   Please return the errata sheets and notarized           19                 __________________________
 17   signature page within 30 days to our office at 711 N
 18   11th Street, St. Louis, MO 63101 for filing.            20                 RICHARD R. FRANK
 19                                                           21
 20   Sincerely,
                                                              22               __________________________
 21
 22                                                           23               NOTARY PUBLIC
 23   TARA SCHWAKE                                            24    My Commission Expires:
 24
 25   Enclosures                                              25


                                                                                        63 (Pages 249 to 252)
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